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1A
 101-7-TDR
 /2009
 /2010
 2ems Inc.
                                                UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF MISSISSIPPI
                                                        JACKSON DIVISION


              In re:                                         §
                                                             §
              STEADIVEST, LLC                                §    Case No. 3:09-01013-EE
                                                             §
                                  Debtor                     §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      DEREK A. HENDERSON, chapter 7 trustee, submits this Final Account, Certification
              that the Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 16,423,394.29                      Assets Exempt: NA
              (Without deducting any secured claims)

              Total Distributions to Claimants: 1,958,577.37       Claims Discharged
                                                                   Without Payment: NA

              Total Expenses of Administration: 1,202,405.93


                      3) Total gross receipts of $ 3,152,091.61 (see Exhibit 1), minus funds paid to the debtor
              and third parties of $ 878.68 (see Exhibit 2), yielded net receipts of $ 3,151,212.93 from the
              liquidation of the property of the estate, which was distributed as follows:




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                                                  CLAIMS           CLAIMS                 CLAIMS                 CLAIMS
                                                SCHEDULED         ASSERTED               ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                       $ NA          $ 907,108.41           $ 907,108.41          $ 153,678.21

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                       NA          1,214,917.90           1,205,438.52          1,194,778.53

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                               NA              7,627.40               7,627.40                7,627.40

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                NA              5,074.79               4,330.57                2,602.43

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                                  NA         50,874,270.47          50,775,534.27          1,802,296.73

TOTAL DISBURSEMENTS                                    $ NA       $ 53,008,998.97        $ 52,900,039.17        $ 3,160,983.30


                 4) This case was originally filed under chapter 11 on 03/23/2009 , and it was converted
          to chapter 7 on 05/15/2009 . The case was pending for 104 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 11/28/2017                        By:/s/DEREK A. HENDERSON
                                                                         Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                  EXHIBITS TO
                                                FINAL ACCOUNT


           EXHIBIT 1 – GROSS RECEIPTS

                          DESCRIPTION                    UNIFORM                     $ AMOUNT
                                                        TRAN. CODE1                  RECEIVED

 1608 1st St., NW, Birmingham, AL                         1110-000                          35,500.00

  516 17th Terrace NW, Birmingham, AL                     1110-000                          31,500.00

 932 Five Mile Rd., Birmingham, AL                        1110-000                          29,500.00

LIQUIDATED CLAIMS - 1023 Sharpe Ave.
(Loan), Nashville, TN                                     1110-000                         103,400.00

LIQUIDATED CLAIMS - 1-11 Georgetown,
Jackson, MS                                               1110-000                          84,886.86

LIQUIDATED CLAIMS - 1112 Crestview,
Jackson, MS                                               1110-000                          20,500.00

LIQUIDATED CLAIMS - 1416 Second Ave.,
Jackson, MS                                               1110-000                          14,500.00

LIQUIDATED CLAIMS - 2070 Hilburn, Atlanta,
GA                                                        1110-000                          84,150.00

LIQUIDATED CLAIMS - 321 Broadview,
Jackson, MS                                               1110-000                          10,250.00

LIQUIDATED CLAIMS - 3228 Whitten,
Jackson, MS                                               1110-000                           1,500.00

LIQUIDATED CLAIMS - 330 Pullen (Loan),
Nashville,TN                                              1110-000                          61,600.00




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                         DESCRIPTION                 UNIFORM                        $ AMOUNT
                                                    TRAN. CODE1                     RECEIVED

LIQUIDATED CLAIMS - 3406 Doris Cr.,
(REHAB), Mongtomery, AL                               1110-000                              7,250.00

LIQUIDATED CLAIMS - 3631 Kelly Lane,
Montgomery, AL                                        1110-000                              3,300.00

LIQUIDATED CLAIMS - 3637 Warner, Jackson,
MS                                                    1110-000                              8,400.00

LIQUIDATED CLAIMS - 410 Arthur St.,
Montgomery, AL                                        1110-000                             13,500.00

LIQUIDATED CLAIMS - 4246 W. Capitol,
Jackson, MS                                           1110-000                              9,000.00

LIQUIDATED CLAIMS - 51 W. Carolina,
Chalmette, LA                                         1110-000                            147,788.13

LIQUIDATED CLAIMS - 5364 Flat Shoals,
Decatur, GA                                           1110-000                             20,350.00

LIQUIDATED CLAIMS - 716 Carmel (REHAB),
Nashville, TN                                         1110-000                             56,000.00

 LIQUIDATED CLAIMS - 973 Rays Rd                      1110-000                              3,500.00

RENTAL PROPERTY - 1027 Walnut, Jackson,
MS                                                    1110-000                              1,000.00

RENTAL PROPERTY - 111 Carolyn, Jackson,
MS                                                    1110-000                              8,500.00

RENTAL PROPERTY - 114 Mason, Jackson, MS              1110-000                              1,300.00




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                         DESCRIPTION                 UNIFORM                        $ AMOUNT
                                                    TRAN. CODE1                     RECEIVED

RENTAL PROPERTY - 133 Pinelawn, Jackson,
MS                                                    1110-000                            14,000.00

RENTAL PROPERTY - 1333 17th Way SW,
8300 5th Ave. N. and 780                              1110-000                             8,250.00

RENTAL PROPERTY - 139 Woody, Jackson,                 1110-000                             9,500.00
MS
RENTAL PROPERTY - 1424 46th Street W,
Birmingham, AL                                        1110-000                            12,000.00

RENTAL PROPERTY - 1444 Wooddell, Jackson,
MS                                                    1110-000                            15,500.00

RENTAL PROPERTY - 1445 Dianne, Jackson,
MS                                                    1110-000                             7,000.00

RENTAL PROPERTY - 1619 North West Street,
Jackson, MS                                           1110-000                            25,000.00

RENTAL PROPERTY - 1712 Pake Rd., Mobile,
AL                                                    1110-000                            16,000.00

RENTAL PROPERTY - 1810 Branch St.,
Nashville, TN                                         1110-000                            61,000.00

RENTAL PROPERTY - 1863 Willaneel, Jackson,
MS                                                    1110-000                             6,000.00

RENTAL PROPERTY - 1925, 1927, 1929 James
Ave., Mobile, AL                                      1110-000                            33,500.00

RENTAL PROPERTY - 2211 Castle Hill,
Jackson, MS                                           1110-000                            18,500.00




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                          DESCRIPTION                 UNIFORM                        $ AMOUNT
                                                     TRAN. CODE1                     RECEIVED

RENTAL PROPERTY - 222 Lea, Jackson, MS                 1110-000                             4,000.00

RENTAL PROPERTY - 224 McCormick,
Birmingham, AL                                         1110-000                             8,000.00

RENTAL PROPERTY - 2557 Paden, Jackson,                 1110-000                             9,500.00
MS
RENTAL PROPERTY - 2635 Revere, Jackson,
MS                                                     1110-000                            11,500.00

RENTAL PROPERTY - 266 Dexter Ave.,
Mobile, AL                                             1110-000                            38,500.00

Rental Property - 2704 3rd Place NW,
Birmingham, AL                                         1110-000                            25,000.00

RENTAL PROPERTY - 2724 6th Street NE,
Birmingham, AL                                         1110-000                             8,000.00

Rental Property - 2815 Arrowhead Dr.,
Birmingham, AL                                         1110-000                            10,000.00

RENTAL PROPERTY - 2822 Engleside, Jackson,
MS                                                     1110-000                             3,500.00

RENTAL PROPERTY - 2857 Greenwood,
Jackson, MS                                            1110-000                             3,700.00

RENTAL PROPERTY - 2913 Greenview,
Jackson, MS                                            1110-000                              600.00

RENTAL PROPERTY - 303 Wacaster, Jackson,
MS                                                     1110-000                            11,250.00




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                          DESCRIPTION                 UNIFORM                        $ AMOUNT
                                                     TRAN. CODE1                     RECEIVED

RENTAL PROPERTY - 318 Fairhill, Jackson,               1110-000                             2,700.00
MS
RENTAL PROPERTY - 3443 West Capitol St.,
Jackson, MS                                            1110-000                             1,000.00

RENTAL PROPERTY - 3464 Rosemary,
Jackson, MS                                            1110-000                             5,500.00

RENTAL PROPERTY - 3546 Norwood, Jackson,
MS                                                     1110-000                             8,000.00

RENTAL PROPERTY - 3604 Holland, Memphis,
TN                                                     1110-000                             6,600.00

RENTAL PROPERTY - 3719 John Adams,
Jackson, MS                                            1110-000                             5,500.00

RENTAL PROPERTY - 375 Mason, Jackson, MS               1110-000                             1,500.00

RENTAL PROPERTY - 4548 Whitehaven,
Jackson, MS                                            1110-000                            12,500.00

RENTAL PROPERTY - 4746 Norway, Jackson,
MS                                                     1110-000                            28,000.00

RENTAL PROPERTY - 4943 Westwood,
Jackson, MS                                            1110-000                             3,250.00

RENTAL PROPERTY - 5802 Orchardview,
Jackson, MS                                            1110-000                            61,000.00

RENTAL PROPERTY - 5859 Old Canton,
Jackson, MS                                            1110-000                            46,000.00




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                          DESCRIPTION                 UNIFORM                        $ AMOUNT
                                                     TRAN. CODE1                     RECEIVED

RENTAL PROPERTY - 6308 Dallas Ave.,
Pensacola, FL                                          1110-000                            32,500.00

RENTAL PROPERTY - 632 W. Hillsdale,
Jackson, MS                                            1110-000                            17,750.00

RENTAL PROPERTY - 6501 Forest Drive,
Fairfield, AL                                          1110-000                             8,000.00

RENTAL PROPERTY - 663 Johnston Ave,
Mobile, AL                                             1110-000                            10,500.00

RENTAL PROPERTY - 704 Westmont, Jackson,
MS                                                     1110-000                            10,250.00

RENTAL PROPERTY - 708 Kirk St., Pensacola,
FL                                                     1110-000                            16,500.00

RENTAL PROPERTY - 710 Kirk St., Pensacola,
FL                                                     1110-000                            13,500.00

RENTAL PROPERTY - 728 Combs, Jackson, MS               1110-000                             7,000.00

RENTAL PROPERTY - 7801 5th Avenue,
Birmingham, AL                                         1110-000                             8,250.00

RENTAL PROPERTY - 7961 Hilburn, Pensacola,
FL                                                     1110-000                            66,000.00

RENTAL PROPERTY - 806 Newell, Memphis,
TN                                                     1110-000                             9,350.00

RENTAL PROPERTY - 8300 4th Avenue S.,
Birmingham, AL                                         1110-000                            22,500.00




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                         DESCRIPTION                 UNIFORM                        $ AMOUNT
                                                    TRAN. CODE1                     RECEIVED

RENTAL PROPERTY - 8300 5th Avenue N,
Birmingham, AL                                        1110-000                              4,100.00

RENTAL PROPERTY - 9009 Beverly Drive,
Birmingham, AL                                        1110-000                             15,000.00

RENTAL PROPERTY - 979 Clearview St.,
Milton, FL 32583                                      1110-000                            101,500.00

LIQUIDATED CLAIMS - 2401 Coronet,
Jackson, MS                                           1122-000                              6,750.00

LIQUIDATED CLAIMS - 3032 Woodbine,
Jackson, MS                                           1122-000                              8,000.00

LIQUIDATED CLAIMS - 311 Knob Hill,
Jackson, MS                                           1122-000                             17,000.00

LIQUIDATED CLAIMS - 36 W. Carmack,
Chalmette, LA                                         1122-000                             74,357.64

LIQUIDATED CLAIMS - 65 W. Carolina,
Chalmette, LA                                         1122-000                             75,996.79

RENTAL PROPERTY - 1515 First Avenue,
Jackson, MS                                           1122-000                            300,000.00

RENTAL PROPERTY - 158 Pine Ridge, Jackson,
MS                                                    1122-000                             13,000.00

RENTAL PROPERTY - 2632 Shannon, Jackson,
MS                                                    1122-000                             16,500.00

RENTAL PROPERTY - 2741 Revere, Jackson,
MS                                                    1122-000                             25,500.00




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                          DESCRIPTION                 UNIFORM                        $ AMOUNT
                                                     TRAN. CODE1                     RECEIVED

RENTAL PROPERTY - 2751 Brookwood,
Jackson, MS                                           1122-000                              10,000.00

RENTAL PROPERTY - 3146 Adrienne, Jackson,
MS                                                    1122-000                              29,500.00

RENTAL PROPERTY - 5604 E. Shore,
Pensacola, FL                                         1122-000                              62,500.00

RENTAL PROPERTY - 665 Cooper, Jackson,                1122-000                              10,000.00
MS
RENTAL PROPERTY - 942 Branch St, Jackson,
MS                                                    1122-000                              33,500.00

NEGOTIABLE INSTRUMENTS-Colbert St.,
New Orleans, LA mtg.                                  1129-000                             200,000.00

OFFICE EQUIPMEN                                       1129-000                              12,467.00

OTHER - CHARLES & MELANIE LUCROY
PROOF OF CLAIM #2                                     1129-000                              29,010.95

Apartment Complex - 360 Michigan Ave.,
Mobile, AL                                            1210-000                              20,000.00

LIQUIDATED CLAIMS - 2211 Perrin Drive,
Lawrenceville, GA                                     1210-000                              78,757.94

LIQUIDATED CLAIMS - 408 Heard St.,
Elberton, GA (Mercer)                                 1210-000                              10,182.34

LIQUIDATED CLAIMS - 4465 Nora Avenue,
Pace, FL (Hare)                                       1210-000                                 500.00




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                          DESCRIPTION                 UNIFORM                        $ AMOUNT
                                                     TRAN. CODE1                     RECEIVED

RENTAL PROPERTY - 1247 Adkins Blvd,
Jackson, MS                                           1210-000                             31,000.00

Rental Property - 133 Pinelawn and 1510 Woody         1210-000                               628.20

RENTAL PROPERTY - 2403 Georgetown Ave.,
Jackson, MS                                           1210-000                              9,000.00

RENTAL PROPERTY - 2801 Pike, Birmingham,
AL                                                    1210-000                             60,000.00

 Rental Property - 3604 Holland                       1210-000                               590.50

RENTAL PROPERTY - 4730 Kings Highway,
Jackson, MS                                           1210-000                             40,000.00

RENTAL PROPERTY - 5761 Old Canton Rd.,
Jackson, MS                                           1210-000                             47,000.00

 Rental Property - 806 Newell                         1210-000                               590.50

RENTAL PROPERTY - Indian Lake Estates,
Indian Lakes Estates,                                 1210-000                              2,450.00

ACCOUNTS RECEIVABLE - Advanced
Recovery System                                       1221-000                              2,596.50

ADVANCED RECOVERY SYSTEMS, INC. -
BYRON SHARPE PROPERTIES                               1221-000                               276.96

ADVANCED RECOVERY SYSTEMS, INC. -
DAMION LONGINO                                        1221-000                               406.19

ADVANCED RECOVERY SYSTEMS, INC. -
GEORGE SMITH                                          1221-000                              7,937.50




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                          DESCRIPTION                 UNIFORM                        $ AMOUNT
                                                     TRAN. CODE1                     RECEIVED

 Parkway Realty Property Management                   1222-000                              6,294.47

 Rental Property - 139 Woody                          1222-000                               229.92

RENTAL PROPERTY - Nashville Home Hunters,
LLC                                                   1222-000                               239.37

RENTAL PROPERTY - Parkway Realty Property
Management                                            1222-000                              4,661.29

RENTAL PROPERTY - Statewide Realty,
Montgomery, AL                                        1222-000                                 40.91

 Steadivest Properties, LLC                           1222-000                             63,904.41

INTEREST PAYMENT - GK PROPERTIES
FUND II                                               1223-000                               200.00

Overbid Refund on Property Taxes from
Montgomery Co. Revenue                                1224-000                               569.34

 EarthLink, LLC Customer (DLT) Refund                 1229-000                               596.46

FINANCIAL ACCOUNTS - MTW Investment
Financing LLC - Regions                               1229-000                              6,189.61

FINANCIAL ACCOUNTS - Steadivest Capital,
LLC - Regions                                         1229-000                              6,650.89

FINANCIAL ACCOUNTS - SV Development,
LLC - Regions                                         1229-000                             63,690.09

FINANCIAL ACCOUNTS - SV LLC - Regions                 1229-000                               475.56




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                          DESCRIPTION                 UNIFORM                        $ AMOUNT
                                                     TRAN. CODE1                     RECEIVED

FINANCIAL ACCOUNTS - SV LLC DIP -
Regions                                               1229-000                              2,906.55

FINANCIAL ACCOUNTS - SV Resources LLC
DIP - Regions                                         1229-000                              4,444.84

FINANCIAL ACCOUNTS - Tactical Financial
Solutions - Regions                                   1229-000                              2,685.77

FINANCIAL ACCOUNTS - The Investlinc - TFS
Income Fund - Regi                                    1229-000                                  0.00

FINANCIAL ACCOUNTS - The Investlinc-TFS
Income Fund LLC - Re                                  1229-000                                  0.00

FINANCIAL ACCOUNTS - Total Return Real
Estate, LLC - Regions                                 1229-000                                 42.43

OTHER - EXCESS FUNDS PMT FROM
DEKALB CO. TAX COMM.                                  1229-000                             39,891.23

Capital Credit Retirement (Portion of a $3.5
million capital                                       1249-000                                 60.17

 Jack Harrington - Adversary Settlement               1249-000                             25,000.00

 Jack Harrington - Judgment                           1249-000                             35,000.00

 Post-Petition Interest Deposits                      1270-000                                 24.14

 Post-Petition Interest Deposits                      1270-000                               842.95

 Post-Petition Interest Deposits                      1270-000                               201.01

 Post-Petition Interest Deposits                      1270-000                                 10.24




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                             DESCRIPTION                                     UNIFORM                                         $ AMOUNT
                                                                            TRAN. CODE1                                      RECEIVED

    Auctioneer Escrow Funds Forfeited                                           1290-000                                          6,562.50

    OTHER - Claim in Lee Carroll bankruptcy                                     1290-000                                          3,453.46

TOTAL GROSS RECEIPTS                                                                                                         $ 3,152,091.61
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


              EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                     PAYEE                                        DESCRIPTION                           UNIFORM              $ AMOUNT
                                                                                                       TRAN. CODE               PAID

                                                     Non-Estate Funds Paid to Third
PLLC RICHARD M. LINGLE                               Parties                                            8500-002                    878.68

TOTAL FUNDS PAID TO DEBTOR &                                                                                                       $ 878.68
THIRD PARTIES


              EXHIBIT 3 – SECURED CLAIMS

                                                    UNIFORM        CLAIMS
                                                                                     CLAIMS                CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.      SCHEDULED                                                    CLAIMS PAID
                                                                                    ASSERTED              ALLOWED
                                                     CODE      (from Form 6D)

               DAVID SMITH                          4110-000                NA                 95.00                95.00               95.00


               InvestLinc/TFS Fund                  4110-000                NA             23,300.00          23,300.00           23,300.00


               Kim Hastie, Revenue
180            Commissioner                         4110-000                NA               829.31                829.31                0.00


179            Marilyn E. Wood                      4110-000                NA               863.60                863.60                0.00


               Metropolitan Government
13 SDV         Trustee                              4110-000                NA              1,001.77              1,001.77               0.00




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                                                  UNIFORM         CLAIMS
                                                                                  CLAIMS           CLAIMS
CLAIM NO.              CLAIMANT                    TRAN.       SCHEDULED                                           CLAIMS PAID
                                                                                 ASSERTED         ALLOWED
                                                   CODE       (from Form 6D)

             Metropolitan Government
14 SVD       Trustee                              4110-000                 NA            735.52           735.52              0.00


             Mike Yarbro, Sue Yarbro,
16 SVD       MYSY Rental, Inc.                    4110-000                 NA       250,000.00       250,000.00               0.00


             Mike Yarbro, Sue Yarbro,
20 SVC       MYSY Rental, Inc.                    4110-000                 NA       250,000.00       250,000.00               0.00


             Mike Yarbro, Sue Yarbro,
47           MYSY Rental, Inc.                    4110-000                 NA       250,000.00       250,000.00               0.00


             The InvestLinc/TFS Income
             Fund, LLC                            4110-000                 NA       128,783.21       128,783.21        128,783.21


             COLE SMITH                           4120-000                 NA          1,500.00         1,500.00          1,500.00

TOTAL SECURED CLAIMS                                                     $ NA      $ 907,108.41     $ 907,108.41      $ 153,678.21


            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                               CLAIMS            CLAIMS            CLAIMS
               PAYEE                       TRAN.                                                                   CLAIMS PAID
                                                             SCHEDULED          ASSERTED          ALLOWED
                                           CODE

DEREK A. HENDERSON                         2100-000                      NA        112,037.57        112,037.57        112,037.57


DEREK A. HENDERSON                         2200-000                      NA            239.40            239.40            239.40


DEREK A. HENDERSON                         2300-000                      NA          3,734.83          3,734.83           3,734.83


StorageMax - Lakeland                      2410-000                      NA          3,792.00          3,792.00           3,792.00


Alabama Title Co.                          2500-000                      NA            350.00            350.00            350.00




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                                           UNIFORM
                                                         CLAIMS          CLAIMS          CLAIMS
                PAYEE                       TRAN.                                                        CLAIMS PAID
                                                       SCHEDULED        ASSERTED        ALLOWED
                                            CODE

Attorney Chase R. Laurendine                2500-000               NA         100.00         100.00             100.00


CLOSING COSTS                               2500-000               NA       66,782.31      61,582.31          61,582.31


EARNEST MONEY                               2500-000               NA        4,000.00       4,000.00           4,000.00


EXCESS DEPOSIT                              2500-000               NA        6,000.00             0.00             0.00


Knockout Pest and Termite                   2500-000               NA         180.00         180.00             180.00


Magic City Title                            2500-000               NA         700.00         700.00             700.00


McDonald Fleming Moorhead                   2500-000               NA        1,418.00       1,418.00           1,418.00


RICHARD M. LINGLE PLLC                      2500-000               NA        3,685.00             0.00             0.00


RUDY TITLE AND ESCROW                       2500-000               NA         700.00         700.00             700.00


Surety Land Title, Inc. - Grelot            2500-000               NA         290.00         290.00             290.00


Union Bank                                  2600-000               NA       52,935.37      52,935.37          52,935.37


UNION BANK OF CALIFORNIA                    2600-000               NA       14,908.24      14,908.24          14,908.24


2011 AD VALOREM TAXES                       2820-000               NA       38,622.79      38,622.79          38,622.79


2012 AD VALOREM TAXES                       2820-000               NA       31,883.92      31,883.92          31,883.92


2012 County Taxes                           2820-000               NA        2,908.11       2,908.11           2,908.11


2013 AD VALOREM TAXES                       2820-000               NA         992.90         992.90             992.90


2013 County Taxes                           2820-000               NA        2,789.37       2,789.37           2,789.37




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                                           UNIFORM
                                                         CLAIMS          CLAIMS          CLAIMS
                PAYEE                       TRAN.                                                      CLAIMS PAID
                                                       SCHEDULED        ASSERTED        ALLOWED
                                            CODE

2014 County Taxes                           2820-000               NA        2,453.12       2,453.12         2,453.12


City Property Taxes                         2820-000               NA          -52.74         -52.74           -52.74


CITY TAXES                                  2820-000               NA         485.04         485.04           485.04


CITY/TOWN TAXES                             2820-000               NA       11,147.44      10,729.24        10,729.24


County Property Taxes                       2820-000               NA        1,085.21       1,085.21         1,085.21


County Taxes                                2820-000               NA         683.62         683.62           683.62


County Taxes 1-1-14 to 7-9-14               2820-000               NA           82.52          82.52            82.52


DAVIDSON COUNTY TRUSTEE                     2820-000               NA        2,585.89       2,585.89         2,585.89


HINDS COUNTY TAX
COLLECTOR                                   2820-000               NA       57,530.99      57,530.99        57,530.99


MARILYN E. WOOD                             2820-000               NA       10,659.99      10,659.99             0.00


McDonald Fleming Moorhead                   2820-000               NA        1,294.55       1,294.55         1,294.55


PROPERTY TAXES                              2820-000               NA       30,720.59      30,720.59        30,720.59


Revenue Commissioner Marilyn E.
Wood                                        2820-000               NA         668.02         668.02           668.02


TAX ADJUSTMENT                              2820-000               NA        2,193.84       8,793.84         8,793.84


Tax Collector Joe G. Tedder                 2820-000               NA         501.04         501.04           501.04


TAXES PAID AT CLOSING                       2820-000               NA       25,086.74      25,086.74        25,086.74




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                                           UNIFORM
                                                         CLAIMS          CLAIMS          CLAIMS
                PAYEE                       TRAN.                                                       CLAIMS PAID
                                                       SCHEDULED        ASSERTED        ALLOWED
                                            CODE

US TRUSTEE                                  2950-000               NA          650.00          650.00           650.00


ADVANCED RECOVERY
SYSTEMS, INC.                               2990-000               NA          745.75        3,448.25         3,448.25


Closing Costs - 663 Johnston Ave.,
Mobile, AL                                  2990-000               NA        7,251.24        7,251.24         7,251.24


DEREK A. HENDERSON                          3110-000               NA      287,366.47      287,366.47       287,366.47


DEREK A. HENDERSON                          3120-000               NA       17,938.92       17,938.92        17,938.92


ATTORNEY'S FEES                             3210-000               NA        1,275.00        1,275.00         1,275.00


ATTORNEY'S FEES - Hugh
Armistead                                   3210-000               NA          750.00          750.00           750.00


DYE SNYDER, LLP                             3210-000               NA        7,678.25        7,678.25         7,678.25


Harris Jernigan & Geno                      3210-000               NA          897.00          897.00           897.00


HOLADAY LAW FIRM                            3210-000               NA       50,000.00       50,000.00        50,000.00


Hunt & Smith Law Fir, P. A.                 3210-000               NA          250.00          250.00           250.00


Morris J. Princiotta, Jr.                   3210-000               NA        3,450.00        3,450.00         3,450.00


RICHARD LINGLE ESQ                          3210-000               NA        4,000.00        4,000.00         4,000.00


RICHARD M. LINGLE                           3210-000               NA       81,900.00       81,900.00        81,900.00


RICHARD M. LINGLE PLLC                      3210-000               NA      105,100.00      101,621.32       101,621.32




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                                           UNIFORM
                                                         CLAIMS          CLAIMS          CLAIMS
                PAYEE                       TRAN.                                                      CLAIMS PAID
                                                       SCHEDULED        ASSERTED        ALLOWED
                                            CODE

ROBERT A BYRD                               3210-000               NA        7,325.00       7,325.00         7,325.00


ROBERT A. BYRD                              3210-000               NA        7,150.00       7,150.00         7,150.00


Morris J. Princiotta, Jr.                   3220-000               NA         101.50         101.50           101.50


RICHARD M. LINGLE                           3220-000               NA        4,363.55       4,363.55         4,363.55


ROBERT A. BYRD                              3220-000               NA         175.00         175.00           175.00


Chris B. Savell, CPA                        3410-000               NA        1,260.00       1,260.00         1,260.00


Lefoldt & Co., P.A.                         3410-000               NA        8,360.00       8,360.00         8,360.00


Chapman Hall Premier Realtors               3510-000               NA        1,900.00       1,900.00         1,900.00


Surety Land Title, Inc. - Grelot            3510-000               NA        1,200.00       1,200.00         1,200.00


BENNY TAYLOR                                3610-000               NA       17,350.00      17,350.00        17,350.00


TAYLOR AUCTION & REALTY,
INC.                                        3610-000               NA       39,455.93      39,455.93        39,455.93


BENNY TAYLOR                                3620-000               NA        2,150.80       2,150.80         2,150.80


TAYLOR AUCTION & REALTY,
INC.                                        3620-000               NA        5,067.46       5,067.46         5,067.46


TAYLOR AUCTION & REALTY,
INC.                                        3630-000               NA        2,493.40       2,493.40         2,493.40


TAYLOR AUCTION & REALTY,
INC.                                        3640-000               NA        1,136.96       1,136.96         1,136.96




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                                          UNIFORM
                                                               CLAIMS           CLAIMS              CLAIMS
               PAYEE                       TRAN.                                                                     CLAIMS PAID
                                                             SCHEDULED         ASSERTED            ALLOWED
                                           CODE

WATKINS & EAGER PLLC                       3991-000                      NA         50,000.00           50,000.00         50,000.00

TOTAL CHAPTER 7 ADMIN. FEES                                           $ NA     $ 1,214,917.90      $ 1,205,438.52     $ 1,194,778.53
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                               CLAIMS           CLAIMS              CLAIMS
               PAYEE                       TRAN.                                                                     CLAIMS PAID
                                                             SCHEDULED         ASSERTED            ALLOWED
                                           CODE

Harris Jernigan & Geno                     6110-000                      NA           7,627.40           7,627.40           7,627.40

TOTAL PRIOR CHAPTER ADMIN.                                            $ NA          $ 7,627.40         $ 7,627.40         $ 7,627.40
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                                 CLAIMS           CLAIMS
                                                  UNIFORM
                                                               SCHEDULED         ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                    TRAN.                                                             CLAIMS PAID
                                                                (from Form     (from Proofs of     ALLOWED
                                                   CODE
                                                                    6E)            Claim)

             HINDS COUNTY TAX
             COLLECTOR                            5800-000                NA              526.23           526.23            526.23


145          Internal Revenue Service             5800-000                NA            1,000.00          1,000.00          1,000.00


84           Internal Revenue Service             5800-000                NA              500.00           500.00            500.00


33           IRS                                  5800-000                NA              500.00           500.00            500.00


156          MARILYN E. WOOD                      5800-000                NA              820.42             76.20             76.20


17 SVC       Shelby County Trustee                5800-000                NA              478.38           478.38               0.00




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                                                               CLAIMS           CLAIMS
                                                  UNIFORM
                                                             SCHEDULED         ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                    TRAN.                                                          CLAIMS PAID
                                                              (from Form     (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)            Claim)

18 SVC       Shelby County Trustee                5800-000             NA             1,249.76       1,249.76               0.00

TOTAL PRIORITY UNSECURED                                              $ NA          $ 5,074.79      $ 4,330.57        $ 2,602.43
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                               CLAIMS           CLAIMS
                                                  UNIFORM
                                                             SCHEDULED         ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                    TRAN.                                                          CLAIMS PAID
                                                              (from Form     (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)            Claim)

134          Alex Breeland                        7100-000             NA           91,074.14              0.00             0.00


152          Alex Breeland                        7100-000             NA             2,126.00       2,126.00               0.00


162          Alex Breeland                        7100-000             NA                 0.00             0.00             0.00


172          Alex Breeland                        7100-000             NA             2,126.00       2,126.00               0.00


30 SVD       Alex Breeland                        7100-000             NA             2,126.00       2,126.00               0.00


31 SVC       Alex Breeland                        7100-000             NA             2,126.00       2,126.00               0.00


33 MTW       Alex Breeland                        7100-000             NA             2,126.00       2,126.00               0.00


53           Alex Breeland                        7100-000             NA           91,074.14       91,074.14         16,392.42


65           Alex Breeland                        7100-000             NA             2,126.00       2,126.00               0.00


92           Alex Breeland                        7100-000             NA                 0.00             0.00             0.00


99           Alex Breeland                        7100-000             NA             2,126.00       2,126.00               0.00




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                                                                 CLAIMS          CLAIMS
                                                    UNIFORM
                                                               SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                                (from Form    (from Proofs of     ALLOWED
                                                     CODE
                                                                    6F)           Claim)

20 MTW         Alex Breland                         7100-000             NA          91,074.14       91,074.14              0.00


20 SVD         Alex Breland                         7100-000             NA          91,074.14       91,074.14              0.00


24 SVC         Alex Breland                         7100-000             NA          91,074.14       91,074.14              0.00


10 SVC         Anita Green                          7100-000             NA          78,632.22       78,632.22              0.00


114            Anita Green                          7100-000             NA                0.00             0.00            0.00


119            Anita Green                          7100-000             NA                0.00             0.00            0.00


21             Anita Green                          7100-000             NA          78,632.22       78,632.22              0.00


5 SVD          Anita Green                          7100-000             NA          78,632.22       78,632.22              0.00


78             Anita Green                          7100-000             NA          78,632.22       78,632.22          9,189.55


8 MTW          Anita Green                          7100-000             NA          78,632.22       78,632.22              0.00


               Arthur "Jay" Warren and
164            Karen Warren, III                    7100-000             NA         109,485.00      109,485.00              0.00


               Arthur "Jay" Warren and
22 SVD         Karen Warren, III                    7100-000             NA         109,485.00      109,485.00              0.00


               Arthur "Jay" Warren and
55             Karen Warren, III                    7100-000             NA         109,485.00      109,485.00         12,795.23


7 SVC          Arthur J. Warren                     7100-000             NA         109,485.00      109,485.00              0.00


75             Arthur J. Warren                     7100-000             NA                0.00             0.00            0.00




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                                                                 CLAIMS          CLAIMS
                                                    UNIFORM
                                                               SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                                (from Form    (from Proofs of     ALLOWED
                                                     CODE
                                                                    6F)           Claim)

77             Arthur J. Warren                     7100-000             NA                0.00             0.00            0.00


9 SVC          Arthur J. Warren                     7100-000             NA                0.00             0.00            0.00


160            B. G. Lacey                          7100-000             NA                0.00             0.00            0.00


18 SVD         B. G. Lacey                          7100-000             NA          30,473.55       30,473.55              0.00


22 SVC         B. G. Lacey                          7100-000             NA          30,473.55       30,473.55              0.00


50             B. G. Lacey                          7100-000             NA          30,473.55       30,473.55              0.00


90             B. G. Lacey                          7100-000             NA          30,473.55       30,473.55          3,561.37


108            B. M. McEachern                      7100-000             NA                0.00             0.00            0.00


113            B. M. McEachern                      7100-000             NA                0.00             0.00            0.00


15             B. M. McEachern                      7100-000             NA          99,656.37       99,656.37              0.00


2 SVD          B. M. McEachern                      7100-000             NA          99,656.37       99,656.37              0.00


28             B. M. McEachern                      7100-000             NA          99,656.37       99,656.37              0.00


3 MTW          B. M. McEachern                      7100-000             NA          99,656.37       99,656.37              0.00


3 SVC          B. M. McEachern                      7100-000             NA          99,656.37       99,656.37              0.00


71             B. M. McEachern                      7100-000             NA          99,656.37       99,656.37         11,646.59


132            Barbara Allbritton                   7100-000             NA         196,993.06      196,993.06         23,022.08


18 MTW         Barbara Allbritton                   7100-000             NA         196,993.06      196,993.06              0.00




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                                                                 CLAIMS          CLAIMS
                                                    UNIFORM
                                                               SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                                (from Form    (from Proofs of     ALLOWED
                                                     CODE
                                                                    6F)           Claim)

44             Barbara Allbritton                   7100-000             NA          20,000.00       20,000.00        2,337.35


11             Bobby Isonhood                       7100-000             NA         999,914.34      999,914.34            0.00


118            Bobby Isonhood                       7100-000             NA         478,512.23      478,512.23       55,922.51


7 MTW          Bobby Isonhood                       7100-000             NA         478,513.23      478,513.23            0.00


76             Bobby Isonhood                       7100-000             NA         521,401.11      521,401.11       60,934.83


8 SVC          Bobby Isonhood                       7100-000             NA         521,401.11      521,401.11            0.00


16             Brian S. Smith                       7100-000             NA          17,664.05       17,664.05        2,064.35


38             Brian S. Smith                       7100-000             NA          17,664.05       17,664.05            0.00


               Builders and Contractor of
37             MS.                                  7100-000             NA          10,004.22       10,004.22        1,169.17


39             Charles Peoples                      7100-000             NA          25,000.00       25,000.00        2,921.69


11 SVD         Citibank, N. A.                      7100-000             NA            1,278.68       1,278.68            0.00


141            Citibank, N. A.                      7100-000             NA            1,278.68       1,278.68          149.44


102            Claude B. Smith                      7100-000             NA         205,115.23      205,115.23       23,971.30


5              Claude B. Smith                      7100-000             NA         410,230.46      410,230.46            0.00


34 SVC         Claude B. Smith, Jr.                 7100-000             NA         205,115.23      205,115.23            0.00


1 SVD          Clyde D. Lacey                       7100-000             NA          59,906.86       59,906.86            0.00




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                                                                 CLAIMS          CLAIMS
                                                    UNIFORM
                                                               SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                                (from Form    (from Proofs of     ALLOWED
                                                     CODE
                                                                    6F)           Claim)

107            Clyde D. Lacey                       7100-000             NA          59,906.86       59,906.86              0.00


112            Clyde D. Lacey                       7100-000             NA          59,906.86       59,906.86              0.00


2 MTW          Clyde D. Lacey                       7100-000             NA          59,906.86       59,906.86              0.00


2 SVC          Clyde D. Lacey                       7100-000             NA          59,906.86       59,906.86              0.00


32             Clyde D. Lacey                       7100-000             NA          59,906.86       59,906.86              0.00


70             Clyde D. Lacey                       7100-000             NA          59,906.86       59,906.86          7,001.16


115            Curtis Baysinger                     7100-000             NA          10,483.30       10,483.30          1,225.16


23             Curtis Baysinger                     7100-000             NA          10,483.30       10,483.30              0.00


4 MTW          Curtis Baysinger                     7100-000             NA          10,483.30       10,483.30              0.00


125            Danny Gray                           7100-000             NA                0.00             0.00            0.00


34             Danny Gray                           7100-000             NA          50,000.00       50,000.00          5,843.37


               Danny Gray Huey C. H, and
11 SVC         Vinson Gray                          7100-000             NA         166,383.00      166,383.00              0.00


               Danny Gray Huey C. H, and
2              Vinson Gray                          7100-000             NA         166,765.00      166,765.00              0.00


               Danny Gray Huey C. H, and
8 SVD          Vinson Gray                          7100-000             NA          58,383.00       58,383.00              0.00


               Danny Gray Huey C. H, and
9 MTW          Vinson Gray                          7100-000             NA         166,383.00      166,383.00              0.00




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                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

             Danny Gray Huey C. Harpe,
120          and Vinson C. Gray                   7100-000             NA                0.00             0.00            0.00


             Danny Gray, Huey C. Harpe,
79           and Vinson C.Gray                    7100-000             NA          58,383.00       58,383.00          6,823.07


15 MTW       Dell Financial Servi, L. L. C.       7100-000             NA              237.16         237.16              0.00


129          Dell Financial Services              7100-000             NA              237.16         237.16             27.72


139          Eileen Shaffer, Esq.                 7100-000             NA            2,944.71       2,944.71            344.14


35 SVC       Eleanor Hinson                       7100-000             NA          49,828.19       49,828.19              0.00


23 MTW       Esq. Eileen Shaffer                  7100-000             NA            2,944.71       2,944.71              0.00


159          Eva and Rick Lacey                   7100-000             NA                0.00             0.00            0.00


17 SVD       Eva and Rick Lacey                   7100-000             NA         277,274.91      277,274.91              0.00


21 SVC       Eva and Rick Lacey                   7100-000             NA         277,274.91      277,274.91              0.00


49           Eva and Rick Lacey                   7100-000             NA         277,274.91      277,274.91              0.00


89           Eva and Rick Lacey                   7100-000             NA         277,274.91      277,274.91         32,404.42


142          GE Money Bank                        7100-000             NA              220.61         220.61             25.78


148          Gerald W. Martin                     7100-000             NA            7,695.00       7,695.00              0.00


168          Gerald W. Martin                     7100-000             NA            7,695.00       7,695.00            899.29


26 SVD       Gerald W. Martin                     7100-000             NA            7,695.00       7,695.00              0.00




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                                                                 CLAIMS          CLAIMS
                                                    UNIFORM
                                                               SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                                (from Form    (from Proofs of     ALLOWED
                                                     CODE
                                                                    6F)           Claim)

29 SVC         Gerald W. Martin                     7100-000             NA            7,695.00       7,695.00              0.00


30 MTW         Gerald W. Martin                     7100-000             NA            7,695.00       7,695.00              0.00


62             Gerald W. Martin                     7100-000             NA            7,695.00       7,695.00              0.00


97             Gerald W. Martin                     7100-000             NA            7,695.00       7,695.00              0.00


1 SVC          Gloria Irwin                         7100-000             NA          50,000.00       50,000.00              0.00


69             Gloria Irwin                         7100-000             NA          50,000.00       50,000.00          5,843.37


15 SVC         Grant Gray                           7100-000             NA          32,966.66       32,966.66              0.00


29             Grant Gray                           7100-000             NA          32,966.66       32,966.66              0.00


83             Grant Gray                           7100-000             NA                0.00             0.00            0.00


9              Grant Gray                           7100-000             NA          32,966.66       32,966.66          3,852.73


14 SVC         Grant or Mason Gray                  7100-000             NA          18,645.12       18,645.12              0.00


27             Grant or Mason Gray                  7100-000             NA          18,645.12       18,645.12          2,179.01


8              Grant or Mason Gray                  7100-000             NA          18,645.12       18,645.12          2,179.01


82             GRANT OR MASON GRAY 7100-000                              NA                0.00             0.00            0.00


8 SVD          Gray Danny                           7100-000             NA         108,000.00      108,000.00              0.00


133            Heather Depta                        7100-000             NA                0.00             0.00            0.00


14             Heather Depta                        7100-000             NA          52,332.64       52,332.64              0.00




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                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

15 SVD       Heather Depta                        7100-000             NA          52,332.64        52,332.64             0.00


157          Heather Depta                        7100-000             NA                0.00             0.00            0.00


19 MTW       Heather Depta                        7100-000             NA          52,332.64        52,332.64             0.00


19 SVC       Heather Depta                        7100-000             NA          52,332.64        52,332.64             0.00


87           Heather Depta                        7100-000             NA          52,332.64        52,332.64         6,115.98


128          Hill Ward Henderson                  7100-000             NA            8,197.80        8,197.80           958.06


14 MTW       Hill Ward Henderson                  7100-000             NA            8,197.80        8,197.80             0.00


166          Indian Harbor Insurance Co           7100-000             NA          41,233.00        41,233.00         4,818.79


24 SVD       Indian Harbor Insurance Co           7100-000             NA          41,233.00        41,233.00             0.00


63           Inertia, LLC c/o                     7100-000             NA              400.00          400.00             0.00


12 SVD       Internal Revenue Service             7100-000             NA            1,000.00        1,000.00             0.00


16 SVC       Internal Revenue Service             7100-000             NA              500.00          500.00             0.00


58           Investlinc/TFS Fund                  7100-000             NA          90,650.00        90,650.00             0.00


167          InvestLinc/TFS Income Fund           7100-000             NA       5,163,946.17     5,163,946.17             0.00


25 SVD       InvestLinc/TFS Income Fund           7100-000             NA       5,163,946.17     5,163,946.17             0.00


146          Iris Mabry                           7100-000             NA          40,000.00        40,000.00             0.00


28 MTW       Iris Mabry                           7100-000             NA          40,000.00        40,000.00             0.00




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                                                                 CLAIMS          CLAIMS
                                                    UNIFORM
                                                               SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                                (from Form    (from Proofs of     ALLOWED
                                                     CODE
                                                                    6F)           Claim)

33             IRS                                  7100-000             NA              100.00         100.00              0.00


104            Jack & Toni Williams                 7100-000             NA         149,484.54      149,484.54         17,469.88


12             Jack & Toni Williams                 7100-000             NA         151,370.45      151,370.45              0.00


122            Jack & Toni Williams                 7100-000             NA         151,370.45      151,370.45              0.00


26             Jack & Toni Williams                 7100-000             NA         151,370.45      151,370.45              0.00


36 SVC         Jack E. & Toni B. Williams           7100-000             NA         149,484.54      149,484.54              0.00


10 MTW         Jack Williams                        7100-000             NA         151,370.45      151,370.45              0.00


12 SVC         James Williams                       7100-000             NA          49,914.20       49,914.20              0.00


127            James Williams                       7100-000             NA          49,914.20       49,914.20              0.00


13 MTW         James Williams                       7100-000             NA          49,914.20       49,914.20              0.00


135            James Williams                       7100-000             NA                0.00             0.00            0.00


42             James Williams                       7100-000             NA          49,914.20       49,914.20              0.00


80             James Williams                       7100-000             NA          49,914.20       49,914.20          5,833.35


9 SVD          James Williams                       7100-000             NA          49,914.20       49,914.20              0.00


24             John D. Smith                        7100-000             NA         154,120.38      154,120.38         18,011.66


4              John D. Smith                        7100-000             NA         154,120.38      154,120.38              0.00




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                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

             Johnie A. Hudson Mildred F.
165          Hudson Eva H. Lacey                  7100-000             NA                0.00             0.00            0.00


             Johnie A. Hudson Mildred F.
23 SVD       Hudson Eva H. Lacey                  7100-000             NA         116,307.38      116,307.38              0.00


             Johnie A. Hudson Mildred F.
26 SVC       Hudson Eva H. Lacey                  7100-000             NA         116,307.38      116,307.38              0.00


             Johnie A. Hudson Mildred F.
56           Hudson Eva H. Lacey                  7100-000             NA         116,307.38      116,307.38              0.00


57           Kathryn Breeland                     7100-000             NA          76,013.11       76,013.11          8,883.46


140          Kay Wolfe                            7100-000             NA         407,573.14      407,573.14         47,632.04


24 MTW       Kay Wolfe                            7100-000             NA         407,573.14      407,573.14              0.00


45           Lacey Wolfe, LLC                     7100-000             NA          29,600.00       29,600.00              0.00


101          Laura Underhill                      7100-000             NA              763.70         763.70             89.25


154          Laura Underhill                      7100-000             NA              763.70         763.70              0.00


174          Laura Underhill                      7100-000             NA                0.00             0.00            0.00


32 SVD       Laura Underhill                      7100-000             NA              763.70         763.70              0.00


33 SVC       Laura Underhill                      7100-000             NA              763.70         763.70              0.00


35 MTW       Laura Underhill                      7100-000             NA              763.70         763.70              0.00


67           Laura Underhill                      7100-000             NA              763.70         763.70              0.00




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                                                                 CLAIMS          CLAIMS
                                                    UNIFORM
                                                               SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                                (from Form    (from Proofs of     ALLOWED
                                                     CODE
                                                                    6F)           Claim)

68             Laura Underhill                      7100-000             NA              763.70         763.70              0.00


21 MTW         Lee Alex Breeland                    7100-000             NA         828,520.32      828,520.32              0.00


21 SVD         Lee Alex Breeland                    7100-000             NA         828,520.32      828,520.32              0.00


25 SVC         Lee Alex Breeland                    7100-000             NA         828,520.32      828,520.32              0.00


136            Lee Alex Breland                     7100-000             NA                0.00             0.00            0.00


163            Lee Alex Breland                     7100-000             NA                0.00             0.00            0.00


54             Lee Alex Breland                     7100-000             NA         828,520.32      828,520.32         96,827.07


93             Lee Alex Breland                     7100-000             NA                0.00             0.00            0.00


121            Leila W. Stone                       7100-000             NA                0.00             0.00            0.00


6 SVD          Leila W. Stone                       7100-000             NA          81,943.26       81,943.26              0.00


7              Leila W. Stone                       7100-000             NA          82,084.72       82,084.72              0.00


30             Linda Davis                          7100-000             NA          31,215.89       31,215.89              0.00


109            Linda Matthews                       7100-000             NA         274,055.00      274,055.00              0.00


116            Linda Matthews                       7100-000             NA                0.00             0.00            0.00


17             Linda Matthews                       7100-000             NA         274,055.00      274,055.00              0.00


3 SVD          Linda Matthews                       7100-000             NA         274,055.00      274,055.00              0.00


36             Linda Matthews                       7100-000             NA         274,055.00      274,055.00         32,028.11




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                                                                 CLAIMS          CLAIMS
                                                    UNIFORM
                                                               SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                                (from Form    (from Proofs of     ALLOWED
                                                     CODE
                                                                    6F)           Claim)

5 MTW          Linda Matthews                       7100-000             NA         274,055.00      274,055.00              0.00


5 SVC          Linda Matthews                       7100-000             NA         274,055.00      274,055.00              0.00


73             Linda Matthews                       7100-000             NA                0.00             0.00            0.00


147            Linda Montgomery                     7100-000             NA         104,000.00      104,000.00              0.00


29 MTW         Linda Montgomery                     7100-000             NA         214,000.00      214,000.00              0.00


149            MARILYN E. WOOD                      7100-000             NA              829.31         829.31              0.00


151            MARILYN E. WOOD                      7100-000             NA              829.31         829.31              0.00


169            MARILYN E. WOOD                      7100-000             NA            1,861.10       1,861.10              0.00


170            MARILYN E. WOOD                      7100-000             NA            1,816.10       1,816.10              0.00


178            Marilyn E. Wood                      7100-000             NA              885.19         885.19              0.00


27 SVD         Marilyn E. Wood                      7100-000             NA            1,861.10       1,861.10              0.00


28 SVD         Marilyn E. Wood                      7100-000             NA            1,861.10       1,861.10              0.00


31 MTW         Marilyn E. Wood                      7100-000             NA              829.31         829.31              0.00


32 MTW         Marilyn E. Wood                      7100-000             NA              829.31         829.31              0.00


33 SVD         MARILYN E. WOOD                      7100-000             NA            2,406.65       2,406.65              0.00


36 MTW         Marilyn E. Wood                      7100-000             NA              820.42         820.42              0.00


1 MTW          Mary Baysinger                       7100-000             NA         542,539.56      542,539.56              0.00




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                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

110          Mary Baysinger                       7100-000             NA         542,539.56      542,539.56          63,405.22


22           Mary Baysinger                       7100-000             NA         542,539.56      542,539.56               0.00


             Metropolitan Government
150          Trustee                              7100-000             NA            1,001.77        1,001.77              0.00


             Metropolitan Government
155          Trustee                              7100-000             NA              735.52          735.52              0.00


158          Mike Yarbro                          7100-000             NA         250,000.00      250,000.00               0.00


             Mike Yarbro, Sue Yarbro,
16 SVD       MYSY Rental, Inc.                    7100-000             NA         780,201.06      780,201.06               0.00


             Mike Yarbro, Sue Yarbro,
47           MYSY Rental, Inc.                    7100-000             NA       1,030,201.06     1,030,201.06        120,396.98


             Mike Yarbro, Sue Yarbro,
88           MYSY Rental, Inc.                    7100-000             NA                0.00             0.00             0.00


94           Mildred Freda Hudson, and            7100-000             NA         116,307.38      116,307.38          13,592.55


130          Mr. & James R. Donald                7100-000             NA         104,530.86      104,530.86          12,216.26


16 MTW       Mr. & James R. Donald                7100-000             NA         104,530.86      104,530.86               0.00


105          Natalie Dautenhahm                   7100-000             NA         116,545.17      116,545.17          13,620.34


106          Natalie Dautenhahm                   7100-000             NA         212,115.32      212,115.32          24,789.38


19           Natalie Dautenhahm                   7100-000             NA         212,115.32      212,115.32               0.00




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                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

20           Natalie Dautenhahm                   7100-000             NA         116,746.35      116,746.35              0.00


38 SVC       Natalie Dautenhahm                   7100-000             NA         212,115.32      212,115.32              0.00


41           Natalie Dautenhahm                   7100-000             NA         212,115.32      212,115.32              0.00


40           Natalie Dautenhahn                   7100-000             NA         116,746.35      116,746.35              0.00


37 SVC       Natalie Dautenhaun                   7100-000             NA         116,545.17      116,545.17              0.00


10 SVD       Patricia Williams                    7100-000             NA          49,914.20       49,914.20              0.00


12 MTW       Patricia Williams                    7100-000             NA          49,914.20       49,914.20              0.00


126          Patricia Williams                    7100-000             NA          49,914.20       49,914.20              0.00


13 SVC       Patricia Williams                    7100-000             NA          49,914.20       49,914.20              0.00


137          Patricia Williams                    7100-000             NA                0.00             0.00            0.00


43           Patricia Williams                    7100-000             NA          49,914.20       49,914.20              0.00


81           Patricia Williams                    7100-000             NA          49,914.20       49,914.20          5,833.35


144          Raymond L. Mongomery, Sr.            7100-000             NA         217,675.04      217,675.04              0.00


96           Raymond L. Mongomery, Sr.            7100-000             NA         108,383.22      108,383.22              0.00


27 MTW       Raymond L. Montgomery                7100-000             NA         435,350.08      435,350.08              0.00


28 SVC       Raymond L. Montgomery, Sr. 7100-000                       NA         188,383.22      188,383.22              0.00


161          Raymond Montgomery, Jr.              7100-000             NA                0.00             0.00            0.00




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                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

19 SVD       Raymond Montgomery, Jr.              7100-000             NA         776,421.41      776,421.41              0.00


23 SVC       Raymond Montgomery, Jr.              7100-000             NA         776,421.41      776,421.41              0.00


51           Raymond Montgomery, Jr.              7100-000             NA          10,000.00       10,000.00          1,168.67


52           Raymond Montgomery, Jr.              7100-000             NA         776,421.41      776,421.41              0.00


91           Raymond Montgomery, Jr.              7100-000             NA         776,421.41      776,421.41         90,738.40


100          Rebecca Morehead                     7100-000             NA              400.00         400.00              0.00


153          Rebecca Morehead                     7100-000             NA              400.00         400.00              0.00


173          Rebecca Morehead                     7100-000             NA                0.00             0.00            0.00


31 SVD       Rebecca Morehead                     7100-000             NA              400.00         400.00              0.00


32 SVC       Rebecca Morehead                     7100-000             NA              400.00         400.00              0.00


34 MTW       Rebecca Morehead                     7100-000             NA              400.00         400.00              0.00


66           Rebecca Morehead                     7100-000             NA              400.00         400.00              0.00


             Recovery Management
25 MTW       Systems Corporation                  7100-000             NA              220.61         220.61              0.00


48           Richard Lacey                        7100-000             NA         200,000.00      200,000.00         23,373.49


46           Rick Lacey                           7100-000             NA          20,000.00       20,000.00              0.00


103          Robert H. Compton                    7100-000             NA          49,828.19       49,828.19          5,823.29




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                                                                 CLAIMS          CLAIMS
                                                    UNIFORM
                                                               SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                                (from Form    (from Proofs of     ALLOWED
                                                     CODE
                                                                    6F)           Claim)

61             Robert H. Compton                    7100-000             NA          49,828.19       49,828.19               0.00


131            Robert Isonhood                      7100-000             NA         103,354.16      103,354.16          12,078.74


17 MTW         Robert Isonhood                      7100-000             NA         103,354.16      103,354.16               0.00


10             Rosalyn Gray                         7100-000             NA          40,867.00       40,867.00           4,776.02


31             Rosalyn Gray                         7100-000             NA          40,867.00       40,867.00               0.00


13             Scott Smith                          7100-000             NA              950.00         950.00               0.00


111            Scott Stevens                        7100-000             NA         996,563.63      996,563.63               0.00


117            Scott Stevens                        7100-000             NA                0.00             0.00             0.00


18             Scott Stevens                        7100-000             NA         996,563.63      996,563.63               0.00


35             Scott Stevens                        7100-000             NA         996,563.63      996,563.63         116,465.86


4 SVD          Scott Stevens                        7100-000             NA         996,563.63      996,563.63               0.00


6 MTW          Scott Stevens                        7100-000             NA                0.00             0.00             0.00


6 SVC          Scott Stevens                        7100-000             NA         996,563.63      996,563.63               0.00


74             Scott Stevens                        7100-000             NA                0.00             0.00             0.00


123            Sheila Stone                         7100-000             NA                0.00             0.00             0.00


6              Sheila Stone                         7100-000             NA          96,619.45       96,619.45               0.00


7 SVD          Sheila Stone                         7100-000             NA          96,619.45       96,619.45               0.00




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                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

85           Shelby County Trustee                7100-000             NA              478.38          478.38              0.00


86           Shelby County Trustee                7100-000             NA            1,249.76        1,249.76              0.00


138          ShowsPowell PLLC                     7100-000             NA            9,161.50        9,161.50          1,070.68


22 MTW       ShowsPowell PLLC                     7100-000             NA            9,161.50        9,161.50              0.00


             STEADIVEST, LLC                      7100-000             NA         625,564.79      625,564.79               0.00


171          Taylor Made Properties LLC           7100-000             NA            2,738.00        2,738.00              0.00


29 SVD       Taylor Made Properties LLC           7100-000             NA            2,738.00        2,738.00              0.00


30 SVC       Taylor Made Properties LLC           7100-000             NA            2,738.00        2,738.00              0.00


64           Taylor Made Properties LLC           7100-000             NA            2,425.00        2,425.00              0.00


98           Taylor Made Properties LLC           7100-000             NA            2,738.00        2,738.00              0.00


3            Terry Bailey                         7100-000             NA         421,470.38      421,470.38          49,256.17


             The InvestLinc/TFS Income
143          Fund LLC                             7100-000             NA                0.00             0.00             0.00


             The InvestLinc/TFS Income
26 MTW       Fund LLC                             7100-000             NA                0.00             0.00             0.00


             The InvestLinc/TFS Income
27 SVC       Fund LLC                             7100-000             NA                0.00             0.00             0.00


             The InvestLinc/TFS Income
95           Fund LLC                             7100-000             NA       6,032,349.54     6,032,349.54        704,985.39




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                                                                 CLAIMS           CLAIMS
                                                    UNIFORM
                                                               SCHEDULED         ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                                (from Form     (from Proofs of     ALLOWED
                                                     CODE
                                                                    6F)            Claim)

1              Tim Davis                            7100-000             NA           31,215.89          31,215.89              0.00


4 SVC          Tim Davis                            7100-000             NA           31,215.89          31,215.89              0.00


72             Tim Davis                            7100-000             NA           31,215.89          31,215.89          3,648.12


11 MTW         Unitech, Inc.                        7100-000             NA               720.89            720.89              0.00


124            Unitech, Inc.                        7100-000             NA               720.89            720.89             84.25


60             Wells Marble & Hurst                 7100-000             NA           21,180.04          13,517.98          1,579.81

TOTAL GENERAL UNSECURED                                                 $ NA   $ 50,874,270.47     $ 50,775,534.27    $ 1,802,296.73
CLAIMS




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                                                                                 FORM 1
                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                              ASSET CASES
                                                                                                                                                                                                  Exhibit 8
Case No:             09-01013                       EE       Judge:        Edward Ellington                             Trustee Name:                      DEREK A. HENDERSON
Case Name:           STEADIVEST, LLC                                                                                    Date Filed (f) or Converted (c):   05/15/2009 (c)
                                                                                                                        341(a) Meeting Date:               06/10/2009
For Period Ending:   11/28/2017                                                                                         Claims Bar Date:                   09/08/2009


                                  1                                       2                             3                            4                          5                             6

                         Asset Description                              Petition/                 Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                 Unscheduled             (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                        Values                 Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                   Exemptions,                                                                              Assets
                                                                                                 and Other Costs)

  1. FINANCIAL ACCOUNTS - SV Resources LLC DIP - Regions                            0.00                     4,444.84                                                4,444.84                           FA
     (u)
  2. FINANCIAL ACCOUNTS - SV LLC DIP - Regions (u)                                  0.00                     2,906.55                                                2,906.55                           FA
  3. FINANCIAL ACCOUNTS - SV LLC - Regions (u)                                      0.00                      475.56                                                     475.56                         FA
  4. REGIONS ACCOUNTS                                                               0.00                         0.00                                                       0.00                        FA
  5. KEY MAN POLICY ON MARSHALL WOLFE-JOHN                                10,000,000.00                          0.00                                                       0.00                        FA
     HANCOCK TERM LIFE
  6. STOCK                                                                     Unknown                           0.00                                                       0.00                        FA
  7. INTERESTS IN PARTNERSHIPS OR JOINT VENTURES                               Unknown                           0.00                                                       0.00                        FA
  8. INTEREST PAID TO MARSHALL WOFE IN QUARTERLY                               50,000.00                         0.00                                                       0.00                        FA
     INSTALLMENTS
  9. ACCOUNTS RECEIVABLE                                                            0.00                         0.00                                                       0.00                        FA
 10. OTHER CONTINGENT AND UNLIQUIDATED CLAIMS                                  Unknown                           0.00                                                       0.00                        FA
 11. VEHICLES                                                                  Unknown                           0.00                                                       0.00                        FA
 12. OFFICE EQUIPMENT                                                          10,000.00                         0.00                                                       0.00                        FA
 13. MACHINERY AND SUPPLIES                                                         0.00                         0.00                                                       0.00                        FA
 14. INTEREST PAYMENT - GK PROPERTIES FUND II (u)                              Unknown                      10,000.00                                                    200.00                         FA
 15. ADVANCED RECOVERY SYSTEMS, INC. - GEORGE                                       0.00                         0.00                                                       0.00                        FA
     SMITH (u)
 16. FINANCIAL ACCOUNTS - SV Development, LLC - Regions                             0.00                    63,690.09                                               63,690.09                           FA
     (u)
 17. FINANCIAL ACCOUNTS - The Investlinc - TFS Income Fund                          0.00                     2,961.50                                                       0.00                        FA
     - Regi (u)
 18. FINANCIAL ACCOUNTS - The Investlinc-TFS Income Fund                            0.00                    56,648.29                                                       0.00                        FA
     LLC - Re (u)
 19. FINANCIAL ACCOUNTS - Total Return Real Estate, LLC -                           0.00                       42.43                                                      42.43                         FA
     Regions (u)
 20. RENTAL PROPERTY - Parkway Realty Property                                 Unknown                       4,661.29                                                4,661.29                           FA
     Management (u)


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                                                                                   FORM 1
                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                ASSET CASES
                                                                                                                                                                                                     Exhibit 8
Case No:             09-01013                       EE         Judge:        Edward Ellington                              Trustee Name:                      DEREK A. HENDERSON
Case Name:           STEADIVEST, LLC                                                                                       Date Filed (f) or Converted (c):   05/15/2009 (c)
                                                                                                                           341(a) Meeting Date:               06/10/2009
For Period Ending:   11/28/2017                                                                                            Claims Bar Date:                   09/08/2009


                                  1                                         2                             3                             4                          5                             6

                         Asset Description                                Petition/                 Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                   Unscheduled             (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                          Values                 Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                     Exemptions,                                                                               Assets
                                                                                                   and Other Costs)

 21. RENTAL PROPERTY - 1333 17th Way, Birmingham, AL                             36,830.27                     36,830.27                                                       0.00                        FA
 22. RENTAL PROPERTY - 1424 46th Street W, Birmingham, AL                        54,976.18                     54,976.18                                               12,000.00                           FA
 23. RENTAL PROPERTY - 224 McCormick, Birmingham, AL                             63,699.63                     63,699.63                                                8,000.00                           FA
 24. RENTAL PROPERTY - 2724 6th Street NE, Birmingham, AL                        39,771.20                     39,771.20                                                8,000.00                           FA
 25. RENTAL PROPERTY - 300 83rd Street S, Birmingham, AL                         37,004.87                     37,004.87                                                       0.00                        FA
 26. RENTAL PROPERTY - 3146 Sleepy Hollow, Birmingham, AL                        44,998.24                          0.00                                                       0.00                        FA
 27. RENTAL PROPERTY - 5517 Avenue O, Birmingham, AL                             37,774.00                     37,774.00                                                       0.00                        FA
 28. RENTAL PROPERTY - 7801 5th Avenue, Birmingham, AL                           35,000.00                     35,000.00                                                8,250.00                           FA
 29. RENTAL PROPERTY - 7807 1st Avenue S, Birmingham, AL                         34,961.85                     34,961.85                                                       0.00                        FA
 30. RENTAL PROPERTY - 8300 4th Avenue S., Birmingham, AL                        29,900.00                     29,900.00                                               22,500.00                           FA
 31. RENTAL PROPERTY - 8300 5th Avenue N, Birmingham, AL                         44,875.00                     44,875.00                                                4,100.00                           FA
 32. RENTAL PROPERTY - 8400 9th Avenue S, Birmingham, AL                         31,281.20                     31,281.20                                                       0.00                        FA
 33. RENTAL PROPERTY - 9009 Beverly Drive, Birmingham, AL                        26,990.00                     26,990.00                                               15,000.00                           FA
 34. RENTAL PROPERTY - 933 Five Mile Road, Birmingham, AL                        38,500.00                     38,500.00                                                       0.00                        FA
 35. RENTAL PROPERTY - 6501 Forest Drive, Fairfield, AL                          49,007.37                     49,007.37                                                8,000.00                           FA
 36. RENTAL PROPERTY - Lot 21, Latter Rayne Part 1, Flowood,                    341,325.38                    341,325.38                                                       0.00                        FA
     MS
 37. RENTAL PROPERTY - 114 Mason, Jackson, MS                                    36,300.00                     36,300.00                                                1,300.00                           FA
 38. RENTAL PROPERTY - 1790 Woodglen, Jackson, MS                                39,035.00                     39,035.00                                                       0.00                        FA
 39. RENTAL PROPERTY - 2041 Oakhurst, Jackson, MS                                40,589.50                     40,589.50                                                       0.00                        FA
 40. RENTAL PROPERTY - 2741 Revere, Jackson, MS                                  32,596.13                     32,596.13                                               25,500.00                           FA
 41. RENTAL PROPERTY - 2944 Glen Derry, Jackson, MS                              35,700.00                     35,700.00                                                       0.00                        FA
 42. RENTAL PROPERTY - 3146 Adrienne, Jackson, MS                                40,000.00                     40,000.00                                               29,500.00                           FA
 43. RENTAL PROPERTY - 3207 Oak Forest, Jackson, MS                              33,495.00                     33,495.00                                                       0.00                        FA




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                                                                             FORM 1
                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                          ASSET CASES
                                                                                                                                                                                               Exhibit 8
Case No:             09-01013                       EE   Judge:        Edward Ellington                              Trustee Name:                      DEREK A. HENDERSON
Case Name:           STEADIVEST, LLC                                                                                 Date Filed (f) or Converted (c):   05/15/2009 (c)
                                                                                                                     341(a) Meeting Date:               06/10/2009
For Period Ending:   11/28/2017                                                                                      Claims Bar Date:                   09/08/2009


                                  1                                   2                             3                             4                          5                             6

                         Asset Description                          Petition/                 Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)             Unscheduled             (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                    Values                 Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                               Exemptions,                                                                               Assets
                                                                                             and Other Costs)

 44. RENTAL PROPERTY - 3464 Rosemary, Jackson, MS                          35,000.00                     35,000.00                                                 5,500.00                          FA
 45. RENTAL PROPERTY - 1445 Dianne, Jackson, MS                            47,572.48                     47,572.48                                                 7,000.00                          FA
 46. RENTAL PROPERTY - 2632 Shannon, Jackson, MS                           41,187.72                     41,187.72                                                16,500.00                          FA
 47. RENTAL PROPERTY - 2751 Brookwood, Jackson, MS                         53,028.45                     53,028.45                                                10,000.00                          FA
 48. RENTAL PROPERTY - 318 Fairhill, Jackson, MS                           55,437.11                     55,437.11                                                 2,700.00                          FA
 49. RENTAL PROPERTY - 1027 Walnut, Jackson, MS                            22,474.16                     22,474.16                                                 1,000.00                          FA
 50. RENTAL PROPERTY - 111 Carolyn, Jackson, MS                            76,913.99                     76,913.99                                                 8,500.00                          FA
 51. RENTAL PROPERTY - 133 Pinelawn, Jackson, MS                           56,000.00                     56,000.00                                                14,000.00                          FA
 52. RENTAL PROPERTY - 139 Woody, Jackson, MS                              34,529.18                     34,529.18                                                 9,500.00                          FA
 53. RENTAL PROPERTY - 1444 Wooddell, Jackson, MS                          92,517.04                     92,517.04                                                15,500.00                          FA
 54. RENTAL PROPERTY - 1510 Woody Drive, Jackson, MS                       50,500.00                     50,500.00                                                       0.00                        FA
 55. RENTAL PROPERTY - 1515 First Avenue, Jackson, MS                     623,570.00                    623,570.00                                               300,000.00                          FA
 56. RENTAL PROPERTY - 1863 Willaneel, Jackson, MS                         33,996.80                     33,996.80                                                 6,000.00                          FA
 57. RENTAL PROPERTY - 2211 Castle Hill, Jackson, MS                       68,450.00                     68,450.00                                                18,500.00                          FA
 58. RENTAL PROPERTY - 222 Lea, Jackson, MS                                18,075.00                     18,075.00                                                 4,000.00                          FA
 59. RENTAL PROPERTY - 2557 Paden, Jackson, MS                             44,336.92                     44,336.92                                                 9,500.00                          FA
 60. RENTAL PROPERTY - 2635 Revere, Jackson, MS                            57,900.00                     57,900.00                                                11,500.00                          FA
 61. RENTAL PROPERTY - 2822 Engleside, Jackson, MS                         32,199.42                     32,199.42                                                 3,500.00                          FA
 62. RENTAL PROPERTY - 2913 Greenview, Jackson, MS                         43,514.00                     43,514.00                                                    600.00                         FA
 63. RENTAL PROPERTY - 303 Wacaster, Jackson, MS                           23,304.00                     23,304.00                                                11,250.00                          FA
 64. RENTAL PROPERTY - 3312 Beatrice, Jackson, MS                          41,993.39                     41,993.39                                                       0.00                        FA
 65. RENTAL PROPERTY - 3546 Norwood, Jackson, MS                           46,365.00                     46,365.00                                                 8,000.00                          FA
 66. RENTAL PROPERTY - 3719 John Adams, Jackson, MS                        60,648.00                     60,648.00                                                 5,500.00                          FA
 67. RENTAL PROPERTY - 375 Mason, Jackson, MS                              30,000.00                     30,000.00                                                 1,500.00                          FA



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                                                                             FORM 1
                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                          ASSET CASES
                                                                                                                                                                                               Exhibit 8
Case No:             09-01013                       EE   Judge:        Edward Ellington                              Trustee Name:                      DEREK A. HENDERSON
Case Name:           STEADIVEST, LLC                                                                                 Date Filed (f) or Converted (c):   05/15/2009 (c)
                                                                                                                     341(a) Meeting Date:               06/10/2009
For Period Ending:   11/28/2017                                                                                      Claims Bar Date:                   09/08/2009


                                  1                                   2                             3                             4                          5                             6

                         Asset Description                          Petition/                 Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)             Unscheduled             (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                    Values                 Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                               Exemptions,                                                                               Assets
                                                                                             and Other Costs)

 68. RENTAL PROPERTY - 4548 Whitehaven, Jackson, MS                        15,431.20                     15,431.20                                               12,500.00                           FA
 69. RENTAL PROPERTY - 4746 Norway, Jackson, MS                            56,039.07                     56,039.07                                               28,000.00                           FA
 70. RENTAL PROPERTY - 4943 Westwood, Jackson, MS                          37,524.01                     37,524.01                                                3,250.00                           FA
 71. RENTAL PROPERTY - 5802 Orchardview, Jackson, MS                       78,100.00                     78,100.00                                               61,000.00                           FA
 72. RENTAL PROPERTY - 5859 Old Canton, Jackson, MS                       112,552.76                    112,552.76                                               46,000.00                           FA
 73. RENTAL PROPERTY - 632 W. Hillsdale, Jackson, MS                       24,801.00                     24,801.00                                               17,750.00                           FA
 74. RENTAL PROPERTY - 665 Cooper, Jackson, MS                             31,696.40                     31,696.40                                               10,000.00                           FA
 75. RENTAL PROPERTY - 704 Westmont, Jackson, MS                           33,375.99                     33,375.99                                               10,250.00                           FA
 76. RENTAL PROPERTY - 728 Combs, Jackson, MS                              71,154.95                     71,154.95                                                7,000.00                           FA
 77. RENTAL PROPERTY - 745 Launcelot, Jackson, MS                          67,500.00                     67,500.00                                                       0.00                        FA
 78. RENTAL PROPERTY - 158 Pine Ridge, Jackson, MS                         31,100.00                     31,100.00                                               13,000.00                           FA
 79. RENTAL PROPERTY - 2857 Greenwood, Jackson, MS                         42,427.50                     42,427.50                                                3,700.00                           FA
 80. RENTAL PROPERTY - 942 Branch St, Jackson, MS                          57,650.00                     57,650.00                                               33,500.00                           FA
 81. RENTAL PROPERTY - 11 Properties, Kansas City, MO                      22,000.00                     22,000.00                                                       0.00                        FA
 82. RENTAL PROPERTY - 3604 Holland, Memphis, TN                           35,000.00                     35,000.00                                                6,600.00                           FA
 83. RENTAL PROPERTY - 806 Newell, Memphis, TN                             35,000.00                     35,000.00                                                9,350.00                           FA
 84. RENTAL PROPERTY - 1712 Pake Rd., Mobile, AL                           51,001.21                     51,001.21                                               16,000.00                           FA
 85. RENTAL PROPERTY - 266 Dexter Ave., Mobile, AL                        135,814.85                    135,814.85                                               38,500.00                           FA
 86. RENTAL PROPERTY - 360 Michigan, Mobile, AL                            47,000.00                     47,000.00                                                       0.00                        FA
 87. RENTAL PROPERTY - 663 Johnston Ave, Mobile, AL                        64,135.09                     64,135.09                                               10,500.00                           FA
 88. RENTAL PROPERTY - 1925, 1927, 1929 James Ave.,                        75,000.00                     75,000.00                                               33,500.00                           FA
     Mobile, AL
 89. RENTAL PROPERTY - 1810 Branch St., Nashville, TN                     115,000.00                    115,000.00                                               61,000.00                           FA
 90. RENTAL PROPERTY - 330 Pullen, Nashville, TN                          109,500.00                    109,500.00                                                       0.00                        FA




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                                                                                  FORM 1
                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                               ASSET CASES
                                                                                                                                                                                                    Exhibit 8
Case No:             09-01013                       EE        Judge:        Edward Ellington                              Trustee Name:                      DEREK A. HENDERSON
Case Name:           STEADIVEST, LLC                                                                                      Date Filed (f) or Converted (c):   05/15/2009 (c)
                                                                                                                          341(a) Meeting Date:               06/10/2009
For Period Ending:   11/28/2017                                                                                           Claims Bar Date:                   09/08/2009


                                  1                                        2                             3                             4                          5                             6

                         Asset Description                               Petition/                 Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                  Unscheduled             (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                         Values                 Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                    Exemptions,                                                                               Assets
                                                                                                  and Other Costs)

 91. RENTAL PROPERTY - 203 Citrus, Pensacola, FL                                98,704.91                     98,704.91                                                       0.00                        FA
 92. RENTAL PROPERTY - 2605 W. Fisher, Pensacola, FL                            51,374.21                     51,374.21                                                       0.00                        FA
 93. RENTAL PROPERTY - 979 Clearview St., Milton, FL 32583                     186,550.00                    186,550.00                                               101,500.00                          FA
 94. RENTAL PROPERTY - 5604 E. Shore, Pensacola, FL                            104,865.42                    104,865.42                                                62,500.00                          FA
 95. RENTAL PROPERTY - 6308 Dallas Ave., Pensacola, FL                          70,470.00                     70,470.00                                                32,500.00                          FA
 96. RENTAL PROPERTY - 708 & 710 Kirk St., Pensacola, FL                       118,056.02                          0.00                                                       0.00                        FA
 97. RENTAL PROPERTY - 7961 Hilburn, Pensacola, FL                             153,535.20                    153,535.20                                                66,000.00                          FA
 98. RENTAL PROPERTY - Nashville Home Hunters, LLC (u)                          Unknown                         239.37                                                     239.37                         FA
 99. RENTAL PROPERTY - Statewide Realty, Montgomery, AL (u)                     Unknown                          40.91                                                      40.91                         FA
100. RENTAL PROPERTY - 1619 North West Street, Jackson, MS                     102,000.00                     25,000.00                                                25,000.00                          FA
101. FINANCIAL ACCOUNTS - Steadivest Capital, LLC - Regions                          0.00                      6,650.89                                                 6,650.89                          FA
     (u)
102. FINANCIAL ACCOUNTS - Tactical Financial Solutions -                             0.00                      2,685.77                                                 2,685.77                          FA
     Regions (u)
103. NEGOTIABLE INSTRUMENTS-Colbert St., New Orleans, LA                       300,000.00                    200,000.00                                               200,000.00                          FA
     mtg.
104. LIQUIDATED CLAIMS - 2401 Coronet, Jackson, MS                              33,429.01                     33,429.01                                                 6,750.00                          FA
105. LIQUIDATED CLAIMS - 3032 Woodbine, Jackson, MS                             40,189.51                     40,189.51                                                 8,000.00                          FA
106. LIQUIDATED CLAIMS - 1023 Sharpe (REHAB), Nashville, TN                      9,399.66                      9,399.66                                                       0.00                        FA
107. LIQUIDATED CLAIMS - 330 Pullen (REHAB), Nashville, TN                      77,233.18                     77,233.18                                                       0.00                        FA
108. LIQUIDATED CLAIMS - 3406 Doris Cr., (REHAB),                                6,887.24                      6,887.24                                                 7,250.00                          FA
     Mongtomery, AL
109. LIQUIDATED CLAIMS - 716 Carmel (REHAB), Nashville, TN                      35,472.44                     35,472.44                                                56,000.00                          FA
110. LIQUIDATED CLAIMS - 806 Newell, Memphis, TN                                65,000.00                     65,000.00                                                       0.00                        FA
111. LIQUIDATED CLAIMS - 410 Arthur St., Montgomery, AL                         47,370.12                     47,370.12                                                13,500.00                          FA
112. LIQUIDATED CLAIMS - 51 W. Carolina, Chalmette, LA                         159,996.00                    147,788.13                                               147,788.13                          FA



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                                                                                    FORM 1
                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                 ASSET CASES
                                                                                                                                                                                                      Exhibit 8
Case No:             09-01013                       EE          Judge:        Edward Ellington                              Trustee Name:                      DEREK A. HENDERSON
Case Name:           STEADIVEST, LLC                                                                                        Date Filed (f) or Converted (c):   05/15/2009 (c)
                                                                                                                            341(a) Meeting Date:               06/10/2009
For Period Ending:   11/28/2017                                                                                             Claims Bar Date:                   09/08/2009


                                  1                                          2                             3                             4                          5                             6

                         Asset Description                                 Petition/                 Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                    Unscheduled             (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                           Values                 Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                      Exemptions,                                                                               Assets
                                                                                                    and Other Costs)

113. LIQUIDATED CLAIMS - 2025 Brigade, Chalmette, LA                             115,818.00                    115,818.00                                                       0.00                        FA
114. LIQUIDATED CLAIMS - 36 W. Carmack, Chalmette, LA                            119,112.00                    119,112.00                                                74,357.64                          FA
115. LIQUIDATED CLAIMS - 65 W. Carolina, Chalmette, LA                           157,200.00                    157,200.00                                                75,996.79                          FA
116. CONTINGENT CLAIMS - Various potential claims and causes                      Unknown                       Unknown                                                         0.00                        FA
     of a
117. OTHER - Claim in Lee Carroll bankruptcy (u)                                  Unknown                        3,453.46                                                 3,453.46                          FA
118. LIQUIDATED CLAIMS - 2211 Perrin Drive, Lawrenceville, GA                          0.00                     78,757.94                                                78,757.94                          FA
     (u)
119. FINANCIAL ACCOUNTS - MTW Investment Financing LLC -                               0.00                      6,189.61                                                 6,189.61                          FA
     Regions (u)
120. LIQUIDATED CLAIMS - 408 Heard St., Elberton, GA (Mercer)                     Unknown                       10,000.00                                                10,182.34                          FA
     (u)
121. LIQUIDATED CLAIMS - 1416 Second Ave., Jackson, MS                            15,000.00                     15,000.00                                                14,500.00                          FA
122. LIQUIDATED CLAIMS - 1619 N. West St., Jackson, MS                                 0.00                          0.00                                                       0.00                        FA
123. LIQUIDATED CLAIMS - 4246 W. Capitol, Jackson, MS                             36,120.00                     36,120.00                                                 9,000.00                          FA
124. LIQUIDATED CLAIMS - 1-11 Georgetown, Jackson, MS                            392,945.00                    392,945.00                                                84,886.86                          FA
125. LIQUIDATED CLAIMS - 321 Broadview, Jackson, MS                               20,420.00                     20,420.00                                                10,250.00                          FA
126. LIQUIDATED CLAIMS - 1920 St. Charles Ct. SW,                                 47,555.00                     47,555.00                                                       0.00                        FA
     Birmingham, AL
127. LIQUIDATED CLAIMS - 632 St. Charles SW, Birmingham, AL                       45,560.00                     45,560.00                                                       0.00                        FA
128. LIQUIDATED CLAIMS - 2070 Hilburn, Atlanta, GA                               150,470.00                    150,470.00                                                84,150.00                          FA
129. LIQUIDATED CLAIMS - 5364 Flat Shoals, Decatur, GA                           133,576.84                    133,576.84                                                20,350.00                          FA
130. LIQUIDATED CLAIMS - 1023 Sharpe Ave. (Loan), Nashville,                     110,765.00                    110,765.00                                               103,400.00                          FA
     TN
131. LIQUIDATED CLAIMS - 1810 Branch, Nashville, TN                               88,623.38                     88,623.38                                                       0.00                        FA
132. LIQUIDATED CLAIMS - 330 Pullen (Loan), Nashville,TN                          94,365.00                     94,365.00                                                61,600.00                          FA
133. LIQUIDATED CLAIMS - 3403 Doris (Loan), Montgomery, AL                        50,620.00                     50,620.00                                                       0.00                        FA



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                                                                                 FORM 1
                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                              ASSET CASES
                                                                                                                                                                                                   Exhibit 8
Case No:             09-01013                       EE       Judge:        Edward Ellington                              Trustee Name:                      DEREK A. HENDERSON
Case Name:           STEADIVEST, LLC                                                                                     Date Filed (f) or Converted (c):   05/15/2009 (c)
                                                                                                                         341(a) Meeting Date:               06/10/2009
For Period Ending:   11/28/2017                                                                                          Claims Bar Date:                   09/08/2009


                                  1                                       2                             3                             4                          5                             6

                         Asset Description                              Petition/                 Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                 Unscheduled             (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                        Values                 Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                   Exemptions,                                                                               Assets
                                                                                                 and Other Costs)

134. LIQUIDATED CLAIMS - 716 Carmel (Loan), Nashville, TN                      90,241.03                     90,241.03                                                       0.00                        FA
135. LIQUIDATED CLAIMS - 3631 Kelly Lane, Montgomery, AL                       50,495.00                     50,495.00                                                3,300.00                           FA
136. LIQUIDATED CLAIMS - 3228 Whitten, Jackson, MS                             51,115.21                     51,115.21                                                1,500.00                           FA
137. LIQUIDATED CLAIMS - 3637 Warner, Jackson, MS                              26,200.00                     26,200.00                                                8,400.00                           FA
138. LIQUIDATED CLAIMS - 939 Jenkins, Pearl, MS                                55,466.00                     55,466.00                                                       0.00                        FA
139. LIQUIDATED CLAIMS - 1645 Fulton Ave., Birmingham, AL                      52,000.00                     52,000.00                                                       0.00                        FA
140. LIQUIDATED CLAIMS - 1112 Crestview, Jackson, MS                           73,547.91                     73,547.91                                               20,500.00                           FA
141. LIQUIDATED CLAIMS - 7801 5th Ave. S., Birmingham, AL                      60,815.00                     60,815.00                                                       0.00                        FA
142. LIQUIDATED CLAIMS - 311 Knob Hill, Jackson, MS                            35,000.00                     35,000.00                                               17,000.00                           FA
143. LIQUIDATED CLAIMS - 973 Rays Rd                                          261,512.64                    261,512.64                                                3,500.00                           FA
144. CONTINGENT CLAIMS                                                         Unknown                            0.00                                                       0.00                        FA
145. OFFICE EQUIPMEN                                                           17,436.08                     17,436.08                                               12,467.00                           FA
146. LIQUIDATED CLAIMS - 4465 Nora Avenue, Pace, FL (Hare)                     Unknown                         500.00                                                     500.00                         FA
     (u)
147. ACCOUNTS RECEIVABLE - Advanced Recovery System (u)                        Unknown                            0.00                                                2,596.50                           FA
148. ADVANCED RECOVERY SYSTEMS, INC. - ANTONIO                                      0.00                     32,683.00                                                       0.00                        FA
     JOHNSON PROPERTIES (u)
149. ADVANCED RECOVERY SYSTEMS, INC. - B&G                                          0.00                     25,832.02                                                       0.00                        FA
     PROPERTY MANAGEMENT (u)
150. ADVANCED RECOVERY SYSTEMS, INC. - BENEFICIAL                                   0.00                     34,002.74                                                       0.00                        FA
     PROPERTIES (u)
151. ADVANCED RECOVERY SYSTEMS, INC. - BENEFICIAL                                   0.00                     22,431.90                                                       0.00                        FA
     PROPERTIES (u)
152. ADVANCED RECOVERY SYSTEMS, INC. - GENE A.                                      0.00                     47,398.00                                                       0.00                        FA
     BRADFORD (u)
153. ADVANCED RECOVERY SYSTEMS, INC. - STEVE BROWN                                  0.00                      9,367.11                                                       0.00                        FA
     (u)




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                                                                             FORM 1
                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                          ASSET CASES
                                                                                                                                                                                              Exhibit 8
Case No:             09-01013                       EE   Judge:        Edward Ellington                             Trustee Name:                      DEREK A. HENDERSON
Case Name:           STEADIVEST, LLC                                                                                Date Filed (f) or Converted (c):   05/15/2009 (c)
                                                                                                                    341(a) Meeting Date:               06/10/2009
For Period Ending:   11/28/2017                                                                                     Claims Bar Date:                   09/08/2009


                                  1                                   2                             3                            4                          5                             6

                         Asset Description                          Petition/                 Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)             Unscheduled             (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                    Values                 Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                               Exemptions,                                                                              Assets
                                                                                             and Other Costs)

154. ADVANCED RECOVERY SYSTEMS, INC. - JON BURTON                               0.00                    11,077.53                                                       0.00                        FA
     (u)
155. ADVANCED RECOVERY SYSTEMS, INC. - BYRON                                    0.00                     4,839.61                                                    276.96                         FA
     SHARPE PROPERTIES (u)
156. ADVANCED RECOVERY SYSTEMS, INC. - CHARLES                                  0.00                    19,822.47                                                       0.00                        FA
     CONWAY (u)
157. ADVANCED RECOVERY SYSTEMS, INC. - CREATIVE                                 0.00                    30,867.76                                                       0.00                        FA
     REAL ESTATE (u)
158. ADVANCED RECOVERY SYSTEMS, INC. - CREATIVE                                 0.00                    28,197.52                                                       0.00                        FA
     REAL ESTATE (u)
159. ADVANCED RECOVERY SYSTEMS, INC. - CREATIVE                                 0.00                    27,157.92                                                       0.00                        FA
     REAL ESTATE (u)
160. ADVANCED RECOVERY SYSTEMS, INC. - CREATIVE                                 0.00                    31,106.01                                                       0.00                        FA
     REAL ESTATE (u)
161. ADVANCED RECOVERY SYSTEMS, INC. - DE'MARC                                  0.00                    23,826.23                                                       0.00                        FA
     INVESTMENT (u)
162. ADVANCED RECOVERY SYSTEMS, INC. -                                          0.00                    11,848.07                                                       0.00                        FA
     HOUSETRADERS, INC. (u)
163. ADVANCED RECOVERY SYSTEMS, INC. -                                          0.00                    32,647.19                                                       0.00                        FA
     HOUSETRADERS, INC. (u)
164. ADVANCED RECOVERY SYSTEMS, INC. -                                          0.00                    26,876.53                                                       0.00                        FA
     HOUSETRADERS, INC. (u)
165. ADVANCED RECOVERY SYSTEMS, INC. -                                          0.00                    36,289.66                                                       0.00                        FA
     HOUSETRADERS, INC. (u)
166. ADVANCED RECOVERY SYSTEMS, INC. -                                          0.00                    32,377.53                                                       0.00                        FA
     HOUSETRADERS, INC. (u)
167. ADVANCED RECOVERY SYSTEMS, INC. -                                          0.00                    19,335.49                                                       0.00                        FA
     HOUSETRADERS, INC. (u)
168. ADVANCED RECOVERY SYSTEMS, INC. -                                          0.00                    12,803.75                                                       0.00                        FA
     HOUSETRADERS, INC. (u)
169. ADVANCED RECOVERY SYSTEMS, INC. - MATT                                     0.00                    23,000.00                                                       0.00                        FA
     HOWARD, JR. (u)




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                                                                             FORM 1
                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                          ASSET CASES
                                                                                                                                                                                              Exhibit 8
Case No:             09-01013                       EE   Judge:        Edward Ellington                             Trustee Name:                      DEREK A. HENDERSON
Case Name:           STEADIVEST, LLC                                                                                Date Filed (f) or Converted (c):   05/15/2009 (c)
                                                                                                                    341(a) Meeting Date:               06/10/2009
For Period Ending:   11/28/2017                                                                                     Claims Bar Date:                   09/08/2009


                                  1                                   2                             3                            4                          5                             6

                         Asset Description                          Petition/                 Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)             Unscheduled             (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                    Values                 Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                               Exemptions,                                                                              Assets
                                                                                             and Other Costs)

170. ADVANCED RECOVERY SYSTEMS, INC. - IMPERIAL, LLC,                           0.00                     6,021.24                                                       0.00                        FA
     LAYOYA (u)
171. ADVANCED RECOVERY SYSTEMS, INC. - JOSHUA TREE                              0.00                     5,682.33                                                       0.00                        FA
     REAL ESTATE (u)
172. ADVANCED RECOVERY SYSTEMS, INC. - DAMION                                   0.00                      243.72                                                     406.19                         FA
     LONGINO (u)
173. ADVANCED RECOVERY SYSTEMS, INC. - DEMETRIUS                                0.00                         0.00                                                       0.00                        FA
     MATHIS (u)
174. ADVANCED RECOVERY SYSTEMS, INC. - TORRENCE                                 0.00                         0.00                                                       0.00                        FA
     MAYFIELD
175. ADVANCED RECOVERY SYSTEMS, INC. - MICHAEL                                  0.00                    61,176.97                                                       0.00                        FA
     KIMBLE, KEST (u)
176. ADVANCED RECOVERY SYSTEMS, INC. - JERMAINE                                 0.00                    22,126.92                                                       0.00                        FA
     MOORE (u)
177. ADVANCED RECOVERY SYSTEMS, INC. - JERMAINE                                 0.00                    18,027.40                                                       0.00                        FA
     MOORE (u)
178. ADVANCED RECOVERY SYSTEMS, INC. - PROPERTY                                 0.00                         0.00                                                       0.00                        FA
     SOLUTION NOW (u)
179. ADVANCED RECOVERY SYSTEMS, INC. - RANKIN GROUP                             0.00                         0.00                                                       0.00                        FA
     INC, GEOR (u)
180. ADVANCED RECOVERY SYSTEMS, INC. - RETRO ONE                                0.00                    35,591.96                                                       0.00                        FA
     INVESTMENT (u)
181. ADVANCED RECOVERY SYSTEMS, INC. - RETRO ONE                                0.00                    29,449.79                                                       0.00                        FA
     INVESTMENT (u)
182. ADVANCED RECOVERY SYSTEMS, INC. - RETRO ONE                                0.00                    43,272.11                                                       0.00                        FA
     INVESTMENT (u)
183. ADVANCED RECOVERY SYSTEMS, INC. - ROBERT                                   0.00                     2,208.22                                                       0.00                        FA
     GUEST PROPERTIES (u)
184. ADVANCED RECOVERY SYSTEMS, INC. - ROBERT                                   0.00                     1,096.81                                                       0.00                        FA
     GUEST PROPERTIES (u)
185. ADVANCED RECOVERY SYSTEMS, INC. - ROBERT                                   0.00                      815.87                                                        0.00                        FA
     GUEST PROPERTIES (u)




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                                                                                   FORM 1
                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                ASSET CASES
                                                                                                                                                                                                    Exhibit 8
Case No:             09-01013                        EE        Judge:        Edward Ellington                             Trustee Name:                      DEREK A. HENDERSON
Case Name:           STEADIVEST, LLC                                                                                      Date Filed (f) or Converted (c):   05/15/2009 (c)
                                                                                                                          341(a) Meeting Date:               06/10/2009
For Period Ending:   11/28/2017                                                                                           Claims Bar Date:                   09/08/2009


                                  1                                         2                             3                            4                          5                             6

                         Asset Description                                Petition/                 Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                   Unscheduled             (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                          Values                 Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                     Exemptions,                                                                              Assets
                                                                                                   and Other Costs)

186. ADVANCED RECOVERY SYSTEMS, INC. - ROBERT                                         0.00                    14,850.85                                                       0.00                        FA
     GUEST PROPERTIES (u)
187. ADVANCED RECOVERY SYSTEMS, INC. - ROBERT                                         0.00                    14,101.65                                                       0.00                        FA
     GUEST PROPERTIES
188. ADVANCED RECOVERY SYSTEMS, INC. - ROBERT                                         0.00                    17,197.69                                                       0.00                        FA
     GUEST PROPERTIES (u)
189. ADVANCED RECOVERY SYSTEMS, INC. - ROBERT                                         0.00                    14,046.35                                                       0.00                        FA
     GUEST PROPERTIES (u)
190. ADVANCED RECOVERY SYSTEMS, INC. - JASON                                          0.00                     9,032.67                                                       0.00                        FA
     ROBINSON (u)
191. ADVANCED RECOVERY SYSTEMS, INC. - TOM ROSS (u)                                   0.00                     7,893.46                                                       0.00                        FA
192. ADVANCED RECOVERY SYSTEMS, INC. - GEORGE                                         0.00                    84,838.43                                                7,937.50                           FA
     SMITH (u)
193. ADVANCED RECOVERY SYSTEMS, INC. - TIFARI SMITH                                   0.00                         0.00                                                       0.00                        FA
     (u)
194. ADVANCED RECOVERY SYSTEMS, INC. - XAIVIER INC,                                   0.00                         0.00                                                       0.00                        FA
     CHRISTOPH (u)
195. OTHER - EXCESS FUNDS PMT FROM DEKALB CO. TAX                                Unknown                      39,891.23                                               39,891.23                           FA
     COMM. (u)
196. OTHER - CHARLES & MELANIE LUCROY PROOF OF                                        0.00                    28,853.89                                               29,010.95                           FA
     CLAIM #2
197. RENTAL PROPERTY - 3443 West Capitol St., Jackson, MS                             0.00                     1,000.00                                                1,000.00                           FA
     (u)
198. RENTAL PROPERTY - 905 Cooper Rd., Jackson, MS (u)                                0.00                         0.00                                                       0.00                        FA
199. Jack Harrington - Adversary Settlement (u)                                       0.00                    25,000.00                                               25,000.00                           FA
200. Jack Harrington - Judgment (u)                                                   0.00                    35,000.00                                               35,000.00                           FA
201. Apartment Complex - 360 Michigan Ave., Mobile, AL (u)                       Unknown                      20,000.00                                               20,000.00                           FA
202. City Property Taxes - 360 Michigan Ave., Mobile, AL (u)                     Unknown                         52.74                                                        0.00                        FA
203. RENTAL PROPERTY - 2801 Pike, Birmingham, AL (u)                                  0.00                    60,000.00                                               60,000.00                           FA




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                                                                                            FORM 1
                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                         ASSET CASES
                                                                                                                                                                                                             Exhibit 8
Case No:              09-01013                          EE              Judge:        Edward Ellington                             Trustee Name:                      DEREK A. HENDERSON
Case Name:            STEADIVEST, LLC                                                                                              Date Filed (f) or Converted (c):   05/15/2009 (c)
                                                                                                                                   341(a) Meeting Date:               06/10/2009
For Period Ending:    11/28/2017                                                                                                   Claims Bar Date:                   09/08/2009


                                   1                                                 2                             3                            4                          5                             6

                         Asset Description                                         Petition/                 Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                            Unscheduled             (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                                   Values                 Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                              Exemptions,                                                                              Assets
                                                                                                            and Other Costs)

204. Overbid Refund on Property Taxes from Montgomery Co.                                      0.00                      569.34                                                     569.34                         FA
     Revenue (u)
205. RENTAL PROPERTY - 2403 Georgetown Ave., Jackson, MS                                       0.00                     9,000.00                                                9,000.00                           FA
     (u)
206. RENTAL PROPERTY - 5761 Old Canton Rd., Jackson, MS                                        0.00                    47,000.00                                               47,000.00                           FA
     (u)
207. RENTAL PROPERTY - 1247 Adkins Blvd, Jackson, MS (u)                                       0.00                    31,000.00                                               31,000.00                           FA
208. RENTAL PROPERTY - 4730 Kings Highway, Jackson, MS (u)                                     0.00                    40,000.00                                               40,000.00                           FA
209. RENTAL PROPERTY - 1333 17th Way SW, 8300 5th Ave. N.                                      0.00                    20,600.00                                                8,250.00                           FA
     and 780
210. RENTAL PROPERTY - 710 Kirk St., Pensacola, FL                                             0.00                    13,512.58                                               13,500.00                           FA
211. RENTAL PROPERTY - 708 Kirk St., Pensacola, FL                                             0.00                    16,512.58                                               16,500.00                           FA
212. RENTAL PROPERTY - Indian Lake Estates, Indian Lakes                                       0.00                     2,450.00                                                2,450.00                           FA
     Estates, (u)
213. Auctioneer Escrow Funds Forfeited (u)                                                     0.00                     6,562.50                                                6,562.50                           FA
214. Rental Property - 2815 Arrowhead Dr., Birmingham, AL                                 36,145.45                    10,000.00                                               10,000.00                           FA
215. Rental Property - 2704 3rd Place NW, Birmingham, AL                                  44,500.00                    25,000.00                                               25,000.00                           FA
216. EarthLink, LLC Customer (DLT) Refund (u)                                                  0.00                      596.46                                                     596.46                         FA
217. 812 Alden Ave., Birmingham, AL                                                       34,145.45                         0.00                                                       0.00                        FA
218. 1610 42nd St., Birmingham, AL (u)                                                         0.00                         0.00                                                       0.00                        FA
219. Steadivest Properties, LLC (u)                                                            0.00                    63,904.41                                               63,904.41                           FA
220. Parkway Realty Property Management (u)                                                    0.00                     7,500.00                                                6,294.47                           FA
221. Capital Credit Retirement (Portion of a $3.5 million capital (u)                     Unknown                         60.17                                                      60.17                         FA
222. Copyright for Steadivest and Logo                                                    Unknown                           0.00                                                       0.00                        FA
223. 1608 1st St., NW, Birmingham, AL                                                     75,000.00                         0.00                                               35,500.00                           FA
224. 932 Five Mile Rd., Birmingham, AL                                                    78,000.00                         0.00                                               29,500.00                           FA
225. 3236 Victor, Kansas City, MO 64128                                                   53,867.00                         0.00                                                       0.00                        FA


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                                                                             FORM 1
                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                          ASSET CASES
                                                                                                                                                                                              Exhibit 8
Case No:             09-01013                       EE   Judge:        Edward Ellington                             Trustee Name:                      DEREK A. HENDERSON
Case Name:           STEADIVEST, LLC                                                                                Date Filed (f) or Converted (c):   05/15/2009 (c)
                                                                                                                    341(a) Meeting Date:               06/10/2009
For Period Ending:   11/28/2017                                                                                     Claims Bar Date:                   09/08/2009


                                  1                                   2                             3                            4                          5                             6

                         Asset Description                          Petition/                 Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)             Unscheduled             (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                    Values                 Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                               Exemptions,                                                                              Assets
                                                                                             and Other Costs)

226. 3344 Summitt, Kansas City, MO 64111                                   65,000.00                         0.00                                                       0.00                        FA
227. 1515 E. 77th Terrace, Kansas City, MO 64131                           50,000.00                         0.00                                                       0.00                        FA
228. 7609 Brooklyn, Kansas City, MO 64132                                  39,000.00                         0.00                                                       0.00                        FA
229. 1513 9th Avenue, Birmingham, AL                                       69,000.00                         0.00                                                       0.00                        FA
230. 516 17th Terrace NW, Birmingham, AL                                   75,000.00                         0.00                                               31,500.00                           FA
231. 4419 Tracy Avenue, Kansas City, MO 64110                              34,733.00                         0.00               OA                                      0.00                        FA
232. 2805 N. 26th, Kansas City, MO 66104                                   26,615.00                         0.00               OA                                      0.00                        FA
233. 2735 N. 31st, Kansas City, MO 64128                                   24,015.00                         0.00               OA                                      0.00                        FA
234. 2536 Michigan, Kansas City, MO 65127                                  46,586.00                         0.00               OA                                      0.00                        FA
235. 5342 Euclid, Kansas City, MO 64130                                    24,015.00                         0.00               OA                                      0.00                        FA
236. 4000 Belle Fontaine, Kansas City, MO 64130                            36,080.00                         0.00               OA                                      0.00                        FA
237. 4017 Agnes, Kansas City, MO 64130                                     31,816.00                         0.00               OA                                      0.00                        FA
238. 3715 S. Benton, Kansas City, MO 64128                                 29,415.00                         0.00               OA                                      0.00                        FA
239. 3023 Paseo, Kansas City, MO 64109                                     64,913.00                         0.00               OA                                      0.00                        FA
240. 2624 Tracy, Kansas City, MO 64108                                     34,733.00                         0.00               OA                                      0.00                        FA
241. 1111 Park Avenue, Kansas City, MO 64127                               48,000.00                         0.00               OA                                      0.00                        FA
242. 2833 Peery, Kansas City, MO 64127                                     51,000.00                         0.00               OA                                      0.00                        FA
243. 3738 Wayne, Kansas City, Mo 64109                                     38,000.00                         0.00               OA                                      0.00                        FA
244. 7109 Tracy, Kansas City, MO 64131                                     31,000.00                         0.00               OA                                      0.00                        FA
245. 9608 Wallace, Kansas City, MO 64131                                   47,000.00                         0.00               OA                                      0.00                        FA
246. 2906 E 29th Street, Kansas City, MO 64128                             45,000.00                         0.00               OA                                      0.00                        FA
247. 3727 Flora, Kansas City, MO 64109                                     34,000.00                         0.00               OA                                      0.00                        FA
248. 4429 Wyoming, Kansas City, MO 64111                                   51,500.00                         0.00               OA                                      0.00                        FA
249. 5429 South Benton, Kansas City, MO 64130                              30,000.00                         0.00               OA                                      0.00                        FA



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                                                                                FORM 1
                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                             ASSET CASES
                                                                                                                                                                                                 Exhibit 8
Case No:              09-01013                      EE      Judge:        Edward Ellington                             Trustee Name:                      DEREK A. HENDERSON
Case Name:            STEADIVEST, LLC                                                                                  Date Filed (f) or Converted (c):   05/15/2009 (c)
                                                                                                                       341(a) Meeting Date:               06/10/2009
For Period Ending:    11/28/2017                                                                                       Claims Bar Date:                   09/08/2009


                                   1                                     2                             3                            4                          5                             6

                         Asset Description                             Petition/                 Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                Unscheduled             (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                       Values                 Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                  Exemptions,                                                                              Assets
                                                                                                and Other Costs)

250. 5431 Garfield, Kansas City, MO 64130                                     47,000.00                         0.00               OA                                      0.00                        FA
251. Trustee's Account - Steadivest Development                              123,342.31                         0.00                                                       0.00                        FA
252. Trustee's Account - Steadivest Capital                                  209,336.66                         0.00                                                       0.00                        FA
253. Trustee Account - MTW Investment                                          6,189.61                         0.00                                                       0.00                        FA
254. Mortgages - Steadivest Capital                                          894,107.16                         0.00                                                       0.00                        FA
255. Mortgages - MTW Investments                                           1,927,530.01                         0.00                                                       0.00                        FA
256. Lawsuit v. Adcock, Harrington & Selectbuilt                              Unknown                           0.00                                                       0.00                        FA
257. Rental Property - 806 Newell (u)                                              0.00                         N/A                                                     590.50                         FA
258. Rental Property - 3604 Holland (u)                                            0.00                         N/A                                                     590.50                         FA
259. Rental Property - 133 Pinelawn and 1510 Woody (u)                             0.00                         N/A                                                     628.20                         FA
260. Rental Property - 139 Woody (u)                                          Unknown                        229.92                                                     229.92                         FA
999 Post-Petition Interest Deposits (u)                                       Unknown                           N/A                                                      24.14                         FA
 6.
999 Post-Petition Interest Deposits (u)                                       Unknown                           N/A                                                     842.95                         FA
 7.
999 Post-Petition Interest Deposits (u)                                       Unknown                           N/A                                                     201.01                         FA
 8.
INT. Post-Petition Interest Deposits (u)                                      Unknown                           N/A                                                      10.24                         FA
INT. Void (u)                                                                      0.00                         N/A                                                        0.00                        FA
INT. Void (u)                                                                      0.00                         N/A                                                        0.00                        FA
INT. Void (u)                                                                      0.00                         N/A                                                        0.00                        FA
INT. Void (u)                                                                      0.00                         N/A                                                        0.00                        FA
INT. Void (u)                                                                      0.00                         N/A                                                        0.00                        FA


                                                                                                                                                                        Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                     $22,871,024.17                $9,593,284.19                                           $3,152,091.61                          $0.00


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                                                                                                                                                                              (Total Dollar Amount in Column 6)


Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:
                                                                                                                                                                                                   Exhibit 8

09/21/17 - Distribution checks written 6/22/17. There are 2 outstanding checks that have not cleared the bank. The recipients have been contacted and are trying to get the
checks deposited in the next few days.
10/13/17 - One of the outstanding checks cleared the bank.
10/16/17 - Talked to recipient of other outstanding check. The check has apparently been lost. Payment stopped and check reissued.
10/18/17 - Reissued check mailed to creditor.



RE PROP #              1   --   To close account
RE PROP #              2   --   To close account
RE PROP #              3   --   To close account
RE PROP #            16    --   To close account
RE PROP #            17    --   To close account
RE PROP #            18    --   To close account
RE PROP #            19    --   To close account
RE PROP #            20    --   June, 2009
RE PROP #            90    --   This asset is a duplicate of Asset No. 132.
RE PROP #            96    --   See Asset No. 210 and 211
RE PROP #           101    --   To close account
RE PROP #           102    --   To close account
RE PROP #           106    --   This asset is a duplicate of Asset No. 130.
RE PROP #           114    --   Chalmette Redevelopment Partners, LLC owed money to Steadivest Capital f/k/a TFS
                                for a loan. This is the only payment to be received on this loan.
RE PROP #           115    --   Chalmette Redevelopment Partners, LLC owed money to Steadivest Capital f/k/a TFS
                                for a loan. This is the only payment to be received on this loan.
RE PROP #           119    --   To close account
RE PROP #           122    --   THIS IS A DUPLICATE OF ASSET NO. 100
RE PROP #           202    --   Pro-rata taxes from 11/13/12 to 09/30/13 paid to seller by buyer for apartment complex
                                at 360 Michigan Ave., Mobile, AL
RE PROP #           204    --   Refund of Property Taxes on 1925, 1927, and 1929 James Avenue, Montgomery, AL
                                36107
RE PROP #           209    --   These properties were listed on the schedules, but they were sold all together as one
                                property.
RE PROP #           210    --   708 Kirk and 710 Kirk were listed together on the schedules, but were sold separately.
RE PROP #           211    --   708 Kirk and 710 Kirk were listed together on the schedules, but were sold separately.
RE PROP #           213    --   1/2 of escrow funds forfeited on 6 Alabama properties
RE PROP #          9999    --   1/2 of forfeited escrow funds collected on properties: 663 Johnston Ave, Mobile, AL;
                                1513 9th Ave. W., Medfield, AL;300 83rd St., Birmingham, AL; 5517 Ave. O,
                                Birmingham, AL; 1645 Fulter Ave., Birmingham, AL; and 2704 3rd Place NW,
                                Birmingham, AL
RE PROP #          9999    --   1/2 of escrow funds forfeited on 6 Alabama properties



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Initial Projected Date of Final Report (TFR): 12/31/2010   Current Projected Date of Final Report (TFR): 03/31/2017


                                                                                                                       Exhibit 8




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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                           Trustee Name: DEREK A. HENDERSON                                           Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                          Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX9176
                                                                                                                                          Money Market Account
  Taxpayer ID No: XX-XXX5425                                                                             Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                   5                    6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                            ($)
   06/01/09             1         STEADIVEST RESOURCES LLC                  Balance in bank account                              1229-000                 $4,444.84                                  $4,444.84
                                  DEBTOR IN POSSESSION CASE # 09-
                                  01013
                                  4 COUNTRY PLACE
                                  PEARL, MS 39208
   06/01/09             2         STEADIVEST LLC                            Balance in bank account                              1229-000                 $2,906.55                                  $7,351.39
                                  DEBTOR IN POSSESSION CASE # 09-
                                  01013
                                  4 COUNTRY PLACE
                                  PEARL, MS 39208
   06/01/09             3         STEADIVEST, LLC                           Balance in bank account                              1229-000                    $475.56                                 $7,826.95
                                  4 COUNTRY PLACE
                                  PEARL, MS 39208
   06/30/09            INT        UNION BANK OF CALIFORNIA                  Interest Rate 0.150                                  1270-000                      $0.89                                 $7,827.84

   07/31/09            INT        UNION BANK OF CALIFORNIA                  Interest Rate 0.150                                  1270-000                      $0.99                                 $7,828.83

   08/31/09            INT        UNION BANK OF CALIFORNIA                  Interest Rate 0.150                                  1270-000                      $0.99                                 $7,829.82

   09/30/09            INT        UNION BANK OF CALIFORNIA                  Interest Rate 0.150                                  1270-000                      $0.96                                 $7,830.78

   10/30/09            INT        UNION BANK OF CALIFORNIA                  Interest Rate 0.150                                  1270-000                      $0.96                                 $7,831.74

   11/30/09            INT        UNION BANK OF CALIFORNIA                  Interest Rate 0.150                                  1270-000                      $0.99                                 $7,832.73

   12/10/09            14         INVESTLINC/GK PROPERTIES FUND II          Interest Payment                                     1223-000                    $200.00                                 $8,032.73
                                  C/O GK DEVELOPMENT
                                  303 E. MAIN STREET, SUITE 201
                                  BARRINGTON, IL 60010
   12/31/09            INT        UNION BANK OF CALIFORNIA                  Interest Rate 0.150                                  1270-000                      $1.01                                 $8,033.74

   01/08/10                       Transfer to Acct# XXXXXX9184              Transfer of Funds                                    9999-000                                         $847.17            $7,186.57

   01/29/10            INT        UNION BANK OF CALIFORNIA                  Interest Rate 0.050                                  1270-000                      $0.34                                 $7,186.91

   02/26/10            INT        UNION BANK OF CALIFORNIA                  Interest Rate 0.050                                  1270-000                      $0.25                                 $7,187.16



                                                                                   Page Subtotals:                                                        $8,034.33               $847.17
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                         Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                          Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX9176
                                                                                                                                          Money Market Account
  Taxpayer ID No: XX-XXX5425                                                                             Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                   5                   6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                          ($)
   03/04/10                       Transfer to Acct# XXXXXX9184              Transfer of Funds                                     9999-000                                         $7.47            $7,179.69

   03/31/10            INT        UNION BANK OF CALIFORNIA                  Interest Rate 0.050                                   1270-000                    $0.30                                 $7,179.99

   04/30/10            INT        UNION BANK OF CALIFORNIA                  Interest Rate 0.050                                   1270-000                    $0.27                                 $7,180.26

   05/28/10            INT        UNION BANK OF CALIFORNIA                  Interest Rate 0.050                                   1270-000                    $0.25                                 $7,180.51

   06/30/10            INT        UNION BANK OF CALIFORNIA                  Interest Rate 0.050                                   1270-000                    $0.30                                 $7,180.81

   07/30/10            INT        UNION BANK OF CALIFORNIA                  Interest Rate 0.050                                   1270-000                    $0.27                                 $7,181.08

   08/31/10            INT        UNION BANK OF CALIFORNIA                  Interest Rate 0.050                                   1270-000                    $0.29                                 $7,181.37

   09/30/10            INT        UNION BANK OF CALIFORNIA                  Interest Rate 0.050                                   1270-000                    $0.27                                 $7,181.64

   10/29/10            INT        UNION BANK OF CALIFORNIA                  Interest Rate 0.050                                   1270-000                    $0.26                                 $7,181.90

   11/30/10            INT        UNION BANK OF CALIFORNIA                  Interest Rate 0.050                                   1270-000                    $0.29                                 $7,182.19

   12/31/10            INT        UNION BANK OF CALIFORNIA                  Interest Rate 0.050                                   1270-000                    $0.28                                 $7,182.47

   01/28/11                       Transfer to Acct# XXXXXX9184              Transfer of Funds                                     9999-000                                       $502.25            $6,680.22

   01/31/11            INT        UNION BANK OF CALIFORNIA                  Interest Rate 0.000                                   1270-000                    $0.08                                 $6,680.30

   04/11/11                       Transfer to Acct# XXXXXX9184              Transfer of Funds                                     9999-000                                         $6.45            $6,673.85

   06/13/11            301        DEREK A. HENDERSON                        Attorney for Trustee Fees and                                                                        $518.36            $6,155.49
                                  111 EAST CAPITOL ST., SUITE 455           Expenses per Court Order
                                  JACKSON, MS 39201                         06/07/11
                                  DEREK A. HENDERSON                                                                 ($499.01)    3110-000

                                  DEREK A. HENDERSON                                                                  ($19.35)    3120-000




                                                                                   Page Subtotals:                                                            $2.86           $1,034.53
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                              Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX9176
                                                                                                                                           Money Market Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   06/20/11            302        ROBERT A BYRD                             Attorney for Trustee Fees per                          3210-000                                        $76.91            $6,078.58
                                  BYRD & WISER                              Court Order 06/17/11
                                  P.O. BOX 1939
                                  BILOXI, MS 39533
   09/26/11                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                                2600-000                                        $14.75            $6,063.83

   10/25/11                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                                2600-000                                        $14.75            $6,049.08

   11/02/11                       Transfer to Acct# XXXXXX9184              Transfer of Funds                                      9999-000                                    $6,049.08                 $0.00



                                                                                                             COLUMN TOTALS                                 $8,037.19           $8,037.19
                                                                                                                   Less: Bank Transfers/CD's                   $0.00           $7,412.42
                                                                                                             Subtotal                                      $8,037.19              $624.77
                                                                                                                   Less: Payments to Debtors                   $0.00                $0.00
                                                                                                             Net                                           $8,037.19              $624.77




                                                                                   Page Subtotals:                                                             $0.00           $6,155.49
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                           Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                    6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   01/08/10                       Transfer from Acct# XXXXXX9176            Transfer of Funds                                     9999-000                    $847.17                                    $847.17

   01/08/10           1001        DEREK A. HENDERSON                        Attorney for Trustee Fees per                         3110-000                                         $847.17                 $0.00
                                  111 East Capitol, Suite 455               Court Order 01/07/10
                                  Jackson, MS 39201
   03/04/10                       Transfer from Acct# XXXXXX9176            Transfer of Funds                                     9999-000                      $7.47                                      $7.47

   03/04/10           1002        DEREK A. HENDERSON                        Bond Premium per Court Order                          2300-000                                           $7.47                 $0.00
                                  111 East Capitol, Suite 455               03/03/10
                                  Jackson, MS 39201
   01/28/11                       Transfer from Acct# XXXXXX9176            Transfer of Funds                                     9999-000                    $502.25                                    $502.25

   01/28/11           1003        DEREK A. HENDERSON                        Attorney for Trustee Fees per                         3110-000                                         $502.25                 $0.00
                                  111 East Capitol, Suite 455               Court Order 01/28/11
                                  Jackson, MS 39201
   04/11/11                       Transfer from Acct# XXXXXX9176            Transfer of Funds                                     9999-000                      $6.45                                      $6.45

   04/11/11           1004        DEREK A. HENDERSON                        Bond Payment per Court Order                          2300-000                                           $6.45                 $0.00
                                  111 EAST CAPITOL ST., SUITE 455           03/16/11
                                  JACKSON, MS 39201
   11/02/11                       Transfer from Acct# XXXXXX9176            Transfer of Funds                                     9999-000                 $6,049.08                                  $6,049.08

   12/27/11                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                               2600-000                                          $12.29            $6,036.79

   01/13/12                       Estate of STEADIVEST, LLC 09-01013        Transfer from Steadivest                              9999-000               $74,887.75                                 $80,924.54
                                                                            Development, LLC 09-01823-
                                                                            EE
   01/13/12                       Estate of STEADIVEST, LLC 09-01013        Transfer from Steadivest                              9999-000              $471,736.59                                $552,661.13
                                                                            Capital, LLC - 09-01824-EE
   01/13/12                       Estate of STEADIVEST, LLC 09-01013        Transfer from MTW Investment                          9999-000               $78,940.45                                $631,601.58
                                                                            Financing, LLC - 09-01825-EE
   01/25/12                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                               2600-000                                          $14.75         $631,586.83

   01/27/12           1005        HOLADAY LAW FIRM                          Per Court Order 01/12/12                              3991-000                                     $50,000.00          $581,586.83
                                  586 LAKELAND EAST DRIVE, SUITE C
                                  FLOWOOD, MS 39232


                                                                                   Page Subtotals:                                                      $632,977.21            $51,390.38
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                               Trustee Name: DEREK A. HENDERSON                                         Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                             Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX9184
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX5425                                                                             Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                    6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction                  Uniform Tran.     Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                          ($)
   01/27/12           1006        WATKINS & EAGER, PLLC                     Per Court Order 01/12/12                                 3991-000                                   $50,000.00          $531,586.83
                                  PO BOX 650
                                  JACKSON, MS 39205-0650
   01/27/12           1007        The InvestLinc/TFS Income Fund LLC        Per Court Order 01/12/12                                 7100-000                                  $156,040.00          $375,546.83
                                  Paul M Ellis Esq
                                  Butler Snow
                                  PO Box 22567
                                  Jackson, MS 39225-2567
   01/30/12           1008        DEREK A. HENDERSON                        Attorney for Trustee Fees and                                                                       $32,361.35          $343,185.48
                                  1765-A LELIA DRIVE, SUITE 103             Expenses per Court Order
                                  JACKSON, MS 39216                         01/30/12.
                                  DEREK A. HENDERSON                                                                 ($30,212.00)    3110-000

                                  DEREK A. HENDERSON                                                                  ($2,149.35)    3120-000

   02/09/12           1009        DEREK A. HENDERSON                        Bond Premium per Court Order                             2300-000                                         $6.89         $343,178.59
                                  1765-A LELIA DRIVE, SUITE 103             02/09/12
                                  JACKSON, MS 39216
   02/15/12                       ADVANCED RECOVERY SYSTEMS,                Accounts Receivable - George                                                       $157.50                              $343,336.09
                                  INC.                                      Smith

                                                                            Gross Receipts                               $262.50

                                  ADVANCED RECOVERY SYSTEMS,                                                           ($105.00)     2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                            $262.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   02/27/12                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                                  2600-000                                       $658.82         $342,677.27

   03/12/12                       ADVANCED RECOVERY SYSTEMS,                Accounts Receivable - George                                                       $315.00                              $342,992.27
                                  INC.                                      Smith

                                                                            Gross Receipts                               $525.00




                                                                                   Page Subtotals:                                                             $472.50         $239,067.06
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                               Trustee Name: DEREK A. HENDERSON                                       Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                             Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX9184
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX5425                                                                             Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                             4                                                      5                  6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction                  Uniform Tran.     Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                        ($)
                                  ADVANCED RECOVERY SYSTEMS,                                                           ($210.00)     2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                            $525.00     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   03/26/12                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                                  2600-000                                     $845.66         $342,146.61

   04/25/12                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                                  2600-000                                     $840.74         $341,305.87

   05/07/12                       RICHARD M. LINGLE, PLLC                                                                                                 $45,879.86                              $387,185.73
                                  1400 LAKEOVER RD., STE. 110               Overpayment from Richard
                                  JACKSON, MS 39213                         Lingle in the amount of
                                                                            $878.68.
                                                                            Gross Receipts                            $71,200.00

                                  TAYLOR AUCTION & REALTY, INC.                                                       ($1,702.00)    3620-000
                                  15229 HWY. 51 NORTH
                                  GRENADA, MS 38901
                                  HINDS COUNTY TAX COLLECTOR                                                          ($1,370.35)    2820-000
                                  P.O. BOX 1727
                                  JACKSON, MS 39215-1727
                                  HINDS COUNTY TAX COLLECTOR                                                          ($7,526.47)    2820-000
                                  P.O. BOX 1727
                                  JACKSON, MS 39215-1727
                                  PLLC RICHARD M. LINGLE                                                             ($14,721.32)    3210-000
                                  1400 LAKEOVER ROAD, STE. 110
                                  JACKSON, MS 39213
                       125                                                  LIQUIDATED CLAIMS - 321                   $10,250.00     1110-000
                                                                            Broadview, Jackson, MS
                       62                                                   RENTAL PROPERTY - 2913                       $600.00     1110-000
                                                                            Greenview, Jackson, MS
                       48                                                   RENTAL PROPERTY - 318                      $2,700.00     1110-000
                                                                            Fairhill, Jackson, MS
                       37                                                   RENTAL PROPERTY - 114                      $1,300.00     1110-000
                                                                            Mason, Jackson, MS


                                                                                  Page Subtotals:                                                         $45,879.86           $1,686.40
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                             Trustee Name: DEREK A. HENDERSON                                         Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                            Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX9184
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX5425                                                                             Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                   5                    6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction                Uniform Tran.     Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                          ($)
                       49                                                   RENTAL PROPERTY - 1027                    $1,000.00    1110-000
                                                                            Walnut, Jackson, MS
                       63                                                   RENTAL PROPERTY - 303                    $11,250.00    1110-000
                                                                            Wacaster, Jackson, MS
                       67                                                   RENTAL PROPERTY - 375                     $1,500.00    1110-000
                                                                            Mason, Jackson, MS
                       73                                                   RENTAL PROPERTY - 632 W.                 $17,750.00    1110-000
                                                                            Hillsdale, Jackson, MS
                       75                                                   RENTAL PROPERTY - 704                    $10,250.00    1110-000
                                                                            Westmont, Jackson, MS
                       79                                                   RENTAL PROPERTY - 2857                    $3,700.00    1110-000
                                                                            Greenwood, Jackson, MS
                       197                                                  RENTAL PROPERTY - 3443                    $1,000.00    1110-000
                                                                            West Capitol St., Jackson, MS
                       137                                                  LIQUIDATED CLAIMS - 3637                  $8,400.00    1110-000
                                                                            Warner, Jackson, MS
                       136                                                  LIQUIDATED CLAIMS - 3228                  $1,500.00    1110-000
                                                                            Whitten, Jackson, MS
   05/07/12                       RICHARD M. LINGLE, PLLC                   Refund of overpayment of                               3210-000                                   ($2,600.00)         $389,785.73
                                  1400 LAKEOVER ROAD, STE. 110              attorney's fees
                                  JACKSON, MS 39213
   05/07/12           1010        RICHARD M. LINGLE, PLLC                   Overpayment of funds from                              8500-002                                       $878.68         $388,907.05
                                  1400 LAKEOVER ROAD, STE. 110              sale of 13 Steadivest, LLC
                                  JACKSON, MS 39213                         properties.
   05/16/12                       ADVANCED RECOVERY SYSTEMS,                Accounts Receivable - George                                                     $157.50                              $389,064.55
                                  INC.                                      Smith
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                                                                            Gross Receipts                             $262.50

                                  ADVANCED RECOVERY SYSTEMS,                                                          ($105.00)    2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                          $262.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH

                                                                                   Page Subtotals:                                                           $157.50          ($1,721.32)
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                           Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                           Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX9184
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                    6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   05/25/12                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                               2600-000                                         $838.28         $388,226.27

   06/25/12                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                               2600-000                                         $929.24         $387,297.03

   07/09/12           1011        Lefoldt & Co., P.A.                       Accountant for Trustee Fees                           3410-000                                      $8,360.00          $378,937.03
                                  P.O. Box 2848                             per Court Order 07/09/12
                                  Ridgeland, MS 39158
   07/23/12                       ADVANCED RECOVERY SYSTEMS,                Accounts Receivable - George                                                      $315.00                              $379,252.03
                                  INC.                                      Smith
                                  972 HIGH ST.
                                  JACKSON, MS 39202
                                                                            Gross Receipts                            $525.00

                                  ADVANCED RECOVERY SYSTEMS,                                                         ($210.00)    2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                         $525.00     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   07/25/12                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                               2600-000                                         $953.82         $378,298.21

   08/15/12                       ADVANCED RECOVERY SYSTEMS,                Accounts Receivable - George                                                      $157.50                              $378,455.71
                                  INC.                                      Smith
                                  972 HIGH ST.
                                  JACKSON, MS 39202
                                                                            Gross Receipts                            $262.50

                                  ADVANCED RECOVERY SYSTEMS,                                                         ($105.00)    2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                         $262.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   08/23/12                       RICHARD M. LINGLE, PLLC                   Proceeds from On-line Auction                                               $337,143.34                                $715,599.05
                                  1400 LAKEOVER RD., STE. 110
                                  JACKSON, MS 39213


                                                                                   Page Subtotals:                                                      $337,615.84            $11,081.34
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                               Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                             Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX9184
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX5425                                                                             Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction                  Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                         ($)
                                                                            Gross Receipts                           $425,250.00

                                  HINDS COUNTY TAX COLLECTOR                County Taxes                             ($13,063.44)    2820-000
                                  P.O. BOX 1727
                                  JACKSON, MS 39215-1727
                                  HINDS COUNTY TAX COLLECTOR                Ad Valorem Taxes                         ($23,460.72)    2820-000
                                  P.O. BOX 1727
                                  JACKSON, MS 39215-1727
                                  PLLC RICHARD M. LINGLE                    Attorney Fees                            ($33,500.00)    3210-000
                                  1400 LAKEOVER ROAD, STE. 110
                                  JACKSON, MS 39213
                                  TAYLOR AUCTION & REALTY, INC.             Auctioneer Fees                          ($18,082.50)    3610-000
                                  15229 HWY. 51 NORTH
                                  GRENADA, MS 38901
                       104                                                  LIQUIDATED CLAIMS - 2401                   $6,750.00     1122-000
                                                                            Coronet, Jackson, MS
                       105                                                  LIQUIDATED CLAIMS - 3032                   $8,000.00     1122-000
                                                                            Woodbine, Jackson, MS
                       74                                                   RENTAL PROPERTY - 665                     $10,000.00     1122-000
                                                                            Cooper, Jackson, MS
                       78                                                   RENTAL PROPERTY - 158                     $13,000.00     1122-000
                                                                            Pine Ridge, Jackson, MS
                       46                                                   RENTAL PROPERTY - 2632                    $16,500.00     1122-000
                                                                            Shannon, Jackson, MS
                       52                                                   RENTAL PROPERTY - 139                      $9,500.00     1110-000
                                                                            Woody, Jackson, MS
                       47                                                   RENTAL PROPERTY - 2751                    $10,000.00     1122-000
                                                                            Brookwood, Jackson, MS
                       51                                                   RENTAL PROPERTY - 133                     $14,000.00     1110-000
                                                                            Pinelawn, Jackson, MS
                       55                                                   RENTAL PROPERTY - 1515                   $300,000.00     1122-000
                                                                            First Avenue, Jackson, MS
                       140                                                  LIQUIDATED CLAIMS - 1112                  $20,500.00     1110-000
                                                                            Crestview, Jackson, MS
                       142                                                  LIQUIDATED CLAIMS - 311                   $17,000.00     1122-000
                                                                            Knob Hill, Jackson, MS


                                                                                   Page Subtotals:                                                              $0.00                $0.00
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                               Trustee Name: DEREK A. HENDERSON                                       Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                             Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                  6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                        ($)
   08/23/12           1012        TAYLOR AUCTION & REALTY, INC.             Expenses for Phase II Online                             3620-000                                  $3,365.46          $712,233.59
                                  15229 HWY. 51 NORTH                       Sale per Court Order 05/10/12
                                  GRENADA, MS 38901
   08/27/12                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                                  2600-000                                     $936.61         $711,296.98

   08/30/12                       RICHARD M. LINGLE, PLLC                   Proceeds from online auction                                                  $72,504.99                              $783,801.97
                                  1400 LAKEOVER RD., STE. 110
                                  JACKSON, MS 39213
                                                                            Gross Receipts                            $88,500.00

                                  HINDS COUNTY TAX COLLECTOR                County Taxes                              ($2,159.01)    2820-000
                                  P.O. BOX 1727
                                  JACKSON, MS 39215-1727
                                  HINDS COUNTY TAX COLLECTOR                Ad Valorem Taxes                          ($3,951.00)    2820-000
                                  P.O. BOX 1727
                                  JACKSON, MS 39215-1727
                                  HINDS COUNTY TAX COLLECTOR                Estimated Property Taxes                  ($6,000.00)    2820-000
                                  P.O. BOX 1727
                                  JACKSON, MS 39215-1727
                                  PLLC RICHARD M. LINGLE                    Attorney's Fees                           ($3,000.00)    3110-000
                                  1400 LAKEOVER ROAD, STE. 110
                                  JACKSON, MS 39213
                                  TAYLOR AUCTION & REALTY, INC.             Auctioneer Fees                            ($885.00)     3610-000
                                  15229 HWY. 51 NORTH
                                  GRENADA, MS 38901
                       80                                                   RENTAL PROPERTY - 942                     $33,500.00     1122-000
                                                                            Branch St, Jackson, MS
                       40                                                   RENTAL PROPERTY - 2741                    $25,500.00     1122-000
                                                                            Revere, Jackson, MS
                       42                                                   RENTAL PROPERTY - 3146                    $29,500.00     1122-000
                                                                            Adrienne, Jackson, MS
   08/30/12                       RICHARD M. LINGLE PLLC                    Overpayment of Benny                                                                             ($18,967.50)         $802,769.47
                                  1400 LAKEOVER ROAD, STE. 110              Taylor/Taylor Auction fees
                                  JACKSON, MS 39213
                                  TAYLOR AUCTION & REALTY, INC.                                                       $18,082.50     3610-000

                                  TAYLOR AUCTION & REALTY, INC.                                                          $885.00     3610-000


                                                                                   Page Subtotals:                                                        $72,504.99        ($14,665.43)
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                               Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                              Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX5425                                                                               Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                              Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                    6                    7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)       Disbursements ($)   Account/CD Balance
                    Reference                                                                                                           Code                                                         ($)
   09/05/12                       MCDONALD FLEMING MOORHEAD                 Sale of 5581 Raughton Rd.,                                                    $98,787.45                               $901,556.92
                                  25 WEST GOVERNMENT STREET                 Pensacola, FL
                                  PENSACOLA, FL 32502
                                                                            Gross Receipts                            $101,500.00

                                  McDonald Fleming Moorhead                 Closing Costs from sale of                ($1,418.00)    2500-000
                                  25 West Government Street                 property
                                  Pensacola, FL 32502
                                  McDonald Fleming Moorhead                 Taxes from Jan. 1, 2012 thru              ($1,294.55)    2820-000
                                  25 West Government Street                 Aug. 29, 2012
                                  Pensacola, FL 32502
                       93                                                   RENTAL PROPERTY - 979                     $101,500.00    1110-000
                                                                            Clearview St., Milton, FL 32583
   09/05/12           1013        RICHARD M. LINGLE, PLLC                   Attorney's Fees per Court                                3210-000                                    $4,000.00         $897,556.92
                                  1400 LAKEOVER ROAD, STE. 110              Order 03/23/12
                                  JACKSON, MS 39213                         Fees due for (4) properties
                                                                            where buyer failed to close (4
                                                                            @ $1,000.00 each)
   09/19/12                       ADVANCED RECOVERY SYSTEMS,                Accounts Receivable - George                                                       $157.50                             $897,714.42
                                  INC.                                      Smith
                                  972 HIGH ST.
                                  JACKSON, MS 39202
                                                                            Gross Receipts                               $262.50

                                  ADVANCED RECOVERY SYSTEMS,                Amount due Agency                           ($105.00)    2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                            $262.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   09/25/12                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                                  2600-000                                    $1,042.32         $896,672.10

   10/01/12            124        AMERICAN EMPIRE SURPLUS LINES             Ins. pmt. for 2 Georgetown                               1110-000             $41,386.86                               $938,058.96
                                  INSURANCE COMPANY                         houses that burned
                                  301 E. FOURTH STREET, 25N
                                  CINCINNATI, OH 45202



                                                                                   Page Subtotals:                                                       $140,331.81             $5,042.32
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                               Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                             Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                              3                                             4                                                     5                    6                    7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)       Disbursements ($)   Account/CD Balance
                    Reference                                                                                                           Code                                                         ($)
   10/17/12                       ADVANCED RECOVERY SYSTEMS,                Accounts Receivable - George                                                       $157.50                             $938,216.46
                                  INC.                                      Smith
                                  972 HIGH ST.
                                  JACKSON, MS 39202
                                                                            Gross Receipts                               $262.50

                                  ADVANCED RECOVERY SYSTEMS,                Amount due to Agency                       ($105.00)     2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                            $262.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   10/24/12           1014        The InvestLinc/TFS Income Fund, LLC       Per Court Order 10/23/12                                 4110-000                                  $128,783.21         $809,433.25
                                  c/o Stephen W. Rosenblatt
                                  Butler, Snow, O'Mara, Stevens &
                                  Cannada, PLLC
                                  1020 Highland Colony Parkway, Suite
                                  1400
                                  Ridgeland, MS 39157
   10/25/12                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                                  2600-000                                    $2,165.76         $807,267.49

   11/26/12            199        ROBISON & HOLMES, PLLC                    Adversary Settlement - Jack                              1249-000             $25,000.00                               $832,267.49
                                  P.O. DRAWER 1128                          Harrington
                                  MCCOMB, MS 39649-1128
   11/26/12                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                                  2600-000                                    $1,173.73         $831,093.76

   11/28/12                       SURETY LAND TITLE, INC.                   Sale of 360 Michigan Ave.,                                                    $17,363.43                               $848,457.19
                                  5909 AIRPORT BLVD.                        Mobile, AL 36606
                                  MOBILE, AL 36608
                                                                            Gross Receipts                            $20,000.00

                                  Surety Land Title, Inc. - Grelot          Commission                                ($1,200.00)    3510-000
                                  6721 Grelot Road, Suite B
                                  Mobile, AL 36695
                                  Attorney Chase R. Laurendine              Document preparation                       ($100.00)     2500-000




                                                                                   Page Subtotals:                                                        $42,520.93           $132,122.70
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                               Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                             Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                               3                                            4                                                     5                    6                    7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)       Disbursements ($)   Account/CD Balance
                    Reference                                                                                                           Code                                                         ($)
                                  Surety Land Title, Inc. - Grelot          Title Insurance                            ($250.00)     2500-000
                                  6721 Grelot Road, Suite B
                                  Mobile, AL 36695
                                  Surety Land Title, Inc. - Grelot          Escrow Fee                                  ($40.00)     2500-000
                                  6721 Grelot Road, Suite B
                                  Mobile, AL 36695
                                  Knockout Pest and Termite                 Pest Inspection                            ($180.00)     2500-000

                                  Revenue Commissioner Marilyn E. Wood 2012 Property Taxes #1803882                    ($668.02)     2820-000

                                  Payoff/The City of Mobile                 Payoff/The City of Mobile                  ($179.63)     2500-000

                                  County Property Taxes                     County Property Taxes                       ($71.66)     2820-000
                                                                            10/01/12 to 11/13/12
                                  City Property Taxes                                                                     $52.74     2820-000

                       201                                                  Apartment Complex - 360                   $20,000.00     1210-000
                                                                            Michigan Ave., Mobile, AL
   12/13/12           1015        ROBERT A. BYRD                            Attorney for Trustee Fees and                                                                        $7,325.00         $841,132.19
                                  BYRD & WISER                              Expenses per Court Order
                                  P.O. BOX 1939                             12/11/12
                                  BILOXI, MS 39533
                                  ROBERT A. BYRD                            Attorney for Trustee Fees                 ($7,150.00)    3210-000

                                  ROBERT A. BYRD                            Attorney for Trustee Expenses              ($175.00)     3220-000

   12/14/12                       ADVANCED RECOVERY SYSTEMS,                Accounts Receivable - George                                                       $157.50                             $841,289.69
                                  INC.                                      Smith

                                                                            Gross Receipts                               $262.50

                                  ADVANCED RECOVERY SYSTEMS,                                                           ($105.00)     2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                            $262.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH

                                                                                   Page Subtotals:                                                             $157.50           $7,325.00
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                                 Trustee Name: DEREK A. HENDERSON                                         Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                               Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX9184
                                                                                                                                              Checking Account
  Taxpayer ID No: XX-XXX5425                                                                               Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                              Separate Bond (if applicable):


       1                2                             3                                               4                                                      5                    6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction                  Uniform Tran.     Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                             Code                                                          ($)
   12/17/12           1016        Chris B. Savell, CPA                      Accountant for Trustee Fees                                3410-000                                    $1,260.00          $840,029.69
                                  Lefoldt & Co., P.A.                       per Court Order 12/17/12
                                  P.O. Box 2848
                                  Ridgeland, MS 39158
   12/26/12           1017        DEREK A. HENDERSON                        Attorney for Trustee Fees and                                                                        $100,792.38          $739,237.31
                                  1765-A LELIA DRIVE, SUITE 103             Expenses per Court Order
                                  JACKSON, MS 39216                         12/26/12
                                  DEREK A. HENDERSON                        Attorney for Trustee Fees                  ($93,632.50)    3110-000

                                  DEREK A. HENDERSON                        Attorney for Trustee Expenses               ($7,159.88)    3120-000

   12/26/12                       Union Bank                                BANK SERVICES FEE (CHK)                                    2600-000                                       $997.82         $738,239.49

   01/21/13                       ADVANCED RECOVERY SYSTEMS,                Accounts Receivable - George                                                         $315.00                              $738,554.49
                                  INC.                                      Smith
                                  972 HIGH ST.
                                  JACKSON, MS 39202
                                                                            Gross Receipts                                 $525.00

                                  ADVANCED RECOVERY SYSTEMS,                Collection Fee                               ($210.00)     2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                              $525.00     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   01/25/13                       Union Bank                                BANK SERVICES FEE (CHK)                                    2600-000                                    $1,056.18          $737,498.31

   02/20/13           1018        Terry Bailey                              (Interim distribution to Claim 3,                          7100-000                                   $10,902.26          $726,596.05
                                  740 Katherine Dr.                         representing a Payment of
                                  Canton, MS 39046                          2.59% per court order.)
   02/20/13           1019        Grant or Mason Gray                       (Interim distribution to Claim 8,                          7100-000                                       $482.30         $726,113.75
                                  312 Airport Rd.                           representing a Payment of
                                  Pearl, MS 39208                           2.59% per court order.)
   02/20/13           1020        Grant Gray                                (Interim distribution to Claim 9,                          7100-000                                       $852.76         $725,260.99
                                  312 Airport Rd.                           representing a Payment of
                                  Pearl, MS 39208                           2.59% per court order.)



                                                                                    Page Subtotals:                                                              $315.00         $116,343.70
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   02/20/13           1021        Rosalyn Gray                              (Interim distribution to Claim                        7100-000                                     $1,057.11          $724,203.88
                                  187 Thomasville Rd.                       10, representing a Payment of
                                  Florence, MS 39073                        2.59% per court order.)
   02/20/13           1022        Brian S. Smith                            (Interim distribution to Claim                        7100-000                                        $456.92         $723,746.96
                                  3008 Spyglass Hill Rd                     16, representing a Payment of
                                  Edmond, OK 73034                          2.59% per court order.)
   02/20/13           1023        John D. Smith                             (Interim distribution to Claim                        7100-000                                     $3,986.66          $719,760.30
                                  309 Noble Dr.                             24, representing a Payment of
                                  Brookhaven, MS 39601                      2.59% per court order.)
   02/20/13           1024        Grant or Mason Gray                       (Interim distribution to Claim                        7100-000                                        $482.30         $719,278.00
                                  312 Airport Rd.                           27, representing a Payment of
                                  Pearl, MS 39208                           2.59% per court order.)
   02/20/13           1025        Danny Gray                                (Interim distribution to Claim                        7100-000                                     $1,293.36          $717,984.64
                                  c/o Jim F. Spencer, Jr., Esq.             34, representing a Payment of
                                  Watkins & Eager PLLC                      2.59% per court order.)
                                  P.O. Box 650
                                  Jackson, MS 39205
   02/20/13           1026        Scott Stevens                             (Interim distribution to Claim                        7100-000                                    $25,778.31          $692,206.33
                                  PO Box 1285                               35, representing a Payment of
                                  Cabot, AR 72023                           2.59% per court order.)
   02/20/13           1027        Linda Matthews                            (Interim distribution to Claim                        7100-000                                     $7,089.03          $685,117.30
                                  PO Box 1285                               36, representing a Payment of
                                  Cabot, AR 72023                           2.59% per court order.)
   02/20/13           1028        Builders and Contractor of MS             (Interim distribution to Claim                        7100-000                                        $258.78         $684,858.52
                                  returned 7/5/11                           37, representing a Payment of
                                                                            2.59% per court order.)
   02/20/13           1029        Charles Peoples                           (Interim distribution to Claim                        7100-000                                        $646.68         $684,211.84
                                  3913 Underwood Dr.                        39, representing a Payment of
                                  Flowood, MS 39232                         2.59% per court order.)
   02/20/13           1030        Barbara Allbritton                        (Interim distribution to Claim                        7100-000                                        $517.34         $683,694.50
                                  251 Swan Lake Drive                       44, representing a Payment of
                                  Jackson, Ms 39212-5337                    2.59% per court order.)
   02/20/13           1031        Mike Yarbro, Sue Yarbro, MYSY Rental,     (Interim distribution to Claim                        7100-000                                    $26,648.41          $657,046.09
                                  Inc.                                      47, representing a Payment of
                                  c/o Jim F. Spencer, Jr., Esq.             2.59% per court order.)
                                  Watkins & Eager PLLC
                                  P.O. Box 650
                                  Jackson, MS 39205


                                                                                   Page Subtotals:                                                             $0.00          $68,214.90
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   02/20/13           1032        Richard Lacey                             (Interim distribution to Claim                        7100-000                                     $5,173.44          $651,872.65
                                  c/o Jim F. Spencer, Jr., Esq.             48, representing a Payment of
                                  Watkins & Eager PLLC                      2.59% per court order.)
                                  P.O. Box 650
                                  Jackson, MS 39205
   02/20/13           1033        Raymond Montgomery, Jr.                   (Interim distribution to Claim                        7100-000                                        $258.67         $651,613.98
                                  c/o Jim F. Spencer, Jr., Esq.             51, representing a Payment of
                                  Watkins & Eager PLLC                      2.59% per court order.)
                                  P.O. Box 650
                                  Jackson, MS 39205
   02/20/13           1034        Alex Breeland                             (Interim distribution to Claim                        7100-000                                     $2,355.83          $649,258.15
                                  c/o Jim F. Spencer, Jr., Esq.             53, representing a Payment of
                                  Watkins & Eager PLLC                      2.59% per court order.)
                                  P.O. Box 650
                                  Jackson, MS 39205
   02/20/13           1035        Lee Alex Breland                          (Interim distribution to Claim                        7100-000                                    $21,431.50          $627,826.65
                                  c/o Jim F. Spencer, Jr., Esq.             54, representing a Payment of
                                  Watkins & Eager PLLC                      2.59% per court order.)
                                  P.O. Box 650
                                  Jackson, MS 39205
   02/20/13           1036        Arthur "Jay" Warren III and Karen Warren (Interim distribution to Claim                         7100-000                                     $2,832.07          $624,994.58
                                  c/o Jim F. Spencer, Jr., Esq.            55, representing a Payment of
                                  Watkins & Eager PLLC                     2.59% per court order.)
                                  P.O. Box 650
                                  Jackson, MS 39205
   02/20/13           1037        Kathryn Breeland                          (Interim distribution to Claim                        7100-000                                     $1,966.25          $623,028.33
                                  216 Crescent Ridge Dr.                    57, representing a Payment of
                                  Madison, MS 39110                         2.59% per court order.)
   02/20/13           1038        Wells Marble & Hurst, PLLC                (Interim distribution to Claim                        7100-000                                        $349.67         $622,678.66
                                  PO Box 131                                60, representing a Payment of
                                  Jackson, MS 39205-0131                    2.59% per court order.)
   02/20/13           1039        Gloria Irwin                              (Interim distribution to Claim                        7100-000                                     $1,293.36          $621,385.30
                                  6 Southwood Blvd                          69, representing a Payment of
                                  Clinton, MS 39056                         2.59% per court order.)
   02/20/13           1040        Clyde D. Lacey                            (Interim distribution to Claim                        7100-000                                     $1,549.62          $619,835.68
                                  100 Camelia Trail                         70, representing a Payment of
                                  Brandon, MS 39047                         2.59% per court order.)




                                                                                   Page Subtotals:                                                             $0.00          $37,210.41
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   02/20/13           1041        B. M. McEachern                           (Interim distribution to Claim                        7100-000                                     $2,577.83          $617,257.85
                                  605 Parson Ave.                           71, representing a Payment of
                                  Greenwood, MS 38930                       2.59% per court order.)
   02/20/13           1042        Tim Davis                                 (Interim distribution to Claim                        7100-000                                        $807.47         $616,450.38
                                  2887 VFW Rd.                              72, representing a Payment of
                                  Leland, MS 38756                          2.59% per court order.)
   02/20/13           1043        Bobby Isonhood                            (Interim distribution to Claim                        7100-000                                    $13,487.19          $602,963.19
                                  182 Quail Rd                              76, representing a Payment of
                                  Canton, MS 39046                          2.59% per court order.)
   02/20/13           1044        Anita Green                               (Interim distribution to Claim                        7100-000                                     $2,034.00          $600,929.19
                                  4957 Brookwood                            78, representing a Payment of
                                  Jackson, MS 39272-6700                    2.59% per court order.)
   02/20/13           1045        Danny Gray, Huey C. Harpe, and Vinson     (Interim distribution to Claim                        7100-000                                     $1,510.20          $599,418.99
                                  C. Gray                                   79, representing a Payment of
                                  c/o Jim F. Spencer, Jr., Esq.             2.59% per court order.)
                                  Watkins & Eager PLLC
                                  P.O. Box 650
                                  Jackson, MS 39205
   02/20/13           1046        James Williams                            (Interim distribution to Claim                        7100-000                                     $1,291.14          $598,127.85
                                  265 Goodman Rd.                           80, representing a Payment of
                                  Pelahatchie, MS 39145-2962                2.59% per court order.)
   02/20/13           1047        Patricia Williams                         (Interim distribution to Claim                        7100-000                                     $1,291.14          $596,836.71
                                  265 Goodman Rd.                           81, representing a Payment of
                                  Pelahatchie, MS 39145-2962                2.59% per court order.)
   02/20/13           1048        Heather Depta                             (Interim distribution to Claim                        7100-000                                     $1,353.70          $595,483.01
                                  4837 Summit Road Rd                       87, representing a Payment of
                                  Valdosta, GA 31602                        2.59% per court order.)
   02/20/13           1049        Eva and Rick Lacey                        (Interim distribution to Claim                        7100-000                                     $7,172.32          $588,310.69
                                  c/o Jim F. Spencer, Jr., Esq.             89, representing a Payment of
                                  Watkins & Eager PLLC                      2.59% per court order.)
                                  P.O. Box 650
                                  Jackson, MS 39205
   02/20/13           1050        B.G. Lacey                                (Interim distribution to Claim                        7100-000                                        $788.27         $587,522.42
                                  c/o Jim F. Spencer, Jr., Esq.             90, representing a Payment of
                                  Watkins & Eager PLLC                      2.59% per court order.)
                                  P.O. Box 650
                                  Jackson, MS 39205



                                                                                   Page Subtotals:                                                             $0.00          $32,313.26
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                               3                                            4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   02/20/13           1051        Raymond Montgomery, Jr.                   (Interim distribution to Claim                        7100-000                                    $20,083.85          $567,438.57
                                  c/o Jim F. Spencer, Jr., Esq.             91, representing a Payment of
                                  Watkins & Eager PLLC                      2.59% per court order.)
                                  P.O. Box 650
                                  Jackson, MS 39205
   02/20/13           1052        Mildred Freda Hudson, and                 (Interim distribution to Claim                        7100-000                                     $3,008.55          $564,430.02
                                  Eva H. Lacey & Johnie Hudson              94, representing a Payment of
                                  100 Camelia Trail                         2.59% per court order.)
                                  Brandon, MS 39047
   02/20/13           1053        LAURA UNDERHILL                           (Interim distribution to Claim                        7100-000                                         $19.75         $564,410.27
                                  19335 OLD FRIEND RD                       101, representing a Payment of
                                  SANTA CLARITA, CA 91351                     2.59% per court order.)
   02/20/13           1054        Claude B. Smith                           (Interim distribution to Claim                        7100-000                                     $5,305.76          $559,104.51
                                  3090 Pearlie Dr. NW                       102, representing a Payment of
                                  Brookhaven, MS 39601                        2.59% per court order.)
   02/20/13           1055        Robert H. Compton                         (Interim distribution to Claim                        7100-000                                     $1,288.92          $557,815.59
                                  obo Eleanor Hinson                        103, representing a Payment of
                                  P O Box 845                                 2.59% per court order.)
                                  Meridian, MS 39302-0845
   02/20/13           1056        Jack & Toni Williams                      (Interim distribution to Claim                        7100-000                                     $3,866.75          $553,948.84
                                  1202 Martin Dr.                           104, representing a Payment of
                                  Brandon, MS 39047                           2.59% per court order.)
   02/20/13           1057        Natalie Dautenhahm                        (Interim distribution to Claim                        7100-000                                     $3,014.70          $550,934.14
                                  1200 Bay Vista                            105, representing a Payment of
                                  Brandon, MS 39047                           2.59% per court order.)
   02/20/13           1058        Natalie Dautenhahm                        (Interim distribution to Claim                        7100-000                                     $5,486.83          $545,447.31
                                  1200 Bay Vista                            106, representing a Payment of
                                  Brandon, MS 39047                           2.59% per court order.)
   02/20/13           1059        Mary Baysinger                            (Interim distribution to Claim                        7100-000                                    $14,033.98          $531,413.33
                                  215 Cantrell Ave                          110, representing a Payment of
                                  Nashville, TN 37205                         2.59% per court order.)
   02/20/13           1060        Curtis Baysinger                          (Interim distribution to Claim                        7100-000                                        $271.17         $531,142.16
                                  215 Cantrell Ave                          115, representing a Payment of
                                  Nashville, TN 37205                         2.59% per court order.)
   02/20/13           1061        Bobby Isonhood                            (Interim distribution to Claim                        7100-000                                    $12,377.77          $518,764.39
                                  182 Quail Rd                              118, representing a Payment of
                                  Canton, MS 39046                            2.59% per court order.)



                                                                                   Page Subtotals:                                                             $0.00          $68,758.03
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                              3                                             4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   02/20/13           1062        Unitech, Inc.                             (Interim distribution to Claim                        7100-000                                         $18.65         $518,745.74
                                  PO Box 1703                               124, representing a Payment of
                                  Vicksburg, MS 39181                         2.59% per court order.)
   02/20/13           1063        Hill Ward Henderson                       (Interim distribution to Claim                        7100-000                                        $212.05         $518,533.69
                                  c/o Patrick Mosley                        128, representing a Payment of
                                  PO Box 231                                  2.59% per court order.)
                                  Tampa, FL 33601-2231
   02/20/13           1064        Dell Financial Services                   (Interim distribution to Claim                        7100-000                                          $6.14         $518,527.55
                                  c/o Resurgent Capital Services            129, representing a Payment of
                                  PO Box 10390                                2.59% per court order.)
                                  Greenville, SC 29603-0390
   02/20/13           1065        Mr. & Mrs. James R. Donald                (Interim distribution to Claim                        7100-000                                     $2,703.92          $515,823.63
                                  185 Oak Ridge Dr.                         130, representing a Payment of
                                  Raymond, MS 39154                           2.59% per court order.)
   02/20/13           1066        Robert Isonhood                           (Interim distribution to Claim                        7100-000                                     $2,673.48          $513,150.15
                                  4019 Meadville Rd                         131, representing a Payment of
                                  Liberty, MS 39645                           2.59% per court order.)
   02/20/13           1067        Barbara Allbritton                        (Interim distribution to Claim                        7100-000                                     $5,095.66          $508,054.49
                                  251 Swan Lake Drive                       132, representing a Payment of
                                  Jackson, Ms 39212                           2.59% per court order.)
   02/20/13           1068        Alex Breeland                             (Interim distribution to Claim                        7100-000                                     $2,355.83          $505,698.66
                                  c/o Jim F. Spencer, Jr., Esq.             53, representing a Payment of
                                  Watkins & Eager PLLC                      2.59% per court order.)
                                  P.O. Box 650
                                  Jackson, MS 39205
   02/20/13           1069        ShowsPowell PLLC                          (Interim distribution to Claim                        7100-000                                        $236.98         $505,461.68
                                  2950 Layfair Drive                        138, representing a Payment of
                                  Suite 101                                   2.59% per court order.)
                                  Flowood, MS 38232
   02/20/13           1070        Eileen Shaffer, Esq.                      (Interim distribution to Claim                        7100-000                                         $76.17         $505,385.51
                                  PO Box 1177                               139, representing a Payment of
                                  Jackson, MS 39215-1177                      2.59% per court order.)
   02/20/13           1071        Kay Wolfe                                 (Interim distribution to Claim                        7100-000                                    $10,542.78          $494,842.73
                                  1613 43rd St                              140, representing a Payment of
                                  Meridian, MS 39305                          2.59% per court order.)
   02/20/13           1072        Citibank, N.A.                            (Interim distribution to Claim                        7100-000                                         $33.08         $494,809.65
                                  701 East 60th Street North                141, representing a Payment of
                                  Sioux Falls, SD 57117                       2.59% per court order.)


                                                                                   Page Subtotals:                                                             $0.00          $23,954.74
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                           Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                    6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   02/20/13           1073        GE Money Bank                             (Interim distribution to Claim                        7100-000                                           $5.71         $494,803.94
                                  c/o Recovery Management Systems           142, representing a Payment of
                                  Corp.                                       2.59% per court order.)
                                  25 SE 2nd Avenue, Suite 1120
                                  Miami, FL 33131-1605
   02/20/13           1074        Indian Harbor Insurance Co                (Interim distribution to Claim                        7100-000                                      $1,066.58          $493,737.36
                                  DLA Piper LLP (US)                        166, representing a Payment of
                                  c/o James R. Irving                         2.59% per court order.)
                                  203 N LaSalle St, Ste 1900
                                  Chicago, IL 60601
   02/20/13           1075        Gerald W. Martin                          (Interim distribution to Claim                        7100-000                                         $199.05         $493,538.31
                                  3103 Ginger #C                            168, representing a Payment of
                                  Costa Mesa, CA 92626                        2.59% per court order.)
   02/25/13           1076        DEREK A. HENDERSON                        Bond Payment per Court Order                          2300-000                                         $723.05         $492,815.26
                                  1765-A LELIA DRIVE, SUITE 103             02/25/13
                                  JACKSON, MS 39216
   02/25/13                       Union Bank                                BANK SERVICES FEE (CHK)                               2600-000                                         $940.32         $491,874.94

   03/11/13           1077        US TRUSTEE                                Priority Claim per Court Order                        2950-000                                         $650.00         $491,224.94
                                  501 E. COURT STREET, SUITE 6-430          03/08/13
                                  JACKSON, MS 39201-5002
   03/11/13           1078        IRS                                       Priority Claim per Court Order                        5800-000                                         $500.00         $490,724.94
                                  100 W CAPITOL ST., STE 504                03/08/13
                                  JACKSON, MS 39269-0599
   03/11/13           1079        Internal Revenue Service                  Priority Claim per Court Order                        5800-000                                         $500.00         $490,224.94
                                  P O Box 21126                             03/08/13
                                  Philadelphia, PA 19114
   03/11/13           1080        Internal Revenue Service                  Priority Claim per Court Order                        5800-000                                      $1,000.00          $489,224.94
                                  P O Box 21126                             03/08/13
                                  Philadelphia, PA 19114
   03/25/13                       Union Bank                                BANK SERVICES FEE (CHK)                               2600-000                                         $976.13         $488,248.81

   04/08/13                       ADVANCED RECOVERY SYSTEMS,                                                                                                  $315.00                              $488,563.81
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                                                                            Gross Receipts                            $525.00


                                                                                   Page Subtotals:                                                            $315.00           $6,560.84
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                             Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                    6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.      Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
                                  ADVANCED RECOVERY SYSTEMS,                Payment to Agency                         ($210.00)    2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                          $525.00     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   04/08/13            203        AMERICAN EMPIRE SURPLUS LINES             Insurance Proceeds in loss of                          1210-000              $60,000.00                                $548,563.81
                                  INSURANCE CO.                             property on 11/29/12
                                  301 E. 4TH ST.
                                  CINCINNATI, OH 45202
   04/08/13            124        AMERICAN EMPIRE SURPLUS LINES             Insurance Proceeds for unit                            1110-000              $43,500.00                                $592,063.81
                                  INSURANCE CO.                             that burned 01/18/13
                                  301 E. 4TH ST. - 25 N
                                  CINCINNATI, OH 45202
   04/19/13            200        ROBISON & HOLMES                          Jack Harrington - Judgment                             1249-000              $35,000.00                                $627,063.81
                                  P.O. DRAWER 1128
                                  MCCOMB, MS 39649-1128
   04/25/13                       Union Bank                                BANK SERVICES FEE (CHK)                                2600-000                                        $779.01         $626,284.80

   05/16/13                       ADVANCED RECOVERY SYSTEMS,                Accounts Receivable - George                                                      $157.50                              $626,442.30
                                  INC.                                      Smith
                                  219 KATHERINE DRIVE
                                  FLOWOOD, MS 39232
                                                                            Gross Receipts                             $262.50

                                  ADVANCED RECOVERY SYSTEMS,                                                          ($105.00)    2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                          $262.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   05/28/13                       Union Bank                                BANK SERVICES FEE (CHK)                                2600-000                                        $836.30         $625,606.00

   05/29/13           1081        StorageMax - Lakeland                     Two year storage contract fees                         2410-000                                     $3,792.00          $621,814.00
                                  4600 Lakeland Dr.                         per Court Order 05/28/13
                                  Flowood, MS 39232


                                                                                   Page Subtotals:                                                      $138,657.50             $5,407.31
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                                 Trustee Name: DEREK A. HENDERSON                                         Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                               Bank Name: Union Bank
                                                                                                                    Account Number/CD#: XXXXXX9184
                                                                                                                                              Checking Account
  Taxpayer ID No: XX-XXX5425                                                                                Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                               Separate Bond (if applicable):


       1                2                              3                                               4                                                     5                  6                       7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction                 Uniform Tran.     Deposits ($)     Disbursements ($)      Account/CD Balance
                    Reference                                                                                                             Code                                                          ($)
   05/31/13           1030        Barbara Allbritton                        Stop Payment Acceptance                                    7100-000                                     ($517.34)         $622,331.34
                                  251 Swan Lake Drive                       Posted Manually
                                  Jackson, Ms 39212-5337
   05/31/13           1067        Barbara Allbritton                        Stop Payment Acceptance                                    7100-000                                 ($5,095.66)           $627,427.00
                                  251 Swan Lake Drive                       Posted Manually
                                  Jackson, Ms 39212
   05/31/13           1072        Citibank, N.A.                            Stop Payment Acceptance                                    7100-000                                      ($33.08)         $627,460.08
                                  701 East 60th Street North                Posted Manually
                                  Sioux Falls, SD 57117
   05/31/13           1082        U.S. Bankruptcy Court                     Check No. 1030 issued to                                   7100-000                                      $517.34          $626,942.74
                                  Southern District of Mississippi          Barbara Albritton on 02/20/13
                                  P.O. Box 2448                             for interim distribution has not
                                  Jackson, MS 39225-2448                    cleared the bank.
   05/31/13           1083        U.S. Bankruptcy Court                     Check No. 1067 issued to                                   7100-000                                  $5,095.66            $621,847.08
                                  Southern District of Mississippi          Barbara Albritton on 02/20/13
                                  P.O. Box 2448                             for interim distribution has not
                                  Jackson, MS 39225-2448                    cleared the bank.
   05/31/13           1084        U.S. Bankruptcy Court                     Check No. 1072 issued to                                   7100-000                                       $33.08          $621,814.00
                                  Southern District of Mississippi          Citibank, N.A. on 02/20/13 for
                                  P.O. Box 2448                             interim distribution has not
                                  Jackson, MS 39225-2448                    cleared the bank.
   06/17/13                       Nashville Title Insurance Corporation     Sale of Property at 330 Pullen                                                  $54,030.58                                $675,844.58
                                  Escrow Account                            Ave., Nashville, TN
                                  2818 Bransford Avenue
                                  Nashville, TN 37204
                                                                            Gross Receipts                              $61,600.00

                                  TAYLOR AUCTION & REALTY, INC.             Auctioneer Fees                             ($5,600.00)    3610-000
                                  15229 HWY. 51 NORTH
                                  GRENADA, MS 38901
                                  RUDY TITLE AND ESCROW                     Closing Fees                                 ($350.00)     2500-000

                                  DAVIDSON COUNTY TRUSTEE                   2013 County Taxes                           ($1,166.98)    2820-000

                                  County Property Taxes                     01/01/13 to 05/31/13                         ($452.44)     2820-000

                       132                                                  LIQUIDATED CLAIMS - 330                     $61,600.00     1110-000
                                                                            Pullen (Loan), Nashville,TN

                                                                                    Page Subtotals:                                                         $54,030.58                 $0.00
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                               Trustee Name: DEREK A. HENDERSON                                         Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                              Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                    6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                          ($)
   06/17/13                       Nashville Title Insurance Corporation     Sale of 1023 Sharpe Avenue,                                                   $91,669.98                                $767,514.56
                                  Escrow Account                            Nashville, TN
                                  2818 Bransford Avenue
                                  Nashville, TN 37204
                                                                            Gross Receipts                            $103,400.00

                                  TAYLOR AUCTION & REALTY, INC.             Auctioneer Fees                           ($9,400.00)    3610-000
                                  15229 HWY. 51 NORTH
                                  GRENADA, MS 38901
                                  RUDY TITLE AND ESCROW                     Closing/Settlement Fee                      ($350.00)    2500-000

                                  DAVIDSON COUNTY TRUSTEE                   2012 County Taxes                         ($1,418.91)    2820-000

                                  County Property Taxes                     01/01/13 to 06/03/13                        ($561.11)    2820-000

                       130                                                  LIQUIDATED CLAIMS - 1023                  $103,400.00    1110-000
                                                                            Sharpe Ave. (Loan), Nashville,
                                                                            TN
   06/25/13                       Union Bank                                BANK SERVICES FEE (CHK)                                  2600-000                                       $939.01         $766,575.55

   06/26/13                       ADVANCED RECOFERY SYSTEMS,                Accounts Receivable - George                                                       $157.50                              $766,733.05
                                  INC.                                      Smith
                                  219 Katherine Drive
                                  Flowood, MS 39232
                                                                            Gross Receipts                               $262.50

                                  ADVANCED RECOVERY SYSTEMS,                Collection Fee - George Smith               ($105.00)    2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                            $262.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   07/25/13                       Union Bank                                BANK SERVICES FEE (CHK)                                  2600-000                                       $979.06         $765,753.99




                                                                                   Page Subtotals:                                                        $91,827.48             $1,918.07
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                                 Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                               Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX9184
                                                                                                                                              Checking Account
  Taxpayer ID No: XX-XXX5425                                                                                Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                               Separate Bond (if applicable):


       1                2                             3                                                 4                                                    5                    6                    7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction                  Uniform Tran.     Deposits ($)       Disbursements ($)   Account/CD Balance
                    Reference                                                                                                             Code                                                         ($)
   07/26/13                       ADVANCED RECOVERY SYSTEMS,                Accounts Receivable - George                                                         $337.50                             $766,091.49
                                  INC.                                      Smith
                                  219 KATHERINE DRIVE
                                  FLOWOOD, MS 39232
                                                                            Gross Receipts                                 $562.50

                                  ADVANCED RECOVERY SYSTEMS,                Collection Fees                              ($225.00)     2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                              $562.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   08/26/13                       Union Bank                                BANK SERVICES FEE (CHK)                                    2600-000                                    $1,139.32         $764,952.17

   09/09/13                       Taylor Auction & Realty, Inc.             On-line auction of office                                                         $8,836.64                              $773,788.81
                                  15229 Hwy. 51 North                       equipment
                                  Grenada, MS 38901
                                                                            Gross Receipts                              $12,467.00

                                  TAYLOR AUCTION & REALTY, INC.             Auctioneer Fees                             ($2,493.40)    3630-000
                                  15229 HWY. 51 NORTH
                                  GRENADA, MS 38901
                                  TAYLOR AUCTION & REALTY, INC.             Auctioneer Expenses                         ($1,136.96)    3640-000
                                  15229 HWY. 51 NORTH
                                  GRENADA, MS 38901
                       145                                                  OFFICE EQUIPMEN                             $12,467.00     1129-000

   09/25/13                       Union Bank                                BANK SERVICES FEE (CHK)                                    2600-000                                    $1,138.31         $772,650.50

   10/16/13           1085        DEREK A. HENDERSON                        Attorney for Trustee Fees and                                                                         $22,901.20         $749,749.30
                                  1765-A LELIA DRIVE, SUITE 103             Expenses per Court Order
                                  JACKSON, MS 39216                         10/15/13
                                  DEREK A. HENDERSON                        Attorney for Trustee Fees                  ($20,075.00)    3110-000

                                  DEREK A. HENDERSON                        Attorney for Trustee Expenses               ($2,826.20)    3120-000




                                                                                    Page Subtotals:                                                           $9,174.14           $25,178.83
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                                Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                              Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                             Checking Account
  Taxpayer ID No: XX-XXX5425                                                                                Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                               4                                                     5                    6                    7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)       Disbursements ($)   Account/CD Balance
                    Reference                                                                                                            Code                                                         ($)
   10/23/13            204        James R. Moncus, Jr.                      Overbid Refund on Property                                1224-000                  $569.34                             $750,318.64
                                  Attorney at Law                           Taxes
                                  1313 Alford Avenue
                                  Birmingham, AL 35226
   10/25/13                       Union Bank                                BANK SERVICES FEE (CHK)                                   2600-000                                    $1,108.84         $749,209.80

   11/08/13                       RICHARD M. LINGLE, PLLC                   Sale of Steadivest Properties                                                 $820,384.93                             $1,569,594.73
                                  1400 LAKEOVER RD., STE. 110
                                  JACKSON, MS 39213
                                                                            Gross Receipts                       $1,009,850.00

                                  PLLC RICHARD M. LINGLE                    Attorney's Fees                           ($23,000.00)    3210-000
                                  1400 LAKEOVER ROAD, STE. 110
                                  JACKSON, MS 39213
                                  PLLC RICHARD M. LINGLE                    Attorney's Fees                           ($15,000.00)    3210-000
                                  1400 LAKEOVER ROAD, STE. 110
                                  JACKSON, MS 39213
                                  PLLC RICHARD M. LINGLE                    Attorney's Fees                            ($5,000.00)    3210-000
                                  1400 LAKEOVER ROAD, STE. 110
                                  JACKSON, MS 39213
                                  PLLC RICHARD M. LINGLE                    Attorney's Fees                            ($4,000.00)    3210-000
                                  1400 LAKEOVER ROAD, STE. 110
                                  JACKSON, MS 39213
                                  2011 AD VALOREM TAXES                     Taxes                                     ($38,622.79)    2820-000

                                  2012 AD VALOREM TAXES                                                               ($31,883.92)    2820-000

                                  CITY/TOWN TAXES                           Taxes                                     ($10,729.24)    2820-000

                                  PROPERTY TAXES                            Taxes                                     ($30,720.59)    2820-000

                                  TAXES PAID AT CLOSING                     Taxes                                      ($2,933.52)    2820-000

                                  TAXES PAID AT CLOSING                     Taxes                                      ($8,896.96)    2820-000

                                  TAXES PAID AT CLOSING                     Taxes                                      ($7,195.78)    2820-000


                                                                                    Page Subtotals:                                                       $820,954.27             $1,108.84
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                              Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                            Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX9184
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX5425                                                                             Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction                 Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                         ($)
                                  ATTORNEY'S FEES                           Attorney's Fees                          ($1,275.00)    3210-000

                                  ATTORNEY'S FEES - Hugh Armistead          Attorney's Fees                           ($750.00)     3210-000

                                  CLOSING COSTS                             Closing Costs                            ($3,511.50)    2500-000

                                  CLOSING COSTS                             Closing Costs                            ($2,001.93)    2500-000

                                  CLOSING COSTS                             Closing Costs                            ($3,650.00)    2500-000

                                  TAYLOR AUCTION & REALTY, INC.             Auctioneer Fees                          ($1,450.00)    3610-000
                                  15229 HWY. 51 NORTH
                                  GRENADA, MS 38901
                                  TAX ADJUSTMENT                            Excess Deposit                           ($6,600.00)    2820-000

                                  TAX ADJUSTMENT                            Tax Adjustment                           ($2,193.84)    2820-000

                                  TAYLOR AUCTION & REALTY, INC.                                                       $3,350.00     3610-000
                                  15229 HWY. 51 NORTH
                                  GRENADA, MS 38901
                                  Excess Deposit                                                                      $6,600.00     2990-000

                       108                                                  LIQUIDATED CLAIMS - 3406                  $7,250.00     1110-000
                                                                            Doris Cr., (REHAB),
                                                                            Mongtomery, AL
                       109                                                  LIQUIDATED CLAIMS - 716                  $56,000.00     1110-000
                                                                            Carmel (REHAB), Nashville, TN
                       111                                                  LIQUIDATED CLAIMS - 410                  $13,500.00     1110-000
                                                                            Arthur St., Montgomery, AL
                       121                                                  LIQUIDATED CLAIMS - 1416                 $14,500.00     1110-000
                                                                            Second Ave., Jackson, MS
                       123                                                  LIQUIDATED CLAIMS - 4246                  $9,000.00     1110-000
                                                                            W. Capitol, Jackson, MS
                       89                                                   RENTAL PROPERTY - 1810                   $61,000.00     1110-000
                                                                            Branch St., Nashville, TN



                                                                                   Page Subtotals:                                                             $0.00                $0.00
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                             Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                            Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX9184
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX5425                                                                             Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                   5                   6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction                Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                         ($)
                       70                                                   RENTAL PROPERTY - 4943                    $3,250.00    1110-000
                                                                            Westwood, Jackson, MS
                       72                                                   RENTAL PROPERTY - 5859                   $46,000.00    1110-000
                                                                            Old Canton, Jackson, MS
                       76                                                   RENTAL PROPERTY - 728                     $7,000.00    1110-000
                                                                            Combs, Jackson, MS
                       85                                                   RENTAL PROPERTY - 266                    $38,500.00    1110-000
                                                                            Dexter Ave., Mobile, AL
                       82                                                   RENTAL PROPERTY - 3604                    $6,600.00    1110-000
                                                                            Holland, Memphis, TN
                       56                                                   RENTAL PROPERTY - 1863                    $6,000.00    1110-000
                                                                            Willaneel, Jackson, MS
                       60                                                   RENTAL PROPERTY - 2635                   $11,500.00    1110-000
                                                                            Revere, Jackson, MS
                       66                                                   RENTAL PROPERTY - 3719                    $5,500.00    1110-000
                                                                            John Adams, Jackson, MS
                       68                                                   RENTAL PROPERTY - 4548                   $12,500.00    1110-000
                                                                            Whitehaven, Jackson, MS
                       44                                                   RENTAL PROPERTY - 3464                    $5,500.00    1110-000
                                                                            Rosemary, Jackson, MS
                       84                                                   RENTAL PROPERTY - 1712                   $16,000.00    1110-000
                                                                            Pake Rd., Mobile, AL
                       50                                                   RENTAL PROPERTY - 111                     $8,500.00    1110-000
                                                                            Carolyn, Jackson, MS
                       33                                                   RENTAL PROPERTY - 9009                   $15,000.00    1110-000
                                                                            Beverly Drive, Birmingham, AL
                       45                                                   RENTAL PROPERTY - 1445                    $7,000.00    1110-000
                                                                            Dianne, Jackson, MS
                       59                                                   RENTAL PROPERTY - 2557                    $9,500.00    1110-000
                                                                            Paden, Jackson, MS
                       57                                                   RENTAL PROPERTY - 2211                   $18,500.00    1110-000
                                                                            Castle Hill, Jackson, MS
                       65                                                   RENTAL PROPERTY - 3546                    $8,000.00    1110-000
                                                                            Norwood, Jackson, MS



                                                                                   Page Subtotals:                                                            $0.00                $0.00
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                             Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                            Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX9184
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX5425                                                                             Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                   5                   6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction                Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                         ($)
                       53                                                   RENTAL PROPERTY - 1444                   $15,500.00    1110-000
                                                                            Wooddell, Jackson, MS
                       69                                                   RENTAL PROPERTY - 4746                   $28,000.00    1110-000
                                                                            Norway, Jackson, MS
                       71                                                   RENTAL PROPERTY - 5802                   $61,000.00    1110-000
                                                                            Orchardview, Jackson, MS
                       83                                                   RENTAL PROPERTY - 806                     $9,350.00    1110-000
                                                                            Newell, Memphis, TN
                       88                                                   RENTAL PROPERTY - 1925,                  $33,500.00    1110-000
                                                                            1927, 1929 James Ave.,
                                                                            Mobile, AL
                       61                                                   RENTAL PROPERTY - 2822                    $3,500.00    1110-000
                                                                            Engleside, Jackson, MS
                       94                                                   RENTAL PROPERTY - 5604 E.                $62,500.00    1122-000
                                                                            Shore, Pensacola, FL
                       22                                                   RENTAL PROPERTY - 1424                   $12,000.00    1110-000
                                                                            46th Street W, Birmingham, AL
                       28                                                   RENTAL PROPERTY - 7801                    $8,250.00    1110-000
                                                                            5th Avenue, Birmingham, AL
                       30                                                   RENTAL PROPERTY - 8300                   $22,500.00    1110-000
                                                                            4th Avenue S., Birmingham, AL
                       95                                                   RENTAL PROPERTY - 6308                   $32,500.00    1110-000
                                                                            Dallas Ave., Pensacola, FL
                       97                                                   RENTAL PROPERTY - 7961                   $66,000.00    1110-000
                                                                            Hilburn, Pensacola, FL
                       135                                                  LIQUIDATED CLAIMS - 3631                  $3,300.00    1110-000
                                                                            Kelly Lane, Montgomery, AL
                       206                                                  RENTAL PROPERTY - 5761                   $47,000.00    1210-000
                                                                            Old Canton Rd., Jackson, MS
                       208                                                  RENTAL PROPERTY - 4730                   $40,000.00    1210-000
                                                                            Kings Highway, Jackson, MS
                       210                                                  RENTAL PROPERTY - 710                    $13,500.00    1110-000
                                                                            Kirk St., Pensacola, FL
                       31                                                   RENTAL PROPERTY - 8300                    $4,100.00    1110-000
                                                                            5th Avenue N, Birmingham, AL


                                                                                   Page Subtotals:                                                            $0.00                $0.00
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                               Trustee Name: DEREK A. HENDERSON                                      Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                             Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                               4                                                    5                  6                    7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)     Disbursements ($)   Account/CD Balance
                    Reference                                                                                                           Code                                                       ($)
                       205                                                  RENTAL PROPERTY - 2403                     $9,000.00     1210-000
                                                                            Georgetown Ave., Jackson, MS
                       207                                                  RENTAL PROPERTY - 1247                    $31,000.00     1210-000
                                                                            Adkins Blvd, Jackson, MS
                       209                                                  RENTAL PROPERTY - 1333                     $8,250.00     1110-000
                                                                            17th Way SW, 8300 5th Ave.
                                                                            N. and 780
                       211                                                  RENTAL PROPERTY - 708                     $16,500.00     1110-000
                                                                            Kirk St., Pensacola, FL
                       223                                                  1608 1st St., NW, Birmingham,             $35,500.00     1110-000
                                                                            AL
                       224                                                  932 Five Mile Rd., Birmingham,            $29,500.00     1110-000
                                                                            AL
                       230                                                  516 17th Terrace NW,                      $31,500.00     1110-000
                                                                            Birmingham, AL
   11/25/13                       Union Bank                                BANK SERVICES FEE (CHK)                                  2600-000                                  $1,131.77       $1,568,462.96

   12/26/13                       Union Bank                                BANK SERVICES FEE (CHK)                                  2600-000                                  $1,824.64       $1,566,638.32

   01/09/14                       Morris J. Princiotta, Jr.                 Sale of 3 Alabama Properties                                                  $14,388.02                           $1,581,026.34
                                  2100-C Rocky Ridge Rd.
                                  Birmingham, AL 35216
                                                                            Gross Receipts                            $24,000.00

                                  Morris J. Princiotta, Jr.                 Attorney's Fees                           ($3,450.00)    3210-000
                                  2100-C Rocky Ridge Rd.
                                  Birmingham, AL 35216
                                  Morris J. Princiotta, Jr.                 Attorney's Expenses                        ($101.50)     3220-000
                                  2100-C Rocky Ridge Rd.
                                  Birmingham, AL 35216
                                  TAXES PAID AT CLOSING                     Taxes                                     ($6,060.48)    2820-000

                       35                                                   RENTAL PROPERTY - 6501                     $8,000.00     1110-000
                                                                            Forest Drive, Fairfield, AL
                       24                                                   RENTAL PROPERTY - 2724                     $8,000.00     1110-000
                                                                            6th Street NE, Birmingham, AL


                                                                                    Page Subtotals:                                                       $14,388.02           $2,956.41
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                              Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX9184
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX5425                                                                               Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                              Separate Bond (if applicable):


       1                2                             3                                               4                                                    5                   6                    7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction               Uniform Tran.      Deposits ($)      Disbursements ($)   Account/CD Balance
                    Reference                                                                                                          Code                                                         ($)
                       23                                                   RENTAL PROPERTY - 224                      $8,000.00    1110-000
                                                                            McCormick, Birmingham, AL
   01/27/14                       Union Bank                                BANK SERVICES FEE (CHK)                                 2600-000                                    $2,330.68       $1,578,695.66

   02/10/14           1086        TAYLOR AUCTION & REALTY, INC.             Fees per Court Order 01/04/13                           3610-000                                   $15,405.93       $1,563,289.73
                                  15229 HWY. 51 NORTH
                                  GRENADA, MS 38901
   02/25/14                       Union Bank                                BANK SERVICES FEE (CHK)                                 2600-000                                    $2,343.11       $1,560,946.62

   03/10/14           1087        DEREK A. HENDERSON                        Trustee Bond per Court Order                            2300-000                                    $1,407.70       $1,559,538.92
                                  1765-A LELIA DRIVE, SUITE 103             03/06/14
                                  JACKSON, MS 39216
   03/25/14                       Union Bank                                BANK SERVICES FEE (CHK)                                 2600-000                                    $2,106.34       $1,557,432.58

   04/25/14                       Union Bank                                BANK SERVICES FEE (CHK)                                 2600-000                                    $2,318.52       $1,555,114.06

   05/27/14                       Union Bank                                BANK SERVICES FEE (CHK)                                 2600-000                                    $2,239.47       $1,552,874.59

   05/29/14           1088        The InvestLinc/TFS Income Fund LLC        Interim Distribution                                    7100-000                                  $390,100.00       $1,162,774.59
                                  Paul M Ellis Esq
                                  Butler Snow
                                  PO Box 22567
                                  Jackson, MS 39225-2567
   05/29/14           1089        Terry Bailey                              (Interim distribution to Claim 3,                       7100-000                                   $27,027.93       $1,135,746.66
                                  740 Katherine Dr.                         representing a Payment of
                                  Canton, MS 39046                          6.41% per court order.)
   05/29/14           1090        Grant or Mason Gray                       (Interim distribution to Claim 8,                       7100-000                                    $1,195.67       $1,134,550.99
                                  312 Airport Rd.                           representing a Payment of
                                  Pearl, MS 39208                           6.41% per court order.)
   05/29/14           1091        Grant Gray                                (Interim distribution to Claim 9,                       7100-000                                    $2,114.07       $1,132,436.92
                                  312 Airport Rd.                           representing a Payment of
                                  Pearl, MS 39208                           6.41% per court order.)
   05/29/14           1092        Rosalyn Gray                              (Interim distribution to Claim                          7100-000                                    $2,620.71       $1,129,816.21
                                  187 Thomasville Rd.                       10, representing a Payment of
                                  Florence, MS 39073                        6.41% per court order.)




                                                                                    Page Subtotals:                                                             $0.00         $451,210.13
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   05/29/14           1093        Brian S. Smith                            (Interim distribution to Claim                        7100-000                                     $1,132.76        $1,128,683.45
                                  3008 Spyglass Hill Rd                     16, representing a Payment of
                                  Edmond, OK 73034                          6.41% per court order.)
   05/29/14           1094        John D. Smith                             (Interim distribution to Claim                        7100-000                                     $9,883.39        $1,118,800.06
                                  309 Noble Dr.                             24, representing a Payment of
                                  Brookhaven, MS 39601                      6.41% per court order.)
   05/29/14           1095        Grant or Mason Gray                       (Interim distribution to Claim                        7100-000                                     $1,195.67        $1,117,604.39
                                  312 Airport Rd.                           27, representing a Payment of
                                  Pearl, MS 39208                           6.41% per court order.)
   05/29/14           1096        Danny Gray                                (Interim distribution to Claim                        7100-000                                     $3,206.39        $1,114,398.00
                                  c/o Jim F. Spencer, Jr., Esq.             34, representing a Payment of
                                  Watkins & Eager PLLC                      6.41% per court order.)
                                  P.O. Box 650
                                  Jackson, MS 39205
   05/29/14           1097        Scott Stevens                             (Interim distribution to Claim                        7100-000                                    $63,907.34        $1,050,490.66
                                  PO Box 1285                               35, representing a Payment of
                                  Cabot, AR 72023                           6.41% per court order.)
   05/29/14           1098        Linda Matthews                            (Interim distribution to Claim                        7100-000                                    $17,574.52        $1,032,916.14
                                  PO Box 1285                               36, representing a Payment of
                                  Cabot, AR 72023                           6.41% per court order.)
   05/29/14           1099        Builders and Contractor of MS             (Interim distribution to Claim                        7100-000                                        $641.55       $1,032,274.59
                                  returned 7/5/11                           37, representing a Payment of
                                                                            6.41% per court order.)
   05/29/14           1100        Charles Peoples                           (Interim distribution to Claim                        7100-000                                     $1,603.19        $1,030,671.40
                                  3913 Underwood Dr.                        39, representing a Payment of
                                  Flowood, MS 39232                         6.41% per court order.)
   05/29/14           1101        Barbara Allbritton                        (Interim distribution to Claim                        7100-000                                     $1,282.55        $1,029,388.85
                                  251 Swan Lake Drive                       44, representing a Payment of
                                  Jackson, Ms 39212-5337                    6.41% per court order.)
   05/29/14           1102        Mike Yarbro, Sue Yarbro, MYSY Rental,     (Interim distribution to Claim                        7100-000                                    $66,064.44          $963,324.41
                                  Inc.                                      47, representing a Payment of
                                  c/o Jim F. Spencer, Jr., Esq.             6.41% per court order.)
                                  Watkins & Eager PLLC
                                  P.O. Box 650
                                  Jackson, MS 39205




                                                                                   Page Subtotals:                                                             $0.00         $166,491.80
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   05/29/14           1103        Richard Lacey                             (Interim distribution to Claim                        7100-000                                    $12,825.54          $950,498.87
                                  c/o Jim F. Spencer, Jr., Esq.             48, representing a Payment of
                                  Watkins & Eager PLLC                      6.41% per court order.)
                                  P.O. Box 650
                                  Jackson, MS 39205
   05/29/14           1104        Raymond Montgomery, Jr.                   (Interim distribution to Claim                        7100-000                                        $641.28         $949,857.59
                                  c/o Jim F. Spencer, Jr., Esq.             51, representing a Payment of
                                  Watkins & Eager PLLC                      6.41% per court order.)
                                  P.O. Box 650
                                  Jackson, MS 39205
   05/29/14           1105        Alex Breeland                             (Interim distribution to Claim                        7100-000                                     $5,840.38          $944,017.21
                                  c/o Jim F. Spencer, Jr., Esq.             53, representing a Payment of
                                  Watkins & Eager PLLC                      6.41% per court order.)
                                  P.O. Box 650
                                  Jackson, MS 39205
   05/29/14           1106        Lee Alex Breland                          (Interim distribution to Claim                        7100-000                                    $53,131.10          $890,886.11
                                  c/o Jim F. Spencer, Jr., Esq.             54, representing a Payment of
                                  Watkins & Eager PLLC                      6.41% per court order.)
                                  P.O. Box 650
                                  Jackson, MS 39205
   05/29/14           1107        Arthur "Jay" Warren III and Karen Warren (Interim distribution to Claim                         7100-000                                     $7,021.02          $883,865.09
                                  c/o Jim F. Spencer, Jr., Esq.            55, representing a Payment of
                                  Watkins & Eager PLLC                     6.41% per court order.)
                                  P.O. Box 650
                                  Jackson, MS 39205
   05/29/14           1108        Kathryn Breeland                          (Interim distribution to Claim                        7100-000                                     $4,874.55          $878,990.54
                                  216 Crescent Ridge Dr.                    57, representing a Payment of
                                  Madison, MS 39110                         6.41% per court order.)
   05/29/14           1109        Wells Marble & Hurst, PLLC                (Interim distribution to Claim                        7100-000                                        $866.88         $878,123.66
                                  PO Box 131                                60, representing a Payment of
                                  Jackson, MS 39205-0131                    6.41% per court order.)
   05/29/14           1110        Gloria Irwin                              (Interim distribution to Claim                        7100-000                                     $3,206.39          $874,917.27
                                  6 Southwood Blvd                          69, representing a Payment of
                                  Clinton, MS 39056                         6.41% per court order.)
   05/29/14           1111        Clyde D. Lacey                            (Interim distribution to Claim                        7100-000                                     $3,841.69          $871,075.58
                                  100 Camelia Trail                         70, representing a Payment of
                                  Brandon, MS 39047                         6.41% per court order.)




                                                                                   Page Subtotals:                                                             $0.00          $92,248.83
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                         Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                   6                    7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)   Account/CD Balance
                    Reference                                                                                                        Code                                                          ($)
   05/29/14           1112        B. M. McEachern                           (Interim distribution to Claim                        7100-000                                     $6,390.73         $864,684.85
                                  605 Parson Ave.                           71, representing a Payment of
                                  Greenwood, MS 38930                       6.41% per court order.)
   05/29/14           1113        Tim Davis                                 (Interim distribution to Claim                        7100-000                                     $2,001.80         $862,683.05
                                  2887 VFW Rd.                              72, representing a Payment of
                                  Leland, MS 38756                          6.41% per court order.)
   05/29/14           1114        Bobby Isonhood                            (Interim distribution to Claim                        7100-000                                    $33,436.25         $829,246.80
                                  182 Quail Rd                              76, representing a Payment of
                                  Canton, MS 39046                          6.41% per court order.)
   05/29/14           1115        Anita Green                               (Interim distribution to Claim                        7100-000                                     $5,042.49         $824,204.31
                                  4957 Brookwood                            78, representing a Payment of
                                  Jackson, MS 39272-6700                    6.41% per court order.)
   05/29/14           1116        Danny Gray, Huey C. Harpe, and Vinson     (Interim distribution to Claim                        7100-000                                     $3,743.97         $820,460.34
                                  C. Gray                                   79, representing a Payment of
                                  c/o Jim F. Spencer, Jr., Esq.             6.41% per court order.)
                                  Watkins & Eager PLLC
                                  P.O. Box 650
                                  Jackson, MS 39205
   05/29/14           1117        James Williams                            (Interim distribution to Claim                        7100-000                                     $3,200.88         $817,259.46
                                  265 Goodman Rd.                           80, representing a Payment of
                                  Pelahatchie, MS 39145-2962                6.41% per court order.)
   05/29/14           1118        Patricia Williams                         (Interim distribution to Claim                        7100-000                                     $3,200.88         $814,058.58
                                  265 Goodman Rd.                           81, representing a Payment of
                                  Pelahatchie, MS 39145-2962                6.41% per court order.)
   05/29/14           1119        Heather Depta                             (Interim distribution to Claim                        7100-000                                     $3,355.97         $810,702.61
                                  4837 Summit Road Rd                       87, representing a Payment of
                                  Valdosta, GA 31602                        6.41% per court order.)
   05/29/14           1120        Eva and Rick Lacey                        (Interim distribution to Claim                        7100-000                                    $17,781.01         $792,921.60
                                  c/o Jim F. Spencer, Jr., Esq.             89, representing a Payment of
                                  Watkins & Eager PLLC                      6.41% per court order.)
                                  P.O. Box 650
                                  Jackson, MS 39205
   05/29/14           1121        B.G. Lacey                                (Interim distribution to Claim                        7100-000                                     $1,954.19         $790,967.41
                                  c/o Jim F. Spencer, Jr., Esq.             90, representing a Payment of
                                  Watkins & Eager PLLC                      6.41% per court order.)
                                  P.O. Box 650
                                  Jackson, MS 39205



                                                                                   Page Subtotals:                                                             $0.00          $80,108.17
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                               3                                            4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   05/29/14           1122        Raymond Montgomery, Jr.                   (Interim distribution to Claim                        7100-000                                    $49,790.12          $741,177.29
                                  c/o Jim F. Spencer, Jr., Esq.             91, representing a Payment of
                                  Watkins & Eager PLLC                      6.41% per court order.)
                                  P.O. Box 650
                                  Jackson, MS 39205
   05/29/14           1123        Mildred Freda Hudson, and                 (Interim distribution to Claim                        7100-000                                     $7,458.52          $733,718.77
                                  Eva H. Lacey & Johnie Hudson              94, representing a Payment of
                                  100 Camelia Trail                         6.41% per court order.)
                                  Brandon, MS 39047
   05/29/14           1124        LAURA UNDERHILL                           (Interim distribution to Claim                        7100-000                                         $48.98         $733,669.79
                                  19335 OLD FRIEND RD                       101, representing a Payment of
                                  SANTA CLARITA, CA 91351                     6.41% per court order.)
   05/29/14           1125        Claude B. Smith                           (Interim distribution to Claim                        7100-000                                    $13,153.56          $720,516.23
                                  3090 Pearlie Dr. NW                       102, representing a Payment of
                                  Brookhaven, MS 39601                        6.41% per court order.)
   05/29/14           1126        Robert H. Compton                         (Interim distribution to Claim                        7100-000                                     $3,195.37          $717,320.86
                                  obo Eleanor Hinson                        103, representing a Payment of
                                  P O Box 845                                 6.41% per court order.)
                                  Meridian, MS 39302-0845
   05/29/14           1127        Jack & Toni Williams                      (Interim distribution to Claim                        7100-000                                     $9,586.10          $707,734.76
                                  1202 Martin Dr.                           104, representing a Payment of
                                  Brandon, MS 39047                           6.41% per court order.)
   05/29/14           1128        Natalie Dautenhahm                        (Interim distribution to Claim                        7100-000                                     $7,473.77          $700,260.99
                                  1200 Bay Vista                            105, representing a Payment of
                                  Brandon, MS 39047                           6.41% per court order.)
   05/29/14           1129        Natalie Dautenhahm                        (Interim distribution to Claim                        7100-000                                    $13,602.47          $686,658.52
                                  1200 Bay Vista                            106, representing a Payment of
                                  Brandon, MS 39047                           6.41% per court order.)
   05/29/14           1130        Mary Baysinger                            (Interim distribution to Claim                        7100-000                                    $34,791.82          $651,866.70
                                  215 Cantrell Ave                          110, representing a Payment of
                                  Nashville, TN 37205                         6.41% per court order.)
   05/29/14           1131        Curtis Baysinger                          (Interim distribution to Claim                        7100-000                                        $672.27         $651,194.43
                                  215 Cantrell Ave                          115, representing a Payment of
                                  Nashville, TN 37205                         6.41% per court order.)
   05/29/14           1132        Bobby Isonhood                            (Interim distribution to Claim                        7100-000                                    $30,685.89          $620,508.54
                                  182 Quail Rd                              118, representing a Payment of
                                  Canton, MS 39046                            6.41% per court order.)



                                                                                   Page Subtotals:                                                             $0.00         $170,458.87
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                              3                                             4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   05/29/14           1133        Unitech, Inc.                             (Interim distribution to Claim                        7100-000                                         $46.22         $620,462.32
                                  PO Box 1703                               124, representing a Payment of
                                  Vicksburg, MS 39181                         6.41% per court order.)
   05/29/14           1134        Hill Ward Henderson                       (Interim distribution to Claim                        7100-000                                        $525.71         $619,936.61
                                  c/o Patrick Mosley                        128, representing a Payment of
                                  PO Box 231                                  6.41% per court order.)
                                  Tampa, FL 33601-2231
   05/29/14           1135        Dell Financial Services                   (Interim distribution to Claim                        7100-000                                         $15.20         $619,921.41
                                  c/o Resurgent Capital Services            129, representing a Payment of
                                  PO Box 10390                                6.41% per court order.)
                                  Greenville, SC 29603-0390
   05/29/14           1136        Mr. & Mrs. James R. Donald                (Interim distribution to Claim                        7100-000                                     $6,703.32          $613,218.09
                                  185 Oak Ridge Dr.                         130, representing a Payment of
                                  Raymond, MS 39154                           6.41% per court order.)
   05/29/14           1137        Robert Isonhood                           (Interim distribution to Claim                        7100-000                                     $6,627.87          $606,590.22
                                  4019 Meadville Rd                         131, representing a Payment of
                                  Liberty, MS 39645                           6.41% per court order.)
   05/29/14           1138        Barbara Allbritton                        (Interim distribution to Claim                        7100-000                                    $17,728.37          $588,861.85
                                  251 Swan Lake Drive                       132, representing a Payment of
                                  Jackson, Ms 39212                           9.00% per court order.)
   05/29/14           1139        Alex Breeland                             (Interim distribution to Claim                        7100-000                                     $5,840.38          $583,021.47
                                  c/o Jim F. Spencer, Jr., Esq.             53, representing a Payment of
                                  Watkins & Eager PLLC                      6.41% per court order.)
                                  P.O. Box 650
                                  Jackson, MS 39205
   05/29/14           1140        ShowsPowell PLLC                          (Interim distribution to Claim                        7100-000                                        $587.51         $582,433.96
                                  2950 Layfair Drive                        138, representing a Payment of
                                  Suite 101                                   6.41% per court order.)
                                  Flowood, MS 38232
   05/29/14           1141        Eileen Shaffer, Esq.                      (Interim distribution to Claim                        7100-000                                        $188.84         $582,245.12
                                  PO Box 1177                               139, representing a Payment of
                                  Jackson, MS 39215-1177                      6.41% per court order.)
   05/29/14           1142        Kay Wolfe                                 (Interim distribution to Claim                        7100-000                                    $26,136.73          $556,108.39
                                  1613 43rd St                              140, representing a Payment of
                                  Meridian, MS 39305                          6.41% per court order.)
   05/29/14           1143        Citibank, N.A.                            (Interim distribution to Claim                        7100-000                                         $81.99         $556,026.40
                                  701 East 60th Street North                141, representing a Payment of
                                  Sioux Falls, SD 57117                       6.41% per court order.)


                                                                                   Page Subtotals:                                                             $0.00          $64,482.14
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                               Trustee Name: DEREK A. HENDERSON                                         Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                             Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                               4                                                    5                    6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                          ($)
   05/29/14           1144        GE Money Bank                             (Interim distribution to Claim                           7100-000                                        $14.17         $556,012.23
                                  c/o Recovery Management Systems           142, representing a Payment of
                                  Corp.                                       6.42% per court order.)
                                  25 SE 2nd Avenue, Suite 1120
                                  Miami, FL 33131-1605
   05/29/14           1145        Indian Harbor Insurance Co                (Interiml distribution to Claim                          7100-000                                    $2,644.18          $553,368.05
                                  DLA Piper LLP (US)                        166, representing a Payment of
                                  c/o James R. Irving                         6.41% per court order.)
                                  203 N LaSalle St, Ste 1900
                                  Chicago, IL 60601
   05/29/14           1146        Gerald W. Martin                          (Interim distribution to Claim                           7100-000                                       $493.46         $552,874.59
                                  3103 Ginger #C                            168, representing a Payment of
                                  Costa Mesa, CA 92626                        6.41% per court order.)
   06/25/14                       Union Bank                                BANK SERVICES FEE (CHK)                                  2600-000                                    $2,309.80          $550,564.79

   07/10/14                       RICHARD M. LINGLE, PLLC                   Sale of Rental Property                                                         $1,522.06                               $552,086.85
                                  1400 Lakeover Rd., Ste. 110
                                  Jackson, MS 39213
                                                                            Gross Receipts                             $4,000.00

                                  PLLC RICHARD M. LINGLE                    Attorney's Fees                           ($1,000.00)    3210-000
                                  1400 LAKEOVER ROAD, STE. 110
                                  JACKSON, MS 39213
                                  2013 AD VALOREM TAXES                     2013 Ad Valorem Taxes                      ($992.90)     2820-000

                                  CITY TAXES                                City Taxes                                 ($485.04)     2820-000

                       58                                                   RENTAL PROPERTY - 222                      $4,000.00     1110-000
                                                                            Lea, Jackson, MS
   07/25/14                       Union Bank                                BANK SERVICES FEE (CHK)                                  2600-000                                    $1,015.83          $551,071.02

   07/31/14                       Hunt & Smith Law Firm P.A.                Sale of property                                                                   $616.44                              $551,687.46
                                  P.O. Box 1260
                                  Lake Wales, FL 33859-1260
                                                                            Gross Receipts                             $2,450.00




                                                                                   Page Subtotals:                                                          $2,138.50            $6,477.44
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                               Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                             Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                   6                       7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                           Code                                                           ($)
                                  P. A. Hunt & Smith Law Firm               Preparation of Trustee Deed for            ($250.00)     3210-000
                                  225 East Park Avenue                      Seller
                                  Lake Wales, FL 33853
                                  PLLC RICHARD M. LINGLE                    Attorney's Fees                           ($1,000.00)    3210-000
                                  1400 LAKEOVER ROAD, STE. 110
                                  JACKSON, MS 39213
                                  Tax Collector Joe G. Tedder               2012 Real Property Taxes                   ($264.22)     2820-000

                                  Tax Collector Joe G. Tedder               2013 Real Property Taxes                   ($236.82)     2820-000

                                  County Taxes 1-1-14 to 7-9-14             County Taxes 1/1/14 to 7-9-14               ($82.52)     2820-000

                       212                                                  RENTAL PROPERTY - Indian                   $2,450.00     1210-000
                                                                            Lake Estates, Indian Lakes
                                                                            Estates,
   08/04/14           1112        B. M. McEachern                           Stop Payment Acceptance                                  7100-000                                  ($6,390.73)           $558,078.19
                                  605 Parson Ave.                           Posted Manually
                                  Greenwood, MS 38930
   08/04/14           1099        Builders and Contractor of MS             Stop Payment Acceptance                                  7100-000                                      ($641.55)         $558,719.74
                                  returned 7/5/11                           Posted Manually
   08/04/14           1124        LAURA UNDERHILL                           Stop Payment Acceptance                                  7100-000                                       ($48.98)         $558,768.72
                                  19335 OLD FRIEND RD                       Posted Manually
                                  SANTA CLARITA, CA 91351
   08/08/14           1147        U.S. BANKRUPTCY COURT            Unclaimed Funds of B.M.                                           7100-000                                   $6,390.73            $552,377.99
                                  SOUTHERN DISTRICT OF MISSISSIPPI McEachern - Claim No. 71
                                  P.O. BOX 2448
                                  JACKSON, MS 39225-2448
   08/08/14           1148        U.S. BANKRUPTCY COURT            Unclaimed Funds of Builders                                       7100-000                                       $641.55          $551,736.44
                                  SOUTHERN DISTRICT OF MISSISSIPPI and Contractor of MS - Claim
                                  P.O. BOX 2448                    No. 37
                                  JACKSON, MS 39225-2448
   08/08/14           1149        U.S. BANKRUPTCY COURT            Unclaimed Funds of Laura                                          7100-000                                        $48.98          $551,687.46
                                  SOUTHERN DISTRICT OF MISSISSIPPI Underhill - Claim No. 101
                                  P.O. BOX 2448
                                  JACKSON, MS 39225-2448
   08/20/14           1138        Barbara Allbritton                        Stop Payment Acceptance                                  7100-000                                 ($17,728.37)           $569,415.83
                                  251 Swan Lake Drive                       Posted Manually
                                  Jackson, Ms 39212

                                                                                   Page Subtotals:                                                              $0.00        ($17,728.37)
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                           Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                   6                      7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)     Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   08/20/14           1101        Barbara Allbritton                        Stop Payment Acceptance                               7100-000                                    ($1,282.55)          $570,698.38
                                  251 Swan Lake Drive                       Posted Manually
                                  Jackson, Ms 39212-5337
   08/25/14           1150        Barbara Allbritton                        Interim Distribution on Claim                         7100-000                                     $1,282.55           $569,415.83
                                  Carla Renee Allbritton Donald             No. 44 per Court Order. (This
                                  185 Oak Ridge Drive                       check replaces check no.
                                  Raymond, MS 39154                         1101).
   08/25/14           1151        Barbara Allbritton                        Interim Distribution on Claim                         7100-000                                    $17,728.37           $551,687.46
                                  Carla Renee Allbritton Donald             No. 132 per Court Order. (This
                                  185 Oak Ridge Drive                       check replaces check no. 1138
                                  Raymond, MS 39154                         issued on 05/29/14).
   08/25/14                       Union Bank                                BANK SERVICES FEE (CHK)                               2600-000                                        $873.41          $550,814.05

   09/25/14                       Union Bank                                BANK SERVICES FEE (CHK)                               2600-000                                        $867.15          $549,946.90

   09/26/14           1123        Mildred Freda Hudson, and                 Stop Payment Acceptance                               7100-000                                    ($7,458.52)          $557,405.42
                                  Eva H. Lacey & Johnie Hudson              Posted Manually
                                  100 Camelia Trail
                                  Brandon, MS 39047
   09/26/14           1143        Citibank, N.A.                            Stop Payment Acceptance                               7100-000                                        ($81.99)         $557,487.41
                                  701 East 60th Street North                Posted Manually
                                  Sioux Falls, SD 57117
   09/26/14           1145        Indian Harbor Insurance Co                Stop Payment Acceptance                               7100-000                                    ($2,644.18)          $560,131.59
                                  DLA Piper LLP (US)                        Posted Manually
                                  c/o James R. Irving
                                  203 N LaSalle St, Ste 1900
                                  Chicago, IL 60601
   10/08/14           1152        U.S. BANKRUPTCY COURT                     Interim Distribution paid to                          7100-000                                     $7,458.52           $552,673.07
                                  SOUTHERN DISTRICT OF MISSISSIPPI          Mildred Freda Hudson and Eva
                                  P.O. BOX 2448                             H. Lacey & Johnie Hudson on
                                  JACKSON, MS 39225-2448                    05/29/14. Check did not clear
                                                                            the bank.
   10/08/14           1153        U.S. BANKRUPTCY COURT                     Interim Distribution check                            7100-000                                         $81.99          $552,591.08
                                  SOUTHERN DISTRICT OF MISSISSIPPI          issued to Citibank, N.A. on
                                  P.O. BOX 2448                             05/29/14. Check did not clear
                                  JACKSON, MS 39225-2448                    the bank.




                                                                                   Page Subtotals:                                                             $0.00          $16,824.75
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                                         09-01013-ee Dkt 881 Filed 12/12/17 Entered 12/12/17 09:36:47 Page 92 of 133                                                                              Page:       39

                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                             Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                            Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX5425                                                                               Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                              Separate Bond (if applicable):


       1                2                             3                                                4                                                   5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   10/08/14           1154        U.S. BANKRUPTCY COURT                     Interim Distribution check                             7100-000                                     $2,644.18          $549,946.90
                                  SOUTHERN DISTRICT OF MISSISSIPPI          issued to Indian Harbor
                                  P.O. BOX 2448                             Insurance on 05/29/14. Check
                                  JACKSON, MS 39225-2448                    did not clear the bank.
   10/27/14                       Union Bank                                BANK SERVICES FEE (CHK)                                2600-000                                        $834.01         $549,112.89

   11/25/14                       Union Bank                                BANK SERVICES FEE (CHK)                                2600-000                                        $831.74         $548,281.15

   12/11/14            221        Southern Pine Electric Power Association Capital credit retirement                               1249-000                    $60.17                              $548,341.32
                                  P.O. Box 60
                                  Taylorsville, MS 39168-0060
   12/26/14                       Union Bank                                BANK SERVICES FEE (CHK)                                2600-000                                        $789.58         $547,551.74

   01/26/15                       Union Bank                                Bank Service Fee under 11                              2600-000                                        $814.74         $546,737.00
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   01/29/15            143        Richard M. Lingle                         973 Rays Rd., Georgia                                  1110-000                 $1,000.00                              $547,737.00
                                  1400 Lakeover Rd., Ste. 110               This property was sold and
                                  Jackson, MS 39213                         $2,500.00 was deposited in
                                                                            MTW case on 3/21/11. There
                                                                            was a problem with the title and
                                                                            this money is to resolve the
                                                                            issue.
   02/25/15                       Union Bank                                Bank Service Fee under 11                              2600-000                                        $813.69         $546,923.31
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/25/15                       Union Bank                                Bank Service Fee under 11                              2600-000                                        $735.16         $546,188.15
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/26/15           1155        DEREK A. HENDERSON                        2015 Blanket Bond                                      2300-000                                        $276.64         $545,911.51
                                  1765-A LELIA DRIVE, SUITE 103
                                  JACKSON, MS 39216
   04/27/15                       Union Bank                                Bank Service Fee under 11                              2600-000                                        $812.63         $545,098.88
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)




                                                                                   Page Subtotals:                                                          $1,060.17           $8,552.37
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                                 Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                               Bank Name: Union Bank
                                                                                                                    Account Number/CD#: XXXXXX9184
                                                                                                                                              Checking Account
  Taxpayer ID No: XX-XXX5425                                                                                Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction                 Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                             Code                                                         ($)
   04/29/15                       Wagner Law Group, LLC                     Sale of 5364 Flat Shoals                                                          $7,395.58                              $552,494.46
                                  2801 Buford Highway                       Parkway, Decatur, GA
                                  Suite 480
                                  Atlanta, GA 30329
                                                                            Gross Receipts                              $15,150.00

                                  TAYLOR AUCTION & REALTY, INC.             Auctioneer Fees                             ($1,480.00)    3610-000
                                  15229 HWY. 51 NORTH
                                  GRENADA, MS 38901
                                  Chapman Hall Premier Realtors             Realtor Fees                                 ($370.00)     3510-000

                                  RICHARD LINGLE ESQ                        Attorney's Fees                             ($1,000.00)    3210-000
                                  P.O. BOX 1928
                                  JACKSON, MS 39215-1928
                                  CLOSING COSTS                             10% Seller Credit for Damages               ($2,035.00)    2500-000

                                  County Taxes                              1/1/15 to4/24/15                             ($195.61)     2820-000

                                  2012 County Taxes                         2012 County Taxes                           ($1,122.91)    2820-000

                                  2013 County Taxes                         2013 County Taxes                            ($813.58)     2820-000

                                  2014 County Taxes                         2014 County Taxes                            ($737.32)     2820-000

                       129                                                  LIQUIDATED CLAIMS - 5364                    $15,150.00     1110-000
                                                                            Flat Shoals, Decatur, GA
   04/29/15                       Wagner Law Group, LLC                     Sale of 2070 Hilburn Drive,                                                     $19,151.32                               $571,645.78
                                  2801 Buford Highway                       Atlanta, GA
                                  Suite 480
                                  Atlanta, GA
                                                                            Gross Receipts                              $84,150.00

                                  TAYLOR AUCTION & REALTY, INC.             Auctioneer Fees                             ($6,120.00)    3610-000
                                  15229 HWY. 51 NORTH
                                  GRENADA, MS 38901
                                  Chapman Hall Premier Realtors             Realtor Fees                                ($1,530.00)    3510-000



                                                                                   Page Subtotals:                                                          $26,546.90                 $0.00
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                                  Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                                Bank Name: Union Bank
                                                                                                                    Account Number/CD#: XXXXXX9184
                                                                                                                                               Checking Account
  Taxpayer ID No: XX-XXX5425                                                                                Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                      5                   6                     7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction                  Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                              Code                                                         ($)
                                  RICHARD LINGLE ESQ                        Attorney's Fees                              ($1,000.00)    3210-000
                                  P.O. BOX 1928
                                  JACKSON, MS 39215-1928
                                  CLOSING COSTS                             Payoff of first mortgage loan               ($29,968.88)    2500-000

                                  CLOSING COSTS                             Vandalism Credit per 2013                   ($12,000.00)    2500-000
                                                                            Agreement
                                  CLOSING COSTS                             10% Seller Credit for Damages                ($8,415.00)    2500-000

                                  County Taxes                              1/1/15 to 4/24/15                             ($488.01)     2820-000

                                  2012 County Taxes                         2012 County Taxes                            ($1,785.20)    2820-000

                                  2013 County Taxes                         2013 County Taxes                            ($1,975.79)    2820-000

                                  2014 County Taxes                         2014 County Taxes                            ($1,715.80)    2820-000

                       128                                                  LIQUIDATED CLAIMS - 2070                     $84,150.00     1110-000
                                                                            Hilburn, Atlanta, GA
   05/05/15            129        Wagner Law Group                          Earnest Money from Rays                                     1110-000               $5,200.00                              $576,845.78
                                                                            Road
   05/14/15                       Wagner Law Group, LLC                     Sale of 2070 Hilburn Drive,                                                      $19,151.32                               $595,997.10
                                  2801 Buford Highway                       Atlanta, GA
                                  Suite 480
                                  Atlanta, GA
                                                                            Gross Receipts                               $84,150.00

                                  TAYLOR AUCTION & REALTY, INC.             Auctioneer Fees                              ($6,120.00)    3610-000

                                  Chapman Hall Premier Realtors             Realtor Fees                                 ($1,530.00)    3510-000

                                  RICHARD LINGLE ESQ                        Attorney's Fees                              ($1,000.00)    3210-000

                                  CLOSING COSTS                             Payoff of first mortgage loan               ($29,968.88)    2500-000




                                                                                   Page Subtotals:                                                           $24,351.32                 $0.00
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                                  Trustee Name: DEREK A. HENDERSON                                       Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                                Bank Name: Union Bank
                                                                                                                    Account Number/CD#: XXXXXX9184
                                                                                                                                               Checking Account
  Taxpayer ID No: XX-XXX5425                                                                                Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                      5                  6                     7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction                  Uniform Tran.     Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                              Code                                                        ($)
                                  CLOSING COSTS                             Vandalism Credit per 2013                   ($12,000.00)    2500-000
                                                                            Agreement
                                  CLOSING COSTS                             10% Seller Credit for Damages                ($8,415.00)    2500-000

                                  County Taxes                              1/1/15 to 4/24/15                             ($488.01)     2820-000

                                  2012 County Taxes                         2012 County Taxes                            ($1,785.20)    2820-000

                                  2013 County Taxes                         2013 County Taxes                            ($1,975.79)    2820-000

                                  2014 County Taxes                         2014 County Taxes                            ($1,715.80)    2820-000

                       128                                                  LIQUIDATED CLAIMS - 2070                     $84,150.00     1110-000
                                                                            Hilburn, Atlanta, GA
   05/14/15                       Wagner Law Group, LLC                     Sale of 2070 Hilburn Drive,                                                    ($19,151.32)                              $576,845.78
                                  2801 Buford Highway                       Atlanta, GA Reversal
                                  Suite 480                                 This wire deposit was added
                                  Atlanta, GA                               again in error. I wanted to make
                                                                            a copy of this for my file, but
                                                                            when I did the option of "Copy
                                                                            Transaction" it added the
                                                                            deposit again. This was not
                                                                            what I needed to do.
                                                                            Gross Receipts                              ($84,150.00)

                                  TAYLOR AUCTION & REALTY, INC.             Auctioneer Fees                               $6,120.00     3610-000

                                  Chapman Hall Premier Realtors             Realtor Fees                                  $1,530.00     3510-000

                                  RICHARD LINGLE ESQ                        Attorney's Fees                               $1,000.00     3210-000

                                  CLOSING COSTS                             Payoff of first mortgage loan                $29,968.88     2500-000

                                  CLOSING COSTS                             Vandalism Credit per 2013                    $12,000.00     2500-000
                                                                            Agreement
                                  CLOSING COSTS                             10% Seller Credit for Damages                 $8,415.00     2500-000


                                                                                   Page Subtotals:                                                         ($19,151.32)                $0.00
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                                Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                              Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                             Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                               4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                         ($)
                                  County Taxes                              1/1/15 to 4/24/15                             $488.01     2820-000

                                  2012 County Taxes                         2012 County Taxes                           $1,785.20     2820-000

                                  2013 County Taxes                         2013 County Taxes                           $1,975.79     2820-000

                                  2014 County Taxes                         2014 County Taxes                           $1,715.80     2820-000

                                                                            LIQUIDATED CLAIMS - 2070                  ($84,150.00)    1110-000
                                                                            Hilburn, Atlanta, GA
   05/26/15                       Union Bank                                Bank Service Fee under 11                                 2600-000                                      $787.60         $576,058.18
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   06/25/15                       Union Bank                                Bank Service Fee under 11                                 2600-000                                      $856.14         $575,202.04
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/27/15                       Union Bank                                Bank Service Fee under 11                                 2600-000                                      $828.33         $574,373.71
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   08/25/15                       Union Bank                                Bank Service Fee under 11                                 2600-000                                      $854.72         $573,518.99
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   09/14/15            213        Taylor Auction & Realty, Inc.             1/2 of the escrow funds                                   1290-000               $6,562.50                              $580,081.49
                                  15488 Hwy. 51 North                       forfeited on 6 Alabama
                                  Grenada, MS 38901                         properties
   09/25/15                       Union Bank                                Bank Service Fee under 11                                 2600-000                                      $853.40         $579,228.09
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   10/26/15                       Union Bank                                Bank Service Fee under 11                                 2600-000                                      $829.71         $578,398.38
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   11/25/15                       Union Bank                                Bank Service Fee under 11                                 2600-000                                      $860.67         $577,537.71
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   12/28/15                       Union Bank                                Bank Service Fee under 11                                 2600-000                                      $831.69         $576,706.02
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)

                                                                                   Page Subtotals:                                                           $6,562.50           $6,702.26
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                                 Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                               Bank Name: Union Bank
                                                                                                                    Account Number/CD#: XXXXXX9184
                                                                                                                                              Checking Account
  Taxpayer ID No: XX-XXX5425                                                                                Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction                 Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                             Code                                                         ($)
   01/25/16                       Union Bank                                Bank Service Fee under 11                                  2600-000                                      $858.24         $575,847.78
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   02/25/16                       Union Bank                                Bank Service Fee under 11                                  2600-000                                      $854.53         $574,993.25
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/14/16           1156        DEREK A. HENDERSON                        2016 Blanket Bond                                          2300-000                                      $262.81         $574,730.44
                                  1765-A LELIA DRIVE, SUITE 103
                                  JACKSON, MS 39216
   03/25/16                       Union Bank                                Bank Service Fee under 11                                  2600-000                                      $798.27         $573,932.17
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/31/16                       RICHARD M. LINGLE, PLLC                   Sale of 2704 3rd Place NW,                                                      $23,300.00                               $597,232.17
                                  1400 LAKEOVER RD., STE. 110               Birmingham, AL
                                  JACKSON, MS 39213
                                                                            Gross Receipts                              $25,000.00

                                  RICHARD LINGLE ESQ                        Attorney's Fees                             ($1,000.00)    3210-000
                                  P.O. BOX 1928
                                  JACKSON, MS 39215-1928
                                  Magic City Title                          Title Certification                          ($700.00)     2500-000

                       215                                                  Rental Property - 2704 3rd                  $25,000.00     1110-000
                                                                            Place NW, Birmingham, AL
   03/31/16                       RICHARD M. LINGLE, PLLC                   Sale of 2815 Arrowhead Dr.,                                                       $4,650.00                              $601,882.17
                                  1400 LAKEOVER RD., STE. 110               Birmingham, AL
                                  JACKSON, MS 39213
                                                                            Gross Receipts                              $10,000.00

                                  RICHARD LINGLE ESQ                                                                    ($1,000.00)    3210-000
                                  P.O. BOX 1928
                                  JACKSON, MS 39215-1928
                                  Alabama Title Co.                         Title Certification                          ($350.00)     2500-000

                                  EARNEST MONEY                             Earnest Money                               ($4,000.00)    2500-000




                                                                                    Page Subtotals:                                                         $27,950.00            $2,773.85
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                              Trustee Name: DEREK A. HENDERSON                                         Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                             Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                    6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                Uniform Tran.     Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                          ($)
                       214                                                  Rental Property - 2815                    $10,000.00    1110-000
                                                                            Arrowhead Dr., Birmingham, AL
   04/18/16           1157        InvestLinc/TFS Fund                       Secured Creditor                                        4110-000                                   $23,300.00          $578,582.17

   04/25/16                       Union Bank                                Bank Service Fee under 11                               2600-000                                       $851.89         $577,730.28
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   05/25/16                       Union Bank                                Bank Service Fee under 11                               2600-000                                       $860.88         $576,869.40
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   06/27/16                       Union Bank                                Bank Service Fee under 11                               2600-000                                       $856.05         $576,013.35
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/22/16            216        Earthlink, LLC                            DLT Refund                                              1229-000                  $596.46                              $576,609.81
                                  117 Peachtree St., NE,
                                  Ste. 900
                                  Atlanta, GA 30309
   07/25/16                       Union Bank                                Bank Service Fee under 11                               2600-000                                       $827.31         $575,782.50
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   08/25/16                       Union Bank                                Bank Service Fee under 11                               2600-000                                       $853.71         $574,928.79
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   09/20/16            219        STEADIVEST PROPERTIES LLC                 Liquidation of Steadivest                               1222-000             $63,904.41                                $638,833.20
                                  OPERATING ACCOUNT                         Properties, LLC

   09/20/16            220        PARKWAY REALTY PROPERTY                   Rent                                                    1222-000                  $500.50                              $639,333.70
                                  MANAGEMENT
                                  1540 CENTER POINT PKWY., SUITE
                                  101
                                  BIRMINGHAM, AL 35215
   09/20/16            220        PARKWAY REALTY PROPERTY                   Rent                                                    1222-000                  $922.74                              $640,256.44
                                  MANAGEMENT
                                  1540 CENTER POINT PKWY., SUITE
                                  101
                                  BIRMINGHAM, AL 35215




                                                                                   Page Subtotals:                                                       $65,924.11            $27,549.84
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                              Trustee Name: DEREK A. HENDERSON                                         Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                            Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX9184
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX5425                                                                             Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                    6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction                 Uniform Tran.     Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                          ($)
   09/20/16            220        PARKWAY REALTY PROPERTY                   Rent                                                    1222-000               $1,344.98                               $641,601.42
                                  MANAGEMENT
                                  1540 CENTER POINT PKWY., SUITE
                                  101
                                  BIRMINGHAM, AL 35215
   09/20/16            220        PARKWAY REALTY PROPERTY                   Rent                                                    1222-000               $1,259.44                               $642,860.86
                                  MANAGEMENT
                                  1540 CENTER POINT PKWY., SUITE
                                  101
                                  BIRMINGHAM, AL 35215
   09/20/16            220        PARKWAY REALTY PROPERTY                   Rent                                                    1222-000                  $360.81                              $643,221.67
                                  MANAGEMENT
                                  1540 CENTER POINT PKWY., SUITE
                                  101
                                  BIRMINGHAM, AL 35215
   09/26/16                       Union Bank                                Bank Service Fee under 11                               2600-000                                       $853.16         $642,368.51
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   10/04/16            220        PARKWAY REALTY PROPERTY           Rent                                                            1222-000                  $500.50                              $642,869.01
                                  MANAGEMENT
                                  1540 CENTER POINT PKWY. SUITE 101
                                  BIRMINGHAM, AL 35215
   10/25/16                       SURETY LAND TITLE, INC.                   Sale of 663 Johnston Avenue,                                                   $3,248.76                               $646,117.77
                                  ESCROW ACCOUNT                            Mobile, AL
                                  5909 AIRPORT BLVD.
                                  MOBILE, AL 36608
                                                                            Gross Receipts                           $10,500.00

                                  Closing Costs - 663 Johnston Ave.,                                                 ($7,251.24)    2990-000
                                  Mobile, AL

                       87                                                   RENTAL PROPERTY - 663                    $10,500.00     1110-000
                                                                            Johnston Ave, Mobile, AL
   10/25/16                       Union Bank                                Bank Service Fee under 11                               2600-000                                       $857.14         $645,260.63
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)




                                                                                   Page Subtotals:                                                         $6,714.49            $1,710.30
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                                Trustee Name: DEREK A. HENDERSON                                         Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                              Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                             Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                      5                    6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                          ($)
   11/03/16            220        PARKWAY REALTY PROPERTY                   Rent                                                      1222-000                  $501.41                              $645,762.04
                                  MANAGEMENT
                                  1540 CENTER POINT PKWY., SUITE
                                  101
                                  BIRMINGHAM, AL 35215
   11/25/16                       Union Bank                                Bank Service Fee under 11                                 2600-000                                       $953.41         $644,808.63
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   12/05/16            220        PARKWAY REALTY PROPERTY                   Rent                                                      1222-000                  $500.50                              $645,309.13
                                  MANAGEMENT
                                  1540 CENTER POINT PKWY., SUITE
                                  101
                                  BIRMINGHAM, AL 35215
   12/27/16           1159        TAYLOR, BENNY                             Auctioneer for Trustee Fees                                                                         ($19,500.80)         $664,809.93
                                  TAYLOR AUCTION & REALTY, INC.             and Expenses per Court Order
                                  P.O. BOX 357                              12/22/16 Reversal
                                  GRENADA, MS 38902-0357                    Check was made out
                                                                            incorrectly. It had payee's last
                                                                            name first. Corrected to make
                                                                            name print out correctly.
                                  TAYLOR, BENNY                             Auctioneer for Trustee Fees                $17,350.00     3610-000

                                  TAYLOR, BENNY                             Auctioneer for Trustee                      $2,150.80     3620-000
                                                                            Expenses
   12/27/16                       Union Bank                                Bank Service Fee under 11                                 2600-000                                       $925.95         $663,883.98
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   12/27/16           1158        DEREK A. HENDERSON                        Attorney for Trustee Fees and                                                                        $15,647.85          $648,236.13
                                  1765-A LELIA DRIVE, SUITE 103             Expenses per Court Order
                                  JACKSON, MS 39216                         12/22/16.
                                  DEREK A. HENDERSON                        Attorney for Trustee Fees                 ($11,687.50)    3110-000

                                  DEREK A. HENDERSON                        Attorney for Trustee Expenses              ($3,960.35)    3120-000

   12/27/16           1159        TAYLOR, BENNY                             Auctioneer for Trustee Fees                                                                          $19,500.80          $628,735.33
                                  TAYLOR AUCTION & REALTY, INC.             and Expenses per Court Order
                                  P.O. BOX 357                              12/22/16
                                  GRENADA, MS 38902-0357



                                                                                   Page Subtotals:                                                           $1,001.91           $17,527.21
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                                Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                              Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                             Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                      5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                         ($)
                                  TAYLOR, BENNY                             Auctioneer for Trustee Fees               ($17,350.00)    3610-000

                                  TAYLOR, BENNY                             Auctioneer for Trustee                     ($2,150.80)    3620-000
                                                                            Expenses
   12/27/16           1160        BENNY TAYLOR                              Auctioneer for Trustee Fees                                                                         $19,500.80          $609,234.53
                                  TAYLOR AUCTION & REALTY, INC.             and Expenses per Court Order
                                  P.O. BOX 357                              12/22/16.
                                  GRENADA, MS 38902-0357
                                  BENNY TAYLOR                              Auctioneer for Trustee Fees               ($17,350.00)    3610-000

                                  BENNY TAYLOR                              Auctioneer for Trustee                     ($2,150.80)    3620-000
                                                                            Expenses
   01/05/17           1161        LINGLE, RICHARD M.                        Attorney fees and expenses                                                                         ($86,263.55)         $695,498.08
                                  P.O. BOX 1928                             per Court Order 01/04/17.
                                  JACKSON, MS 39215-1928                    Reversal
                                                                            Payee's name was listed as
                                                                            Lingle, Richard M. Check
                                                                            corrected to read as Richard M.
                                                                            Lingle.
                                  LINGLE, RICHARD M.                        Attorney's Fees                            $81,900.00     3210-000

                                  LINGLE, RICHARD M.                        Attorney's Expenses                         $4,363.55     3220-000

   01/05/17           1161        LINGLE, RICHARD M.                        Attorney fees and expenses                                                                          $86,263.55          $609,234.53
                                  P.O. BOX 1928                             per Court Order 01/04/17.
                                  JACKSON, MS 39215-1928
                                  LINGLE, RICHARD M.                        Attorney's Fees                           ($81,900.00)    3210-000

                                  LINGLE, RICHARD M.                        Attorney's Expenses                        ($4,363.55)    3220-000

   01/05/17           1162        RICHARD M. LINGLE                         Attorney fees and expenses                                                                          $86,263.55          $522,970.98
                                  P.O. BOX 1928                             per Court Order 01/04/17.
                                  JACKSON, MS 39215-1928
                                  RICHARD M. LINGLE                         Attorney's Fees                           ($81,900.00)    3210-000

                                  RICHARD M. LINGLE                         Attorney's Expenses                        ($4,363.55)    3220-000




                                                                                   Page Subtotals:                                                               $0.00         $105,764.35
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                               Trustee Name: DEREK A. HENDERSON                                           Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                              Bank Name: Union Bank
                                                                                                                    Account Number/CD#: XXXXXX9184
                                                                                                                                              Checking Account
  Taxpayer ID No: XX-XXX5425                                                                                 Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                                Separate Bond (if applicable):


       1                2                             3                                               4                                                      5                    6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction                Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                            ($)
   02/13/17            220        Parkway Realty Property Management        Rent                                                     1222-000                    $357.63                              $523,328.61
                                  1540 Center Point Pkwy. Suite 101
                                  Birmingham, AL 35215

   02/13/17            220        Parkway Realty Property Management        Rent                                                     1222-000                     $45.96                              $523,374.57
                                  1540 Center Point Pkwy., Suite 101
                                  Birmingham, AL 35215
   02/20/17           1163        DEREK A. HENDERSON                        2017 Blanket Bond per Court                              2300-000                                         $200.27         $523,174.30
                                  1765-A LELIA DRIVE, SUITE 103             Order 02/15/17.
                                  JACKSON, MS 39216
   06/22/17           1164        DEREK A. HENDERSON                        Final distribution representing a                        2100-000                                    $112,037.57          $411,136.73
                                  1765-A LELIA DRIVE, SUITE 103             payment of 100.00 % per court
                                  JACKSON, MS 39216                         order.
   06/22/17           1165        DEREK A. HENDERSON                        Final distribution representing a                        2200-000                                         $239.40         $410,897.33
                                  1765-A LELIA DRIVE, SUITE 103             payment of 100.00 % per court
                                  JACKSON, MS 39216                         order.
   06/22/17           1166        Harris Jernigan & Geno                    Final distribution to claim 59                           3210-000                                         $897.00         $410,000.33
                                  587 Highland Colony Parkway               representing a payment of
                                  P.O. Box 33801                            100.00 % per court order.
                                  Ridgeland, MS 39158-3380                  Talked with Brenda in Craig
                                                                            Geno's office. She said that
                                                                            Craig could not find the check
                                                                            and requested that it be
                                                                            reissued.
   06/22/17           1167        Harris Jernigan & Geno                    Final distribution to claim 59                           6110-000                                      $7,627.40          $402,372.93
                                  587 Highland Colony Parkway (39157)       representing a payment of
                                  PO Box 3380                               100.00 % per court order.
                                  Ridgeland, MS 39158-3380
   06/22/17           1168        MARILYN E. WOOD                           Final distribution to claim 156                          5800-000                                          $76.20         $402,296.73
                                  REVENUE COMMISSIONER, MOBILE              representing a payment of
                                  CO                                        100.00 % per court order.
                                  PO DRAWER 1169
                                  MOBILE, AL 36633-1169
   06/22/17           1169        Terry Bailey                              Final distribution to claim 3                            7100-000                                     $11,325.98          $390,970.75
                                  130 Raintree Rd.                          representing a payment of
                                  Madison, MS 39110                         11.69 % per court order.
   06/22/17           1170        Grant or Mason Gray                       Final distribution to claim 8                            7100-000                                         $501.04         $390,469.71
                                  312 Airport Rd.                           representing a payment of
                                  Pearl, MS 39208                           11.69 % per court order.

                                                                                    Page Subtotals:                                                              $403.59         $132,904.86
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                               Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                              Bank Name: Union Bank
                                                                                                                    Account Number/CD#: XXXXXX9184
                                                                                                                                              Checking Account
  Taxpayer ID No: XX-XXX5425                                                                                 Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                                Separate Bond (if applicable):


       1                2                             3                                               4                                                      5                   6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction                Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                           ($)
   06/22/17           1171        Grant Gray                                Final distribution to claim 9                            7100-000                                        $885.90         $389,583.81
                                  312 Airport Rd.                           representing a payment of
                                  Pearl, MS 39208                           11.69 % per court order.
   06/22/17           1172        Rosalyn Gray                              Final distribution to claim 10                           7100-000                                     $1,098.20          $388,485.61
                                  187 Thomasville Rd.                       representing a payment of
                                  Florence, MS 39073                        11.69 % per court order.
   06/22/17           1173        Brian S. Smith                            Final distribution to claim 16                           7100-000                                        $474.67         $388,010.94
                                  3012 Edwards Dr.                          representing a payment of
                                  Plano, TX 75025                           11.69 % per court order.
   06/22/17           1174        John D. Smith                             Final distribution to claim 24                           7100-000                                     $4,141.61          $383,869.33
                                  309 Noble Dr.                             representing a payment of
                                  Brookhaven, MS 39601                      11.69 % per court order.
   06/22/17           1175        Grant or Mason Gray                       Final distribution to claim 27                           7100-000                                        $501.04         $383,368.29
                                  312 Airport Rd.                           representing a payment of
                                  Pearl, MS 39208                           11.69 % per court order.
   06/22/17           1176        Danny Gray                                Final distribution to claim 34                           7100-000                                     $1,343.62          $382,024.67
                                  c/o Jim F. Spencer, Jr., Esq.             representing a payment of
                                  Watkins & Eager PLLC                      11.69 % per court order.
                                  P.O. Box 650
                                  Jackson, MS 39205
   06/22/17           1177        Scott Stevens                             Final distribution to claim 35                           7100-000                                    $26,780.21          $355,244.46
                                  PO Box 1285                               representing a payment of
                                  Cabot, AR 72023                           11.69 % per court order.
   06/22/17           1178        Linda Matthews                            Final distribution to claim 36                           7100-000                                     $7,364.56          $347,879.90
                                  PO Box 1285                               representing a payment of
                                  Cabot, AR 72023                           11.69 % per court order.
   06/22/17           1179        Builders and Contractor of MS.            Final distribution to claim 37                           7100-000                                        $268.84         $347,611.06
                                  returned 7/5/11                           representing a payment of
                                                                            11.69 % per court order.
   06/22/17           1180        Charles Peoples                           Final distribution to claim 39                           7100-000                                        $671.82         $346,939.24
                                  3913 Underwood Dr.                        representing a payment of
                                  Flowood, MS 39232                         11.69 % per court order.
   06/22/17           1181        Barbara Allbritton                        Final distribution to claim 44                           7100-000                                        $537.46         $346,401.78
                                  Carla Renee Allbritton Donald             representing a payment of
                                  185 Oak Ridge Drive                       11.69 % per court order.
                                  Raymond, MS 39154




                                                                                    Page Subtotals:                                                               $0.00          $44,067.93
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                                Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                               Bank Name: Union Bank
                                                                                                                     Account Number/CD#: XXXXXX9184
                                                                                                                                               Checking Account
  Taxpayer ID No: XX-XXX5425                                                                                  Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                                 Separate Bond (if applicable):


       1                2                             3                                                4                                                      5                   6                     7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction                Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                           ($)
   06/22/17           1182        Mike Yarbro, Sue Yarbro, MYSY Rental,      Final distribution to claim 47                           7100-000                                    $27,684.13          $318,717.65
                                  Inc.                                       representing a payment of
                                  c/o Jim F. Spencer, Jr., Esq.              11.69 % per court order.
                                  Watkins & Eager PLLC
                                  P.O. Box 650
                                  Jackson, MS 39205
   06/22/17           1183        Richard Lacey                              Final distribution to claim 48                           7100-000                                     $5,374.51          $313,343.14
                                  c/o Jim F. Spencer, Jr., Esq.              representing a payment of
                                  Watkins & Eager PLLC                       11.69 % per court order.
                                  P.O. Box 650
                                  Jackson, MS 39205
   06/22/17           1184        Raymond Montgomery, Jr.                    Final distribution to claim 51                           7100-000                                        $268.72         $313,074.42
                                  c/o Jim F. Spencer, Jr., Esq.              representing a payment of
                                  Watkins & Eager PLLC                       11.69 % per court order.
                                  P.O. Box 650
                                  Jackson, MS 39205
   06/22/17           1185        Lee Alex Breland                           Final distribution to claim 54                           7100-000                                    $22,264.47          $290,809.95
                                  c/o Jim F. Spencer, Jr., Esq.              representing a payment of
                                  Watkins & Eager PLLC                       11.69 % per court order.
                                  P.O. Box 650
                                  Jackson, MS 39205
   06/22/17           1186        Arthur "Jay" Warren and Karen Warren, III Final distribution to claim 55                            7100-000                                     $2,942.14          $287,867.81
                                  c/o Jim F. Spencer, Jr., Esq.             representing a payment of
                                  Watkins & Eager PLLC                      11.69 % per court order.
                                  P.O. Box 650
                                  Jackson, MS 39205
   06/22/17           1187        Kathryn Breeland                           Final distribution to claim 57                           7100-000                                     $2,042.66          $285,825.15
                                  216 Crescent Ridge Dr.                     representing a payment of
                                  Madison, MS 39110                          11.69 % per court order.
   06/22/17           1188        Wells Marble & Hurst                       Final distribution to claim 60                           7100-000                                        $363.26         $285,461.89
                                  PO Box 131                                 representing a payment of
                                  Jackson, MS 39205-0131                     11.69 % per court order.
   06/22/17           1189        Gloria Irwin                               Final distribution to claim 69                           7100-000                                     $1,343.62          $284,118.27
                                  6 Southwood Blvd                           representing a payment of
                                  Clinton, MS 39056                          11.69 % per court order.
   06/22/17           1190        Clyde D. Lacey                             Final distribution to claim 70                           7100-000                                     $1,609.85          $282,508.42
                                  100 Camelia Trail                          representing a payment of
                                  Brandon, MS 39047                          11.69 % per court order.



                                                                                     Page Subtotals:                                                               $0.00          $63,893.36
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                               Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                              Bank Name: Union Bank
                                                                                                                    Account Number/CD#: XXXXXX9184
                                                                                                                                              Checking Account
  Taxpayer ID No: XX-XXX5425                                                                                 Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                                Separate Bond (if applicable):


       1                2                              3                                              4                                                      5                   6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction                Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                           ($)
   06/22/17           1191        B. M. McEachern                           Final distribution to claim 71                           7100-000                                     $2,678.03          $279,830.39
                                  Billy Cook, Jr., Executor                 representing a payment of
                                  c/o Dilks & Knopik, LLC                   11.69 % per court order.
                                  35308 SE Center Street
                                  Snoqualmie, WA 98065
   06/22/17           1192        Tim Davis                                 Final distribution to claim 72                           7100-000                                        $838.85         $278,991.54
                                  2887 VFW Rd.                              representing a payment of
                                  Leland, MS 38756                          11.69 % per court order.
   06/22/17           1193        Bobby Isonhood                            Final distribution to claim 76                           7100-000                                    $14,011.39          $264,980.15
                                  182 Quail Rd                              representing a payment of
                                  Canton, MS 39046                          11.69 % per court order.
   06/22/17           1194        Anita Green                               Final distribution to claim 78                           7100-000                                     $2,113.06          $262,867.09
                                  104 Sherwood Dr.                          representing a payment of
                                  Brandon, MS 39047                         11.69 % per court order.
   06/22/17           1195        Danny Gray, Huey C. Harpe, and Vinson     Final distribution to claim 79                           7100-000                                     $1,568.90          $261,298.19
                                  C.Gray                                    representing a payment of
                                  c/o Jim F. Spencer, Jr., Esq.             11.69 % per court order.
                                  Watkins & Eager PLLC
                                  P.O. Box 650
                                  Jackson, MS 39205
   06/22/17           1196        James Williams                            Final distribution to claim 80                           7100-000                                     $1,341.33          $259,956.86
                                  265 Goodman Rd.                           representing a payment of
                                  Pelahatchie, MS 39145-2962                11.69 % per court order.
   06/22/17           1197        Patricia Williams                         Final distribution to claim 81                           7100-000                                     $1,341.33          $258,615.53
                                  265 Goodman Rd.                           representing a payment of
                                  Pelahatchie, MS 39145-2962                11.69 % per court order.
   06/22/17           1198        Heather Depta                             Final distribution to claim 87                           7100-000                                     $1,406.31          $257,209.22
                                  4837 Summit Road Rd                       representing a payment of
                                  Valdosta, GA 31602                        11.69 % per court order.
   06/22/17           1199        Eva and Rick Lacey                        Final distribution to claim 89                           7100-000                                     $7,451.09          $249,758.13
                                  c/o Jim F. Spencer, Jr., Esq.             representing a payment of
                                  Watkins & Eager PLLC                      11.69 % per court order.
                                  P.O. Box 650
                                  Jackson, MS 39205
   06/22/17           1200        B. G. Lacey                               Final distribution to claim 90                           7100-000                                        $818.91         $248,939.22
                                  c/o Jim F. Spencer, Jr., Esq.             representing a payment of
                                  Watkins & Eager PLLC                      11.69 % per court order.
                                  P.O. Box 650
                                  Jackson, MS 39205

                                                                                    Page Subtotals:                                                               $0.00          $33,569.20
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                               Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                              Bank Name: Union Bank
                                                                                                                    Account Number/CD#: XXXXXX9184
                                                                                                                                              Checking Account
  Taxpayer ID No: XX-XXX5425                                                                                 Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                                Separate Bond (if applicable):


       1                2                             3                                               4                                                      5                   6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction                Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                           ($)
   06/22/17           1201        Raymond Montgomery, Jr.                   Final distribution to claim 91                           7100-000                                    $20,864.43          $228,074.79
                                  c/o Jim F. Spencer, Jr., Esq.             representing a payment of
                                  Watkins & Eager PLLC                      11.69 % per court order.
                                  P.O. Box 650
                                  Jackson, MS 39205
   06/22/17           1202        Mildred Freda Hudson, and                 Final distribution to claim 94                           7100-000                                     $3,125.48          $224,949.31
                                  Eva H. Lacey & Johnie Hudson              representing a payment of
                                  100 Camelia Trail                         11.69 % per court order.
                                  Brandon, MS 39047
   06/22/17           1203        The InvestLinc/TFS Income Fund LLC        Final distribution to claim 95                           7100-000                                   $158,845.39           $66,103.92
                                  Paul M Ellis Esq                          representing a payment of
                                  Butler Snow                               11.69 % per court order.
                                  PO Box 22567
                                  Jackson, MS 39225-2567
   06/22/17           1204        Laura Underhill                           Final distribution to claim 101                          7100-000                                         $20.52          $66,083.40
                                  19335 Old Friend Road                     representing a payment of
                                  Santa Clarita, CA 91351                   11.69 % per court order.
   06/22/17           1205        Claude B. Smith                           Final distribution to claim 102                          7100-000                                     $5,511.98           $60,571.42
                                  3090 Pearlie Dr. NW                       representing a payment of
                                  Brookhaven, MS 39601                      11.69 % per court order.
   06/22/17           1206        Robert H. Compton                         Final distribution to claim 103                          7100-000                                     $1,339.00           $59,232.42
                                  obo Eleanor Hinson                        representing a payment of
                                  P O Box 845                               11.69 % per court order.
                                  Meridian, MS 39302-0845
   06/22/17           1207        Jack & Toni Williams                      Final distribution to claim 104                          7100-000                                     $4,017.03           $55,215.39
                                  1202 Martin Dr.                           representing a payment of
                                  Brandon, MS 39047                         11.69 % per court order.
   06/22/17           1208        Natalie Dautenhahm                        Final distribution to claim 105                          7100-000                                     $3,131.87           $52,083.52
                                  6041 Santo Domingo Dr.                    representing a payment of
                                  Farmington, NM 87402-3093                 11.69 % per court order.
   06/22/17           1209        Natalie Dautenhahm                        Final distribution to claim 106                          7100-000                                     $5,700.08           $46,383.44
                                  1200 Bay Vista                            representing a payment of
                                  Brandon, MS 39047                         11.69 % per court order.
   06/22/17           1210        Mary Baysinger                            Final distribution to claim 110                          7100-000                                    $14,579.42           $31,804.02
                                  215 Cantrell Ave                          representing a payment of
                                  Nashville, TN 37205                       11.69 % per court order.




                                                                                    Page Subtotals:                                                               $0.00         $217,135.20
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                             Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX9184
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX5425                                                                               Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                              Separate Bond (if applicable):


       1                2                             3                                               4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   06/22/17           1211        Curtis Baysinger                          Final distribution to claim 115                        7100-000                                        $281.72          $31,522.30
                                  215 Cantrell Ave                          representing a payment of
                                  Nashville, TN 37205                       11.69 % per court order.
   06/22/17           1212        Bobby Isonhood                            Final distribution to claim 118                        7100-000                                    $12,858.85           $18,663.45
                                  182 Quail Rd                              representing a payment of
                                  Canton, MS 39046                          11.69 % per court order.
   06/22/17           1213        Unitech, Inc.                             Final distribution to claim 124                        7100-000                                         $19.38          $18,644.07
                                  PO Box 1703                               representing a payment of
                                  Vicksburg, MS 39181                       11.69 % per court order.
   06/22/17           1214        Hill Ward Henderson                       Final distribution to claim 128                        7100-000                                        $220.30          $18,423.77
                                  c/o Patrick Mosley                        representing a payment of
                                  PO Box 231                                11.69 % per court order.
                                  Tampa, FL 33601-2231
   06/22/17           1215        Dell Financial Services                   Final distribution to claim 129                        7100-000                                          $6.38          $18,417.39
                                  c/o Resurgent Capital Services            representing a payment of
                                  PO Box 10390                              11.69 % per court order.
                                  Greenville, SC 29603-0390
   06/22/17           1216        Mr. & James R. Donald                     Final distribution to claim 130                        7100-000                                     $2,809.02           $15,608.37
                                  185 Oak Ridge Dr.                         representing a payment of
                                  Raymond, MS 39154                         11.69 % per court order.
   06/22/17           1217        Robert Isonhood                           Final distribution to claim 131                        7100-000                                     $2,777.39           $12,830.98
                                  4019 Meadville Rd                         representing a payment of
                                  Liberty, MS 39645                         11.69 % per court order.
   06/22/17           1218        Barbara Allbritton                        Final distribution to claim 132                        7100-000                                        $198.05          $12,632.93
                                  Carla Renee Allbritton Donald             representing a payment of
                                  185 Oak Ridge Drive                       11.69 % per court order.
                                  Raymond, MS 39154
   06/22/17           1219        ShowsPowell PLLC                          Final distribution to claim 138                        7100-000                                        $246.19          $12,386.74
                                  2950 Layfair Drive                        representing a payment of
                                  Suite 101                                 11.69 % per court order.
                                  Flowood, MS 38232
   06/22/17           1220        Eileen Shaffer, Esq.                      Final distribution to claim 139                        7100-000                                         $79.13          $12,307.61
                                  PO Box 1177                               representing a payment of
                                  Jackson, MS 39215-1177                    11.69 % per court order.
   06/22/17           1221        Kay Wolfe                                 Final distribution to claim 140                        7100-000                                    $10,952.53             $1,355.08
                                  1613 43rd St.                             representing a payment of
                                  Meridian, MS 39305                        11.69 % per court order.



                                                                                    Page Subtotals:                                                             $0.00          $30,448.94
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                               Trustee Name: DEREK A. HENDERSON                                            Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                              Bank Name: Union Bank
                                                                                                                    Account Number/CD#: XXXXXX9184
                                                                                                                                              Checking Account
  Taxpayer ID No: XX-XXX5425                                                                                 Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                                Separate Bond (if applicable):


       1                2                             3                                               4                                                      5                   6                       7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction                Uniform Tran.       Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                           Code                                                             ($)
   06/22/17           1222        Citibank, N. A.                           Final distribution to claim 141                          7100-000                                          $34.37             $1,320.71
                                  701 East 60th Street North                representing a payment of
                                  Sioux Falls, SD 57117                     11.69 % per court order.
   06/22/17           1223        GE Money Bank                             Final distribution to claim 142                          7100-000                                           $5.90             $1,314.81
                                  c/o Recovery Management Systems           representing a payment of
                                  Corp.                                     11.69 % per court order.
                                  25 SE 2nd Avenue, Suite 1120
                                  Miami, FL 33131-1605
   06/22/17           1224        Indian Harbor Insurance Co                Final distribution to claim 166                          7100-000                                     $1,108.03                  $206.78
                                  DLA Piper LLP (US)                        representing a payment of
                                  c/o James R. Irving                       11.69 % per court order.
                                  203 N LaSalle St, Ste 1900
                                  Chicago, IL 60601
   06/22/17           1225        Gerald W. Martin                          Final distribution to claim 168                          7100-000                                         $206.78                  $0.00
                                  2983 Ceylon Drive                         representing a payment of
                                  Costa Mesa, CA 92626-3603                 11.69 % per court order.
   07/19/17           1204        Laura Underhill                           Final distribution to claim 101                          7100-000                                         ($20.52)                $20.52
                                  19335 Old Friend Road                     representing a payment of
                                  Santa Clarita, CA 91351                   11.69 % per court order.
                                                                            Reversal
   07/19/17           1226        U.S. BANKRUPTCY COURT            Unclaimed Funds of Laura                                          7100-000                                          $20.52                  $0.00
                                  SOUTHERN DISTRICT OF MISSISSIPPI Underhill (Claim No. 101)
                                  P.O. BOX 2448
                                  JACKSON, MS 39225-2448
   07/25/17           1225        Gerald W. Martin                          Final distribution to claim 168                          7100-000                                        ($206.78)               $206.78
                                  2983 Ceylon Drive                         representing a payment of
                                  Costa Mesa, CA 92626-3603                 11.69 % per court order.
                                                                            Reversal
   07/25/17           1227        U.S. BANKRUPTCY COURT            Unclaimed Funds of Gerald W.                                      7100-000                                         $206.78                  $0.00
                                  SOUTHERN DISTRICT OF MISSISSIPPI Martin (Claim No. 168)
                                  P.O. BOX 2448
                                  JACKSON, MS 39225-2448
   10/16/17           1166        Harris Jernigan & Geno                    Final distribution to claim 59                           3210-000                                        ($897.00)               $897.00
                                  587 Highland Colony Parkway               representing a payment of
                                  P.O. Box 33801                            100.00 % per court order.
                                  Ridgeland, MS 39158-3380                  Reversal




                                                                                    Page Subtotals:                                                               $0.00               $458.08
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                             Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9184
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX5425                                                                             Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                   5                   6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                           ($)
   10/16/17           1228        Harris Jernigan & Geno                    Attorney Expenses - Final                             3210-000                                       $897.00                $0.00
                                  587 Highland Colony Parkway               Disbursement - Claim No. 59
                                  P.O. Box 33801                            To replace check number 1166
                                  Ridgeland, MS 39158-3380                  issued on 6/22/17. This check
                                                                            was lost.


                                                                                                            COLUMN TOTALS                            $2,545,782.30        $2,545,782.30
                                                                                                                  Less: Bank Transfers/CD's            $632,977.21                 $0.00
                                                                                                            Subtotal                                 $1,912,805.09        $2,545,782.30
                                                                                                                  Less: Payments to Debtors                   $0.00                $0.00
                                                                                                            Net                                      $1,912,805.09        $2,545,782.30




                                                                                   Page Subtotals:                                                            $0.00              $897.00
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                             Trustee Name: DEREK A. HENDERSON                                           Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                            Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9192
                                                                                                                                            Money Market Account
  Taxpayer ID No: XX-XXX5425                                                                               Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                              Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                    6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   06/01/09            16         STEADIVEST DEVELOPMENT, LLC               Balance in bank account                                1229-000               $63,690.09                                 $63,690.09
                                  4 COUNTRY PLACE
                                  PEARL, MS 39208
   06/01/09            17         THE INVESTLINC - TFS INCOME FUND Balance in bank account                                         1229-000                 $2,961.50                                $66,651.59
                                  4 COUNTRY PLACE
                                  PEARL, MS 39208
   06/01/09            18         THE INVESTLINC - TFS INCOME FUND, Balance in bank account                                        1229-000               $56,648.29                                $123,299.88
                                  LLC
                                  ESCROW ACCOUNT
                                  4 COUNTRY PLACE
                                  PEARL, MS 39208
   06/01/09            19         TOTAL RETURN REAL ESTATE, LLC             Balance in bank account                                1229-000                     $42.43                              $123,342.31
                                  4 COUNTRY PLACE
                                  PEARL, MS 39208
   06/30/09           9998        UNION BANK OF CALIFORNIA                  Interest Rate 0.250                                    1270-000                     $23.63                              $123,365.94

   07/10/09            20         PARKWAY REALTY PROPERTY                   June 2009                                              1222-000                 $4,661.29                               $128,027.23
                                  MANAGEMENT
                                  1540 CENTER POINT PKWY., SUITE
                                  101
                                  BIRMINGHAM, AL 35215
   07/29/09                       LCS COMPANIES, LLC                        Net rent for 806 Newell & 3604                                                  $1,181.00                               $129,208.23
                                                                            Holland
                                                                            Gross Receipts                            $1,181.00

                       258                                                  Rental Property - 3604 Holland             $590.50     1210-000

                       257                                                  Rental Property - 806 Newell               $590.50     1210-000

   07/29/09            98         NASHVILLE HOME HUNTERS, LLC               Net rent - TN property                                 1222-000                    $239.37                              $129,447.60
                                  P.O. BOX 60362
                                  NASHVILLE, TN 37206
   07/29/09            99         STATEWIDE REALTY                          Net rent - AL property                                 1222-000                     $40.91                              $129,488.51
                                  207 MONTGOMERY STREET
                                  MONTGOMERY, AL 36104-3528
   07/29/09                       AWESOME PROPERTY MANAGEMENT July rent - 133 Pinelawn &                                                                       $858.12                              $130,346.63
                                  P.O. BOX 5718               1510 Woody
                                  PEARL, MS 39288


                                                                                   Page Subtotals:                                                       $130,346.63                  $0.00
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                             Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                            Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9192
                                                                                                                                            Money Market Account
  Taxpayer ID No: XX-XXX5425                                                                               Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                              Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
                                                                            Gross Receipts                             $858.12

                       259                                                  Rental Property - 133 Pinelawn             $628.20     1210-000
                                                                            and 1510 Woody
                       260                                                  Rental Property - 139 Woody                $229.92     1222-000

   07/31/09           9998        UNION BANK OF CALIFORNIA                  Interest Rate 0.250                                    1270-000                    $26.76                              $130,373.39

   08/13/09          301 (17)     INVESTLINC                                Funds deposited to incorrect                           1229-000               ($2,961.50)                              $127,411.89
                                                                            account
   08/13/09          302 (18)     INVESTLINC                                Funds deposited into account                           1229-000             ($56,648.29)                                $70,763.60
                                                                            in error
   08/31/09           9998        UNION BANK OF CALIFORNIA                  Interest Rate 0.250                                    1270-000                    $24.38                               $70,787.98

   09/30/09           9998        UNION BANK OF CALIFORNIA                  Interest Rate 0.250                                    1270-000                    $14.52                               $70,802.50

   10/30/09           9998        UNION BANK OF CALIFORNIA                  Interest Rate 0.250                                    1270-000                    $14.52                               $70,817.02

   11/30/09           9998        UNION BANK OF CALIFORNIA                  Interest Rate 0.250                                    1270-000                    $15.04                               $70,832.06

   12/31/09           9998        UNION BANK OF CALIFORNIA                  Interest Rate 0.250                                    1270-000                    $15.04                               $70,847.10

   01/08/10                       Transfer to Acct# XXXXXX9206              Transfer of Funds                                      9999-000                                     $7,873.74           $62,973.36

   01/29/10           9998        UNION BANK OF CALIFORNIA                  Interest Rate 0.150                                    1270-000                     $8.30                               $62,981.66

   02/26/10           9998        UNION BANK OF CALIFORNIA                  Interest Rate 0.150                                    1270-000                     $7.22                               $62,988.88

   03/04/10                       Transfer to Acct# XXXXXX9206              Transfer of Funds                                      9999-000                                         $65.92          $62,922.96

   03/31/10           9998        UNION BANK OF CALIFORNIA                  Interest Rate 0.150                                    1270-000                     $8.51                               $62,931.47

   04/30/10           9998        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                    1270-000                     $5.16                               $62,936.63

   05/28/10           9998        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                    1270-000                     $4.82                               $62,941.45


                                                                                   Page Subtotals:                                                      ($59,465.52)            $7,939.66
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                             Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                            Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX9192
                                                                                                                                          Money Market Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                  6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction                Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                         ($)
   06/30/10           9998        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                    1270-000                   $5.68                               $62,947.13

   07/30/10           9998        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                    1270-000                   $5.42                               $62,952.55

   08/31/10           9998        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                    1270-000                   $5.50                               $62,958.05

   09/30/10           9998        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                    1270-000                   $5.16                               $62,963.21

   10/29/10           9998        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                    1270-000                   $4.99                               $62,968.20

   11/30/10           9998        UNION BANK OF CALIFORNIA                  Interest Rate 0.050                                    1270-000                   $2.92                               $62,971.12

   12/31/10           9998        UNION BANK OF CALIFORNIA                  Interest Rate 0.050                                    1270-000                   $2.67                               $62,973.79

   01/28/11                       Transfer to Acct# XXXXXX9206              Transfer of Funds                                      9999-000                                   $4,430.80           $58,542.99

   01/31/11           9998        UNION BANK OF CALIFORNIA                  Interest Rate 0.000                                    1270-000                   $0.77                               $58,543.76

   04/11/11                       Transfer to Acct# XXXXXX9206              Transfer of Funds                                      9999-000                                       $56.56          $58,487.20

   04/27/11                       PAIGE L. PURVIS, P.A.                     Sale of 1619 North West                                                     $24,378.77                                $82,865.97
                                  FOR MIDTOWN LAND, LLC                     Street, Jackson, MS
                                                                            Gross Receipts                           $25,000.00

                                  HINDS COUNTY TAX COLLECTOR                                                          ($407.95)    5800-000
                                  P.O. BOX 1727
                                  JACKSON, MS 39215-1727
                                  HINDS COUNTY TAX COLLECTOR                                                          ($118.28)    5800-000
                                  P.O. BOX 1727
                                  JACKSON, MS 39215-1727
                                  DAVID SMITH                                                                          ($95.00)    4110-000

                       100                                                  RENTAL PROPERTY - 1619                   $25,000.00    1110-000
                                                                            North West Street, Jackson,
                                                                            MS



                                                                                   Page Subtotals:                                                      $24,411.88            $4,487.36
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                               Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                             Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX9192
                                                                                                                                            Money Market Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                         ($)
   06/13/11            303        DEREK A. HENDERSON                        Attorney for Trustee Fees and                                                                       $6,472.17           $76,393.80
                                  111 EAST CAPITOL ST., SUITE 455           Expenses per Court Order
                                  JACKSON, MS 39201                         06/12/11
                                  DEREK A. HENDERSON                                                                  ($6,230.53)    3110-000

                                  DEREK A. HENDERSON                                                                    ($241.64)    3120-000

   06/20/11            304        ROBERT A BYRD                             Attorney for Trustee Fees per                            3210-000                                      $960.31          $75,433.49
                                  BYRD & WISER                              Court Order 06/15/11
                                  P.O. BOX 1939
                                  BILOXI, MS 39533
   09/26/11                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                                  2600-000                                      $184.37          $75,249.12

   10/25/11                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                                  2600-000                                      $184.37          $75,064.75

   11/02/11                       Transfer to Acct# XXXXXX9206              Transfer of Funds                                        9999-000                                  $75,064.75                 $0.00



                                                                                                             COLUMN TOTALS                                $95,292.99           $95,292.99
                                                                                                                   Less: Bank Transfers/CD's                    $0.00          $87,491.77
                                                                                                             Subtotal                                     $95,292.99            $7,801.22
                                                                                                                   Less: Payments to Debtors                    $0.00                $0.00
                                                                                                             Net                                          $95,292.99            $7,801.22




                                                                                   Page Subtotals:                                                              $0.00          $82,865.97
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                             Trustee Name: DEREK A. HENDERSON                                            Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                            Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9206
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX5425                                                                               Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                              Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                   6                       7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                         Code                                                             ($)
   01/08/10                       Transfer from Acct# XXXXXX9192            Transfer of Funds                                      9999-000                 $7,873.74                                   $7,873.74

   01/08/10           1001        DEREK A. HENDERSON                        Attorney for Trustee Fees per                          3110-000                                     $7,873.74                    $0.00
                                  111 East Capitol, Suite 455               Court Order 01/07/10
                                  Jackson, MS 39201
   03/04/10                       Transfer from Acct# XXXXXX9192            Transfer of Funds                                      9999-000                    $65.92                                       $65.92

   03/04/10           1002        DEREK A. HENDERSON                        Bond Premium per Court Order                           2300-000                                          $65.92                  $0.00
                                  111 East Capitol, Suite 455               03/03/10
                                  Jackson, MS 39201
   01/28/11                       Transfer from Acct# XXXXXX9192            Transfer of Funds                                      9999-000                 $4,430.80                                   $4,430.80

   01/28/11           1003        DEREK A. HENDERSON                        Attorney for Truste Fees per                           3110-000                                     $4,430.80                    $0.00
                                  111 East Capitol, Suite 455               Court Order 01/26/11
                                  Jackson, MS 39201
   04/11/11                       Transfer from Acct# XXXXXX9192            Transfer of Funds                                      9999-000                    $56.56                                       $56.56

   04/11/11           1004        DEREK A. HENDERSON                        Bond Payment per Court Order                           2300-000                                          $56.56                  $0.00
                                  111 EAST CAPITOL ST., SUITE 455           03/16/11
                                  JACKSON, MS 39201
   11/02/11                       Transfer from Acct# XXXXXX9192            Transfer of Funds                                      9999-000               $75,064.75                                  $75,064.75

   12/27/11                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                                2600-000                                         $177.00           $74,887.75

   01/13/12           1005        Estate of STEADIVEST DEVELOPMENT, 01/12/12 - Order Granting                                      9999-000                                    $74,887.75                    $0.00
                                  LLC 09-01823                      Motion for Substantive
                                                                    Consolidation entered. All
                                                                    estate funds paid to Steadivest,
                                                                    LLC, which is now the lead
                                                                    case.
   01/25/12                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                                2600-000                                         $184.37             ($184.37)

   03/05/12                       UNION BANK OF CALIFORNIA                  Reversal of Service Charge                             2600-000                                        ($184.37)                 $0.00
                                                                            Posted at bank on 01/26/12


                                                                                                             COLUMN TOTALS                                $87,491.77           $87,491.77


                                                                                   Page Subtotals:                                                        $87,491.77           $87,491.77
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                                                                                   Less: Bank Transfers/CD's   $87,491.77   $74,887.75
                                                                             Subtotal                              $0.00    $12,604.02
                                                                                   Less: Payments to Debtors       $0.00        $0.00     Exhibit 9
                                                                             Net                                   $0.00    $12,604.02




                                                           Page Subtotals:                                         $0.00        $0.00
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                         Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9214
                                                                                                                                           Money Market Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                   6                    7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)   Account/CD Balance
                    Reference                                                                                                        Code                                                          ($)
   06/01/09            101        STEADIVEST CAPITAL, LLC                   Balance in bank account                               1229-000                 $6,650.89                                $6,650.89
                                  4 COUNTRY PLACE
                                  PEARL, MS 39208
   06/01/09            102        TACTICAL FINANCIAL SOLUTIONS              Balance in bank account                               1229-000                 $2,685.77                                $9,336.66
                                  ESCROW ACCOUNT
                                  4 COUNTRY PLACE
                                  PEARL, MS 39208
   06/05/09            103        PATRIOT TITLE, LLC                        Colbert St. property, New                             1129-000              $200,000.00                              $209,336.66
                                  245 PONTCHARTRAIN DRIVE                   Orleans, LA
                                  SLIDELL, LA 70458
   06/30/09           9997        UNION BANK OF CALIFORNIA                  Interest Rate 0.250                                   1270-000                    $31.75                             $209,368.41

   07/29/09            112        SOUTHERN INVESTMENT FINANCING             Cash proceeds from sale of 51                         1110-000              $121,876.79                              $331,245.20
                                  LLC                                       W Carolina
                                  5140 GALAXIE DR., STE. 207
                                  JACKSON, MS 39206
   07/29/09            112        SOUTHERN INVESTMENT FINANCING             Joel & Jay's remaining part of                        1110-000               $25,911.34                              $357,156.54
                                  LLC                                       51 W. Carolina
                                  5140 GALZXIE DR., STE. 207
                                  JACKSON, MS 39206
   07/31/09           9997        UNION BANK OF CALIFORNIA                  Interest Rate 0.250                                   1270-000                    $45.47                             $357,202.01

   08/31/09           9997        UNION BANK OF CALIFORNIA                  Interest Rate 0.250                                   1270-000                    $75.83                             $357,277.84

   09/30/09           9997        UNION BANK OF CALIFORNIA                  Interest Rate 0.250                                   1270-000                    $73.41                             $357,351.25

   10/30/09           9997        UNION BANK OF CALIFORNIA                  Interest Rate 0.250                                   1270-000                    $73.41                             $357,424.66

   11/30/09           9997        UNION BANK OF CALIFORNIA                  Interest Rate 0.250                                   1270-000                    $75.89                             $357,500.55

   12/31/09           9997        UNION BANK OF CALIFORNIA                  Interest Rate 0.250                                   1270-000                    $75.89                             $357,576.44

   01/08/10                       Transfer to Acct# XXXXXX9222              Transfer of Funds                                     9999-000                                    $39,667.73         $317,908.71

   01/29/10           9997        UNION BANK OF CALIFORNIA                  Interest Rate 0.150                                   1270-000                    $41.96                             $317,950.67




                                                                                   Page Subtotals:                                                      $357,618.40           $39,667.73
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                           Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                          Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX9214
                                                                                                                                          Money Market Account
  Taxpayer ID No: XX-XXX5425                                                                             Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                   5                   6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                           ($)
   02/26/10           9997        UNION BANK OF CALIFORNIA                  Interest Rate 0.150                                  1270-000                    $36.57                              $317,987.24

   03/04/10                       Transfer to Acct# XXXXXX9222              Transfer of Funds                                    9999-000                                        $332.69         $317,654.55

   03/31/10           9997        UNION BANK OF CALIFORNIA                  Interest Rate 0.150                                  1270-000                    $43.07                              $317,697.62

   04/23/10            117        JAMES G. HENDERSON, CHAPTER 7                                                                  1290-000                 $3,453.46                              $321,151.08
                                  TRUSTEE
                                  ESTATE OF LEE CARROLL, CASE NO.
                                  07-05917-TBB
   04/30/10           9997        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                  1270-000                    $26.14                              $321,177.22

   05/05/10            118        GANEK WRIGHT MINSK PC            Payoff First Mortgage/ Thomas                                 1210-000               $78,757.94                               $399,935.16
                                  ATTORNEY ESCROW ACCOUNT          & Lisa Crosby
                                  197 FOURTEENTH STREET, SUITE 300
                                  ATLANTA, GA 30318
   05/28/10           9997        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                  1270-000                    $29.36                              $399,964.52

   06/30/10           9997        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                  1270-000                    $36.14                              $400,000.66

   07/30/10           9997        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                  1270-000                    $37.78                              $400,038.44

   08/31/10           9997        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                  1270-000                    $35.07                              $400,073.51

   09/30/10           9997        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                  1270-000                    $32.88                              $400,106.39

   10/29/10           9997        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                  1270-000                    $31.78                              $400,138.17

   11/30/10           9997        UNION BANK OF CALIFORNIA                  Interest Rate 0.050                                  1270-000                    $18.63                              $400,156.80

   12/31/10           9997        UNION BANK OF CALIFORNIA                  Interest Rate 0.050                                  1270-000                    $16.99                              $400,173.79

   01/28/11                       Transfer to Acct# XXXXXX9222              Transfer of Funds                                    9999-000                                    $28,146.62          $372,027.17

   01/31/11           9997        UNION BANK OF CALIFORNIA                  Interest Rate 0.000                                  1270-000                     $4.93                              $372,032.10



                                                                                   Page Subtotals:                                                      $82,560.74           $28,479.31
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                                Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                              Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX9214
                                                                                                                                             Money Market Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                      5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                         ($)
   04/01/11            115        WINTERS TITLE AGENCY                      Payment of Loan to Steadivest                             1122-000             $75,996.79                               $448,028.89
                                  ESCROW ACCOUNT                            Capital, LLC
                                  3313 KINGMAN ST. #1
                                  METAIRIE, LA 70006
   04/01/11            114        STEWART TITLE OF LOUISIANA                Payment of Loan to Steadivest                             1122-000             $74,357.64                               $522,386.53
                                  ESCROW ACCOUNT                            Capital, LLC
                                  700 CAMP STREET
                                  NEW ORLEANS, LA 70130
   04/11/11                       Transfer to Acct# XXXXXX9222              Transfer of Funds                                         9999-000                                      $359.38         $522,027.15

   06/13/11            301        DEREK A. HENDERSON                        Attorney for Trustee Fees and                                                                       $40,783.02          $481,244.13
                                  111 EAST CAPITOL ST., SUITE 455           Expenses per Court Order
                                  JACKSON, MS 39201                         06/12/11
                                  DEREK A. HENDERSON                                                                  ($39,260.40)    3110-000

                                  DEREK A. HENDERSON                                                                   ($1,522.62)    3120-000

   06/20/11            302        ROBERT A BYRD                             Attorney for Trustee Fees per                             3210-000                                   $6,051.18          $475,192.95
                                  BYRD & WISER                              Court Order 06/15/11
                                  P.O. BOX 1939
                                  BILOXI, MS 39533
   09/26/11                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                                   2600-000                                   $1,167.69          $474,025.26

   10/25/11                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                                   2600-000                                   $1,165.23          $472,860.03

   11/02/11                       Transfer to Acct# XXXXXX9222              Transfer of Funds                                         9999-000                                 $472,860.03                 $0.00



                                                                                                             COLUMN TOTALS                                $590,533.57          $590,533.57
                                                                                                                   Less: Bank Transfers/CD's                     $0.00         $541,366.45
                                                                                                             Subtotal                                     $590,533.57           $49,167.12
                                                                                                                   Less: Payments to Debtors                     $0.00                $0.00
                                                                                                             Net                                          $590,533.57           $49,167.12




                                                                                   Page Subtotals:                                                        $150,354.43          $522,386.53
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                           Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9222
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                    6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   01/08/10                       Transfer from Acct# XXXXXX9214            Transfer of Funds                                     9999-000               $39,667.73                                 $39,667.73

   01/08/10           1001        DEREK A. HENDERSON                        Attorney for Trustee Fees per                         3110-000                                     $39,667.73                  $0.00
                                  111 East Capitol, Suite 455               Court Order 01/07/10
                                  Jackson, MS 39201
   03/04/10                       Transfer from Acct# XXXXXX9214            Transfer of Funds                                     9999-000                    $332.69                                    $332.69

   03/04/10           1002        DEREK A. HENDERSON                        Bond Premium per Court Order                          2300-000                                         $332.69                 $0.00
                                  111 East Capitol, Suite 455               03/03/10
                                  Jackson, MS 39201
   01/28/11                       Transfer from Acct# XXXXXX9214            Transfer of Funds                                     9999-000               $28,146.62                                 $28,146.62

   01/28/11           1003        DEREK A. HENDERSON                        Attorney for Trustee Fees per                         3110-000                                     $28,146.62                  $0.00
                                  111 East Capitol, Suite 455               Court Order 01/26/11
                                  Jackson MS 39201
   04/11/11                       Transfer from Acct# XXXXXX9214            Transfer of Funds                                     9999-000                    $359.38                                    $359.38

   04/11/11           1004        DEREK A. HENDERSON                        Bond Payment per Court Order                          2300-000                                         $359.38                 $0.00
                                  111 EAST CAPITOL ST., SUITE 455           03/16/11
                                  JACKSON, MS 39201
   11/02/11                       Transfer from Acct# XXXXXX9214            Transfer of Funds                                     9999-000              $472,860.03                                $472,860.03

   12/27/11                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                               2600-000                                      $1,123.44          $471,736.59

   01/13/12           1005        Estate of STEADIVEST CAPITAL, LLC 09 01/12/12 - Order Granting                                  9999-000                                    $471,736.59                  $0.00
                                  -01824                               Motion for Substantive
                                                                       Consolidation entered. All
                                                                       estate funds paid to Steadivest,
                                                                       LLC, which is now the lead
                                                                       case.
   01/25/12                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                               2600-000                                      $1,160.32           ($1,160.32)

   03/05/12                       UNION BANK OF CALIFORNIA                  Reversal of Service Charge                            2600-000                                     ($1,160.32)                 $0.00
                                                                            Posted at bank on 01/26/12


                                                                                                             COLUMN TOTALS                              $541,366.45           $541,366.45


                                                                                   Page Subtotals:                                                      $541,366.45           $541,366.45
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                                                                                   Less: Bank Transfers/CD's   $541,366.45   $471,736.59
                                                                             Subtotal                                $0.00    $69,629.86
                                                                                   Less: Payments to Debtors         $0.00         $0.00    Exhibit 9
                                                                             Net                                     $0.00    $69,629.86




                                                           Page Subtotals:                                           $0.00         $0.00
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                           Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9435
                                                                                                                                           Money Market Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                    6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   06/01/09            119        MTW INVESTMENT FINANCING LLC              Balance in bank account                               1229-000                 $6,189.61                                  $6,189.61
                                  OPERATING ACCOUNT
                                  1 COUNTRY PLACE DRIVE
                                  PEARL, MS 39208
   06/30/09           9996        UNION BANK OF CALIFORNIA                  Interest Rate 0.150                                   1270-000                      $0.70                                 $6,190.31

   07/10/09            120        ANN MERCER                                Payment on Note                                       1210-000                 $2,036.00                                  $8,226.31
                                  ALTON F MERCER
                                  408 HEARD ST
                                  ELBERTON, GA 30635
   07/29/09            120        ALTON MERCER                              Payment on Note                                       1210-000                 $2,036.00                                $10,262.31
                                  408 HEARD STREET                          This is the deposit (Deposit # 3)
                                  ELBERTON, GA 30635                        that should have been reversed
                                                                            because of the check being
                                                                            returned insufficient. Deposit
                                                                            number 7 was reversed in
                                                                            error. Epiq could not correct
                                                                            this error since the annual
                                                                            report has been done on this.
   07/29/09            146        ALEXANDREA N. HARE OR DUSTIN M.           Payment on Note                                       1210-000                    $250.00                               $10,512.31
                                  HARE
                                  4465 NORA AVENUE
                                  PACE, FL 32571
   07/29/09            147        ADVANCED RECOVERY SYSTEMS,                Collection on old account                             1221-000                     $60.00                               $10,572.31
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
   07/31/09           9996        UNION BANK OF CALIFORNIA                  Interest Rate 0.150                                   1270-000                      $0.92                               $10,573.23

   08/14/09            147        ADVANCED RECOVERY SYSTEMS,                Collection on old rents due                           1221-000                     $97.50                               $10,670.73
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
   08/24/09            120        ANN W. MERCER                             Payment on Note                                       1210-000                 $2,036.00                                $12,706.73
                                  1366 FILTER PLANT DR
                                  ELBERTON, GA 30635
   08/31/09           9996        UNION BANK OF CALIFORNIA                  Interest Rate 0.150                                   1270-000                      $1.16                               $12,707.89



                                                                                   Page Subtotals:                                                       $12,707.89                  $0.00
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9435
                                                                                                                                           Money Market Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                    6                    7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)   Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   09/14/09            120        ANN W. MERCER                             08/05/09 - Check returned -                           1210-000               ($2,036.00)                               $10,671.89
                                  1366 FILTER PLANT DR                      NSF
                                  ELBERTON, GA 30635                        Deposit No. 7 was reversed in
                                                                            error. Deposit No. 3 should
                                                                            have been reversed. Epiq can
                                                                            not make this change since the
                                                                            annual report has been done
                                                                            on this.
   09/28/09            120        DOUGLAS W. OR ANN W. MERCER               Payment on Note                                       1210-000                 $2,036.78                               $12,708.67

   09/28/09            146        ALEXANDREA N HARE OR DUSTIN M             Payment                                               1210-000                    $250.00                              $12,958.67
                                  HARE

   09/28/09            147        ADVANCED RECOVERY SYSTEMS,                Collection on old rents due                           1221-000                     $97.50                              $13,056.17
                                  INC.

   09/30/09           9996        UNION BANK OF CALIFORNIA                  Interest Rate 0.150                                   1270-000                      $1.30                              $13,057.47

   10/30/09           9996        UNION BANK OF CALIFORNIA                  Interest Rate 0.150                                   1270-000                      $1.59                              $13,059.06

   11/30/09           9996        UNION BANK OF CALIFORNIA                  Interest Rate 0.150                                   1270-000                      $1.64                              $13,060.70

   12/31/09           9996        UNION BANK OF CALIFORNIA                  Interest Rate 0.150                                   1270-000                      $1.64                              $13,062.34

   01/07/10            120        DOUGLAS W. OR ANN W. MERCER               1973, Heard St 408 Elberton,                          1210-000                 $2,036.78                               $15,099.12
                                  1366 FILTER PLANT DR.                     GA
                                  ELBERTON, GA 30635
   01/07/10            147        ADVANCED RECOVERY SYSTEMS,                Accounts Receivable                                   1221-000                    $157.50                              $15,256.62
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
   01/08/10                       Transfer to Acct# XXXXXX9443              Transfer of Funds                                     9999-000                                      $1,445.18          $13,811.44

   01/29/10           9996        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                   1270-000                      $1.10                              $13,812.54

   02/26/10           9996        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                   1270-000                      $1.04                              $13,813.58



                                                                                   Page Subtotals:                                                         $2,550.87            $1,445.18
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                           Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                          Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX9435
                                                                                                                                          Money Market Account
  Taxpayer ID No: XX-XXX5425                                                                             Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                   5                   6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                           ($)
   03/01/10            120        DOUGLAS W. OR ANN W. MERCER                                                                    1210-000                 $2,036.78                               $15,850.36
                                  1366 FILTER PLANT DR.
                                  ELBERTON, GA 30635
   03/01/10                       ADVANCED RECOVERY SYSTEMS,                Accounts Receivable - George                                                     $60.00                               $15,910.36
                                  INC.                                      Smith
                                  CLIENT TRUST ACCOUNT
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                                                                            Gross Receipts                           $100.00

                                  ADVANCED RECOVERY SYSTEMS,                                                         ($40.00)    2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                        $100.00     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   03/04/10                       Transfer to Acct# XXXXXX9443              Transfer of Funds                                    9999-000                                         $12.15          $15,898.21

   03/15/10            147        ADVANCED RECOVERY SYSTEMS,                Accounts Receivable                                  1221-000                    $60.00                               $15,958.21
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
   03/31/10           9996        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                  1270-000                     $1.39                               $15,959.60

   04/23/10            147        ADVANCED RECOVERY SYSTEMS,                ACCOUNTS RECEIVABLE                                  1221-000                    $97.50                               $16,057.10
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
   04/30/10           9996        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                  1270-000                     $1.29                               $16,058.39

   05/28/10           9996        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                  1270-000                     $1.23                               $16,059.62

   06/30/10           9996        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                  1270-000                     $1.45                               $16,061.07




                                                                                   Page Subtotals:                                                        $2,259.64               $12.15
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                          Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX9435
                                                                                                                                          Money Market Account
  Taxpayer ID No: XX-XXX5425                                                                             Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                   5                    6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.      Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   07/28/10            147        ADVANCED RECOVERY SYSTEMS,                Accounts Receivable                                   1221-000                $1,831.50                                $17,892.57
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
   07/30/10           9996        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                   1270-000                     $1.33                               $17,893.90

   08/13/10            147        ADVANCED RECOVERY SYSTEMS,                Accounts Receivable                                   1221-000                    $97.50                               $17,991.40
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
   08/31/10           9996        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                   1270-000                     $1.57                               $17,992.97

   09/16/10                       ADVANCED RECOVERY SYSTEMS,                ACCOUNTS RECEIVABLE                                                              $263.68                               $18,256.65
                                  INC.                                      $166.18 - Byron Sharpe Prop.
                                  972 HIGH STREET                             97.50 - George Smith
                                  JACKSON, MS 39202
                                                                            $263.68 - TOTAL
                                                                            Gross Receipts                            $439.46

                                  ADVANCED RECOVERY SYSTEMS,                                                         ($175.78)    2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       155                                                  ADVANCED RECOVERY                         $276.96     1221-000
                                                                            SYSTEMS, INC. - BYRON
                                                                            SHARPE PROPERTIES
                       192                                                  ADVANCED RECOVERY                         $162.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   09/30/10           9996        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                   1270-000                     $1.48                               $18,258.13

   10/21/10            147        ADVANCED RECOVERY SYSTEMS,                Accounts Receivable                                   1221-000                    $97.50                               $18,355.63
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
   10/29/10           9996        UNION BANK OF CALIFORNIA                  Interest Rate 0.100                                   1270-000                     $1.45                               $18,357.08




                                                                                   Page Subtotals:                                                        $2,296.01                 $0.00
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                         Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                          Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX9435
                                                                                                                                          Money Market Account
  Taxpayer ID No: XX-XXX5425                                                                             Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                   5                    6                    7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.      Deposits ($)       Disbursements ($)   Account/CD Balance
                    Reference                                                                                                        Code                                                          ($)
   11/30/10           9996        UNION BANK OF CALIFORNIA                  Interest Rate 0.050                                   1270-000                     $0.85                              $18,357.93

   12/29/10                       ADVANCED RECOVERY SYSTEMS,                Accounts Receivable                                                              $401.22                              $18,759.15
                                  INC.                                      $243.72 - Damion Longino;
                                  972 HIGH STREET                           $157.50 - George Smith - Total
                                  JACKSON, MS 39202                         - $401.22
                                                                            Gross Receipts                            $668.69

                                  ADVANCED RECOVERY SYSTEMS,                                                         ($267.47)    2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                         $262.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
                       172                                                  ADVANCED RECOVERY                         $406.19     1221-000
                                                                            SYSTEMS, INC. - DAMION
                                                                            LONGINO
   12/31/10           9996        UNION BANK OF CALIFORNIA                  Interest Rate 0.050                                   1270-000                     $0.78                              $18,759.93

   01/20/11                       ADVANCED RECOVERY SYSTEMS,                Accounts Receivable - George                                                     $157.50                              $18,917.43
                                  INC.                                      Smith
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                                                                            Gross Receipts                            $262.50

                                  ADVANCED RECOVERY SYSTEMS,                                                         ($105.00)    2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                         $262.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   01/28/11                       Transfer to Acct# XXXXXX9443              Transfer of Funds                                     9999-000                                     $1,320.98          $17,596.45

   01/31/11           9996        UNION BANK OF CALIFORNIA                  Interest Rate 0.000                                   1270-000                     $0.23                              $17,596.68




                                                                                   Page Subtotals:                                                           $560.58           $1,320.98
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                            Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                          Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX9435
                                                                                                                                          Money Market Account
  Taxpayer ID No: XX-XXX5425                                                                             Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                   5                    6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.      Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   02/17/11                       ADVANCED RECOVERY SYSTEMS,                Accounts Receivable - George                                                     $157.50                               $17,754.18
                                  INC.                                      Smith
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                                                                            Gross Receipts                            $262.50

                                  ADVANCED RECOVERY SYSTEMS,                                                         ($105.00)    2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                         $262.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   03/16/11                       ADVANCED RECOVERY SYSTEMS,                George Smith                                                                      $79.50                               $17,833.68
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                                                                            Gross Receipts                            $132.50

                                  ADVANCED RECOVERY SYSTEMS,                                                          ($53.00)    2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                         $132.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   03/24/11            143        YUKON VENTURES, LLC                       Settlement on 973 Rays Road                           1110-000                $2,500.00                                $20,333.68

   04/11/11                       Transfer to Acct# XXXXXX9443              Transfer of Funds                                     9999-000                                         $16.85          $20,316.83

   04/20/11                       ADVANCED RECOVERY SYSTEMS,                Accounts Receivable - George                                                      $67.50                               $20,384.33
                                  INC.                                      Smith
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                                                                            Gross Receipts                            $112.50




                                                                                   Page Subtotals:                                                        $2,804.50                $16.85
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                              Trustee Name: DEREK A. HENDERSON                                        Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                            Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX9435
                                                                                                                                           Money Market Account
  Taxpayer ID No: XX-XXX5425                                                                             Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                    6                    7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction                 Uniform Tran.     Deposits ($)       Disbursements ($)   Account/CD Balance
                    Reference                                                                                                          Code                                                         ($)
                                  ADVANCED RECOVERY SYSTEMS,                                                           ($45.00)     2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                           $112.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   06/13/11            301        DEREK A. HENDERSON                        Attorney for Trustee Fees and                                                                       $1,594.59          $18,789.74
                                  111 EAST CAPITOL ST., SUITE 455           Expenses per Court Order
                                  JACKSON, MS 39201                         06/12/11
                                  DEREK A. HENDERSON                                                                 ($1,535.06)    3110-000

                                  DEREK A. HENDERSON                                                                   ($59.53)     3120-000

   06/15/11                       ADVANCED RECOVERY SYSTEMS,                George Smith                                                                       $79.50                              $18,869.24
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                                                                            Gross Receipts                              $132.50

                                  ADVANCED RECOVERY SYSTEMS,                                                           ($53.00)     2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                           $132.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   06/15/11                       ADVANCED RECOVERY SYSTEMS,                George Smith                                                                      $103.50                              $18,972.74
                                  INC
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                                                                            Gross Receipts                              $172.50

                                  ADVANCED RECOVERY SYSTEMS,                                                           ($69.00)     2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202




                                                                                   Page Subtotals:                                                            $183.00           $1,594.59
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                               Trustee Name: DEREK A. HENDERSON                                         Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                             Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9435
                                                                                                                                            Money Market Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                    6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                          ($)
                       192                                                  ADVANCED RECOVERY                            $172.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   06/20/11            302        ROBERT A BYRD                             Attorney for Trustee Fees per                            3210-000                                       $236.60          $18,736.14
                                  BYRD & WISER                              Court Order 06/15/11
                                  P.O. BOX 1939
                                  BILOXI, MS 39533
   07/05/11                       DYE SNYDER, LLP                           Excess Funds Pmt. from                                                        $30,712.98                                 $49,449.12
                                  1170 PEACHTREE ST. NE, STE. 1200          Dekalb Co. Tax Comm.
                                  ATLANTA, GA 30309
                                                                            Gross Receipts                            $39,891.23

                                  COLE SMITH                                                                          ($1,500.00)    4120-000

                                  LLP DYE SNYDER                                                                      ($7,678.25)    3210-000
                                  1170 PEACHTREE ST., NE, STE. 1200
                                  ATLANTA, GA 30309
                       195                                                  OTHER - EXCESS FUNDS                      $39,891.23     1229-000
                                                                            PMT FROM DEKALB CO. TAX
                                                                            COMM.
   07/15/11                       ADVANCED RECOVERY SYSTEMS,                Accounts Receivable - George                                                       $157.50                               $49,606.62
                                  INC.                                      Smith
                                  972 HIGH ST.
                                  JACKSON, MS 39202
                                                                            Gross Receipts                               $262.50

                                  ADVANCED RECOVERY SYSTEMS,                                                           ($105.00)     2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                            $262.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   09/15/11            196        STEPHEN SMITH, TRUSTEE                    Charles & Melanie Lucroy -                               1129-000             $28,853.89                                 $78,460.51
                                  5 OLD RIVER PLACE, SUITE 107              Proof of Claim
                                  JACKSON, MS 39202




                                                                                   Page Subtotals:                                                        $59,724.37                $236.60
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                              Trustee Name: DEREK A. HENDERSON                                         Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                            Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX9435
                                                                                                                                           Money Market Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                               4                                                   5                    6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction                 Uniform Tran.     Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                          ($)
   09/16/11                       ADVANCED RECOVERY SYSTEM, INC. Accounts Receivable - George                                                                 $315.00                               $78,775.51
                                  972 HIGH STREET                Smith
                                  JACKSON, MS 39202
                                                                            Gross Receipts                              $525.00

                                  ADVANCED RECOVERY SYSTEMS,                                                           ($210.00)    2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                           $525.00     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   09/26/11                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                                 2600-000                                       $120.46          $78,655.05

   10/17/11                       ADVANCED RECOVERY SYSTEMS,                Notes and Accts. Rec. -                                                           $157.50                               $78,812.55
                                  INC.                                      George Smith
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                                                                            Gross Receipts                              $262.50

                                  ADVANCED RECOVERY SYSTEMS,                                                           ($105.00)    2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                           $262.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   10/25/11                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                                 2600-000                                       $157.33          $78,655.22

   11/02/11                       Transfer to Acct# XXXXXX9443              Transfer of Funds                                       9999-000                                   $78,655.22                 $0.00



                                                                                                            COLUMN TOTALS                                $83,559.36            $83,559.36
                                                                                                                 Less: Bank Transfers/CD's                      $0.00          $81,450.38
                                                                                                            Subtotal                                     $83,559.36             $2,108.98
                                                                                                                 Less: Payments to Debtors                      $0.00                $0.00

                                                                                   Page Subtotals:                                                            $472.50          $78,933.01
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                                                                             Net                   $83,559.36   $2,108.98


                                                                                                                             Exhibit 9




                                                           Page Subtotals:                             $0.00       $0.00
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                              Trustee Name: DEREK A. HENDERSON                                          Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX9443
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX5425                                                                               Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                              Separate Bond (if applicable):


       1                2                             3                                               4                                                    5                    6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction               Uniform Tran.      Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                           ($)
   01/08/10                       Transfer from Acct# XXXXXX9435            Transfer of Funds                                       9999-000                $1,445.18                                  $1,445.18

   01/08/10           1001        DEREK A. HENDERSON                        Attorney for Trustee Fees per                           3110-000                                     $1,445.18                  $0.00
                                  111 East Capitol, Suite 455               Court Order 01/07/10
                                  Jackson, MS 39201
   03/04/10                       Transfer from Acct# XXXXXX9435            Transfer of Funds                                       9999-000                    $12.15                                     $12.15

   03/04/10           1002        DEREK A. HENDERSON                        Bond Premium per Court Order                            2300-000                                         $12.15                 $0.00
                                  111 East Capitol, Suite 455               03/03/10
                                  Jackson, MS 39201
   01/28/11                       Transfer from Acct# XXXXXX9435            Transfer of Funds                                       9999-000                $1,320.98                                  $1,320.98

   01/28/11           1003        DEREK A. HENDERSON                        Attorney for Trustee Fees per                           3110-000                                     $1,320.98                  $0.00
                                  111 East Capitol, Suite 455               Court Order 01/26/11
                                  Jackson, MS 39201
   04/11/11                       Transfer from Acct# XXXXXX9435            Transfer of Funds                                       9999-000                    $16.85                                     $16.85

   04/11/11           1004        DEREK A. HENDERSON                        Bond Payment per Court Order                            2300-000                                         $16.85                 $0.00
                                  111 EAST CAPITOL ST., SUITE 455           03/16/11
                                  JACKSON, MS 39201
   11/02/11                       Transfer from Acct# XXXXXX9435            Transfer of Funds                                       9999-000              $78,655.22                                 $78,655.22

   11/28/11                       ADVANCED RECOVERY SYSTEMS,                Accounts Receivable - George                                                       $157.50                               $78,812.72
                                  INC.                                      Smith

                                                                            Gross Receipts                              $262.50

                                  ADVANCED RECOVERY SYSTEMS,                                                           ($105.00)    2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                           $262.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   12/05/11            196        STEPHEN SMITH, TRUSTEE                    Final distribution from                                 1129-000                   $157.06                               $78,969.78
                                  FOR CHARLES SHAWN LUCROY &                bankruptcy estate
                                  MELANIE ELISA LUCROY


                                                                                    Page Subtotals:                                                       $81,764.94             $2,795.16
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-01013                                                                                                 Trustee Name: DEREK A. HENDERSON                                           Exhibit 9
      Case Name: STEADIVEST, LLC                                                                                               Bank Name: Union Bank
                                                                                                                     Account Number/CD#: XXXXXX9443
                                                                                                                                              Checking Account
  Taxpayer ID No: XX-XXX5425                                                                              Blanket Bond (per case limit): $31,981,268.00
For Period Ending: 11/28/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                       5                    6                       7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                   Uniform Tran.     Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                             Code                                                            ($)
   12/16/11                       ADVANCED RERCOVERY SYSTEMS,               Accounts Receivable - George                                                         $157.50                                 $79,127.28
                                  INC.                                      Smith
                                  972 HIGH ST.
                                  JACKSON, MS 39202
                                                                            Gross Receipts                                 $262.50

                                  ADVANCED RECOVERY SYSTEMS,                                                              ($105.00)    2990-000
                                  INC.
                                  972 HIGH STREET
                                  JACKSON, MS 39202
                       192                                                  ADVANCED RECOVERY                              $262.50     1221-000
                                                                            SYSTEMS, INC. - GEORGE
                                                                            SMITH
   12/27/11                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                                    2600-000                                        $186.83           $78,940.45

   01/13/12           1005        Estate of MTW INVESTMENT                  01/12/12 - Order Granting                                  9999-000                                   $78,940.45                   $0.00
                                  FINANCING, LLC 09-01825                   Motion for Substantive
                                                                            Consolidation entered. All
                                                                            estate funds paid to Steadivest,
                                                                            LLC, which is now the lead
                                                                            case.
   01/25/12                       UNION BANK OF CALIFORNIA                  BANK SERVICES FEE (CHK)                                    2600-000                                        $191.75             ($191.75)

   03/02/12                       UNION BANK OF CALIFORNIA                  Refund of 1/25/12 svc chg                                  2600-000                                       ($191.75)                $0.00
                                                                            (posted at bank 1/26/12


                                                                                                             COLUMN TOTALS                                  $81,922.44            $81,922.44
                                                                                                                     Less: Bank Transfers/CD's              $81,450.38            $78,940.45
                                                                                                               Subtotal                                          $472.06           $2,981.99
                                                                                                                     Less: Payments to Debtors                     $0.00                 $0.00
                                                                                                               Net                                               $472.06           $2,981.99




                                                                                   Page Subtotals:                                                               $157.50          $79,127.28
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                                                                                                                                                                Exhibit 9
                                                                                          TOTAL OF ALL ACCOUNTS
                                                                                                                                            NET            ACCOUNT
                                                                                                        NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                             XXXXXX9176 - Money Market Account                                 $8,037.19                $624.77                 $0.00
                                             XXXXXX9184 - Checking Account                                $1,912,805.09          $2,545,782.30                  $0.00
                                             XXXXXX9192 - Money Market Account                               $95,292.99                $7,801.22                $0.00
                                             XXXXXX9206 - Checking Account                                         $0.00              $12,604.02                $0.00
                                             XXXXXX9214 - Money Market Account                              $590,533.57               $49,167.12                $0.00
                                             XXXXXX9222 - Checking Account                                         $0.00              $69,629.86                $0.00
                                             XXXXXX9435 - Money Market Account                               $83,559.36                $2,108.98                $0.00
                                             XXXXXX9443 - Checking Account                                       $472.06               $2,981.99                $0.00
                                                                                                          $2,690,700.26          $2,690,700.26                  $0.00

                                                                                                       (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                               transfers)            to debtors)
                                             Total Allocation Receipts:                 $461,391.35
                                             Total Net Deposits:                       $2,690,700.26
                                             Total Gross Receipts:                     $3,152,091.61




                                                                     Page Subtotals:                                          $0.00                $0.00
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